          Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 1 of 124



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------x
JULIE AVERBACH FOR THE ESTATE OF STEVEN :
AVERBACH, JULIE AVERBACH, TAMIR                                        :
AVERBACH, DEVIR AVERBACH, SEAN                                         :
AVERBACH, ADAM AVERBACH, MAIDA                                         :   COMPLAINT
AVERBACH FOR THE ESTATE OF DAVID                                       :   JURY TRIAL DEMANDED
AVERBACH, MAIDA AVERBACH, MICHAEL                                      :
AVERBACH, EILEEN SAPADIN, MOSES STRAUSS, :
PHILIP STRAUSS, BLUMA STRAUSS, AHRON                                   :   19-cv-4
STRAUSS, ROISIE ENGELMAN, JOSEPH STRAUSS, :
TZVI WEISS, LEIB WEISS, LEIB WEISS FOR THE                             :
ESTATE OF MALKA WEISS, YITZCHAK WEISS,                                 :
YERUCHAIM WEISS, ESTHER DEUTSCH,                                       :
MATANYA NATHANSEN, CHANA NATHANSEN,                                    :
MATANYA NATHANSEN AND CHANA                                            :
NATHANSEN FOR THE ESTATE OF TEHILLA                                    :
NATHANSEN, YEHUDIT NATHANSEN, S.N., A                                  :
MINOR, HEZEKIEL TOPOROWITCH, PEARL B.                                  :
TOPOROWITCH, YEHUDA TOPOROWITCH,                                       :
DAVID TOPOROWITCH, SHAINA CHAVA NADEL, :
BLUMY ROM, RIVKA POLLACK, RACHEL                                       :
POTOLSKI, OVADIA TOPOROWITCH, TEHILLA                                  :
GREINIMAN, YISRAEL TOPOROWITCH,                                        :
YITZCHAK TOPOROWITCH, MICHAL                                           :
HONICKMAN FOR THE ESTATE OF HOWARD                                     :
GOLDSTEIN, MICHAL HONICKMAN, EUGENE                                    :
GOLDSTEIN, LORRAINE GOLDSTEIN, RICHARD                                 :
GOLDSTEIN, BARBARA GOLDSTEIN INGARDIA, :
MICHAEL GOLDSTEIN, CHANA FREEDMAN,                                     :
DAVID GOLDSTEIN, HARRY LEONARD BEER,                                   :
HARRY LEONARD BEER AS EXECUTOR OF THE :
ESTATE OF ALAN BEER, HARRY LEONARD BEER :
AS EXECUTOR OF THE ESTATE OF ANNA BEER, :
PHYLLIS MAISEL, ESTELLE CAROLL, SARRI                                  :
ANNE SINGER, JUDITH SINGER, ERIC M. SINGER, :
ROBERT SINGER, DANIEL ROZENSTEIN, JULIA                                :
ROZENSTEIN SCHON, ALEXANDER ROZENSTEIN, :
ESTHER ROZENSTEIN, JACOB STEINMETZ,                                    :
DEBORAH STEINMETZ, JACOB STEINMETZ AND :
DEBORAH STEINMETZ FOR THE ESTATE OF                                    :
AMICHAI STEINMETZ, NAVA STEINMETZ, ORIT :
MAYERSON, NETANEL STEINMETZ, ANN                                       :
COULTER FOR THE ESTATE OF ROBERT L.                                    :
COULTER, SR., DIANNE COULTER MILLER,                                   :
          Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 2 of 124



ROBERT L. COULTER, JR., DIANNE COULTER                                 :
MILLER AND ROBERT L. COULTER, JR. FOR THE                              :
ESTATE OF JANIS RUTH COULTER, LARRY                                    :
CARTER AS THE ADMINISTRATOR OF THE                                     :
ESTATE OF DIANE LESLIE CARTER, LARRY                                   :
CARTER, SHAUN CHOFFEL, RICHARD                                         :
BLUTSTEIN AND KATHERINE BAKER FOR THE                                  :
ESTATE OF BENJAMIN BLUTSTEIN, RICHARD                                  :
BLUTSTEIN, KATHERINE BAKER, REBEKAH                                    :
BLUTSTEIN, NEVENKA GRITZ FOR THE ESTATE                                :
OF DAVID GRITZ, NEVENKA GRITZ, NEVENKA                                 :
GRITZ FOR THE ESTATE OF NORMAN GRITZ,                                  :
JACQUELINE CHAMBERS AND LEVANA COHEN                                   :
AS THE ADMINISTRATORS OF THE ESTATE OF                                 :
ESTHER BABLAR, JACQUELINE CHAMBERS,                                    :
LEVANA COHEN, ELI COHEN, SARAH ELYAKIM,                                :
JOSEPH COHEN, GRETA GELLER, ILANA                                      :
DORFMAN, REPHAEL KITSIS AND TOVA                                       :
GUTTMAN AS THE ADMINISTRATORS OF THE                                   :
ESTATE OF HANNAH ROGEN, TEMIMA SPETNER,                                :
JASON KIRSCHENBAUM, ISABELLE                                           :
KIRSCHENBAUM, ISABELLE KIRSCHENBAUM                                    :
FOR THE ESTATE OF MARTIN KIRSCHENBAUM,                                 :
JOSHUA KIRSCHENBAUM, SHOSHANA BURGETT,                                 :
DAVID KIRSCHENBAUM, DANIELLE                                           :
TEITELBAUM, NETANEL MILLER, CHAYA                                      :
MILLER, ARIE MILLER, AHARON MILLER, SHANI                              :
MILLER, ADIYA MILLER, ALTEA STEINHERZ,                                 :
JONATHAN STEINHERZ, TEMIMA STEINHERZ,                                  :
JOSEPH GINZBERG, PETER STEINHERZ, LAUREL                               :
STEINHERZ, GILA ALUF, YITZHAK ZAHAVY,                                  :
JULIE ZAHAVY, TZVEE ZAHAVY and BERNICE                                 :
ZAHAVY,                                                                :
                                                                       :
                            Plaintiffs,                                :
                                                                       :
          -against-                                                    :
                                                                       :
                                                                       :
CAIRO AMMAN BANK,                                                      :
                                                                       :
                            Defendant.                                 :
                                                                       :
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                                                         2
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 3 of 124



Plaintiffs Julie Averbach for the Estate of Steven Averbach, Julie Averbach, Tamir Averbach,
Devir Averbach, Sean Averbach, Adam Averbach, Maida Averbach for the Estate of David
Averbach, Maida Averbach, Michael Averbach, Eileen Sapadin, Moses Strauss, Philip Strauss,
Bluma Strauss, Ahron Strauss, Roisie Engelman, Joseph Strauss, Tzvi Weiss, Leib Weiss, Leib
Weiss for the Estate of Malka Weiss, Yitzchak Weiss, Yeruchaim Weiss, Esther Deutsch, Matanya
Nathansen, Chana Nathansen, Matanya Nathansen and Chana Nathansen for the Estate of Tehilla
Nathansen, Yehudit Nathansen, S.N., a minor, Hezekiel Toporowitch, Pearl B. Toporowitch,
Yehuda Toporowitch, David Toporowitch, Shaina Chava Nadel, Blumy Rom, Rivka Pollack,
Rachel Potolski, Ovadia Toporowitch, Tehilla Greiniman, Yisrael Toporowitch, Yitzchak
Toporowitch, Michal Honickman for the Estate of Howard Goldstein, Michal Honickman, Eugene
Goldstein, Lorraine Goldstein, Richard Goldstein, Barbara Goldstein Ingardia, Michael Goldstein,
Chana Freedman, David Goldstein, Harry Leonard Beer, Harry Leonard Beer as Executor of the
Estate of Alan Beer, Harry Leonard Beer as Executor of the Estate of Anna Beer, Phyllis Maisel,
Estelle Caroll, Sarri Anne Singer, Judith Singer, Eric M. Singer, Robert Singer, Daniel Rozenstein,
Julia Rozenstein Schon, Alexander Rozenstein, Esther Rozenstein, Jacob Steinmetz, Deborah
Steinmetz, Jacob Steinmetz and Deborah Steinmetz for the Estate of Amichai Steinmetz, Nava
Steinmetz, Orit Mayerson, Netanel Steinmetz, Ann Coulter for the Estate of Robert L. Coulter,
Sr., Dianne Coulter Miller, Robert L. Coulter, Jr., Dianne Coulter Miller and Robert L. Coulter,
Jr. for the Estate of Janis Ruth Coulter, Larry Carter as the Administrator of the Estate of Diane
Leslie Carter, Larry Carter, Shaun Choffel, Richard Blutstein and Katherine Baker for the Estate
of Benjamin Blutstein, Richard Blutstein, Katherine Baker, Rebekah Blutstein, Nevenka Gritz for
the Estate of David Gritz, Nevenka Gritz, Nevenka Gritz for the Estate of Norman Gritz, Jacqueline
Chambers and Levana Cohen as the Administrators of the Estate of Esther Bablar, Jacqueline
Chambers, Levana Cohen, Eli Cohen, Sarah Elyakim, Joseph Cohen, Greta Geller, Ilana Dorfman,
Rephael Kitsis and Tova Guttman as the Administrators of the Estate of Hannah Rogen, Temima
Spetner, Jason Kirschenbaum, Isabelle Kirschenbaum, Isabelle Kirschenbaum for the Estate of
Martin Kirschenbaum, Joshua Kirschenbaum, Shoshana Burgett, David Kirschenbaum, Danielle
Teitelbaum, Netanel Miller, Chaya Miller, Arie Miller, Aharon Miller, Shani Miller, Adiya Miller,
Altea Steinherz, Jonathan Steinherz, Temima Steinherz, Joseph Ginzberg, Peter Steinherz, Laurel
Steinherz, Gila Aluf, Yitzhak Zahavy, Julie Zahavy, Tzvee Zahavy and Bernice Zahavy, by their
attorneys, allege the following:

                                 NATURE OF THE ACTION

       1.      This is a complaint for damages arising out of the unlawful conduct of Cairo

Amman Bank (“CAB”) – a Jordanian bank headquartered in Amman, Jordan. CAB aided and

abetted the Islamic Resistance Movement (“HAMAS”), a Foreign Terrorist Organization (“FTO”)

(as that term is defined in 8 U.S.C. § 1189 of the Antiterrorism and Effective Death Penalty Act

of 1996 (“AEDPA”)) by knowingly providing substantial assistance to HAMAS, and is civilly

liable under 18 U.S.C. § 2333(d) of the Anti-Terrorism Act (“ATA”) to those American citizens
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 4 of 124



(and their estates, survivors and heirs) who have been killed or injured in their person by reason

of such acts of international terrorism perpetrated by HAMAS.

        2.      CAB knowingly – and with awareness of its important role – provided financial

services to HAMAS in several related ways set forth below, by maintaining accounts for, and

facilitating substantial payments on behalf of, several of HAMAS’s leaders and most prominent

institutions.

                                 JURISDICTION AND VENUE

        3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 and 18 U.S.C. §§ 2333, 2338, as a civil action brought by citizens of the United States who

have been killed or injured by reason of acts of international terrorism, and their estates, survivors,

and heirs.

        4.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (d) and 18

U.S.C. § 2334(a).

        5.      CAB is subject to personal jurisdiction in the State of New York pursuant to 18

U.S.C. § 2334(a), CPLR § 302, and Fed. R. Civ. P. 4(k)(1)-(2) because it has transacted business

and committed tortious acts within the United States by transferring funds through the United

States for the benefit of the FTO HAMAS and has purposefully availed itself of United States

jurisdiction in the course of committing the wrongful acts alleged herein.

        6.      Specifically, CAB transfers most of its U.S. dollar wire transfers through three

correspondent banks located in New York: Bank of New York Mellon Corporation, JP Morgan

Chase and Standard Chartered Bank. During the relevant period (1999-2004), CAB maintained

correspondent banking relationships in New York with Citibank, N.A., American Express Bank

Ltd. and Bank of New York.




                                                  2
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 5 of 124



       7.      During the relevant period, CAB purposefully and knowingly used its

correspondent bank accounts in New York, particularly its account with Citibank, N.A. (Account

No. 3612-1701), to facilitate a large volume of U.S. dollar-denominated funds transfers to

HAMAS.

       8.      During the relevant period, CAB also purposefully and knowingly used its

correspondent bank accounts in New York with Bank of New York, N.A. (Account No.

8900291605) and American Express Bank Ltd. (now Standard Chartered Bank) (Account No.

300732396).

                                         THE PARTIES

       A.      The Plaintiffs

                   THE COMMUTER BUS #6 BOMBING – MAY 18, 2003

       9.      On May 18, 2003, Basem Takruri, a HAMAS suicide bomber, boarded Bus #6, a

commuter bus heading for Jerusalem, and detonated his explosives.

       10.     Seven people ranging in age from 35 to 68, were killed by the explosion, and 20

others were injured.

The Averbach Family

       11.     Steven Averbach was a citizen of the United States and a resident of the State of

Israel when he died.

       12.     Steven died in 2010 as a result of injuries sustained during the suicide bombing that

occurred on May 18, 2003. He was 44 years old.

       13.     At the time of the attack Steven resided near Tel Aviv, Israel. He was a married

father of four sons ranging in age from 2 to 13 at the time. Steven and his wife, Julie, were married

in 1994 and have two sons together, Sean Averbach and Adam Averbach.




                                                 3
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 6 of 124



       14.        Steven’s older sons, Tamir and Devir are from a prior marriage.

       15.        On May 18, 2003, Steven boarded the commuter bus heading for Jerusalem and

took a seat facing the back.

       16.        As the bus pulled away from the stop, it suddenly stopped and the bus driver

allowed another passenger to get on.

       17.        Steven caught a glimpse of him and saw that he was wearing a heavy coat in warm

weather that covered bulges underneath it. He also saw what looked like a trigger mechanism in

his right hand.

       18.        Having worked in the anti-terrorist division in the Israeli Army and the Israeli

Police, knowing that Israeli buses do not usually pick up passengers after they have begun to leave

the station, seeing the tension on the faces of the people on the bus, and taking into account

Takruri’s aforementioned suspicious characteristics, Steven immediately recognized that a

terrorist attack was imminent.

       19.        Steven grabbed the gun he carried and turned toward Takruri, who detonated the

explosives.

       20.        Steven absorbed a substantial amount of the impact of the explosion and multiple

pieces of shrapnel.

       21.        Steven sustained a critical wound when a ball bearing originally packed together

with the bomber’s explosives penetrated through the skin and muscles of his neck and lodged

between his C3 and C4 vertebrae. The ball bearing lodged in his spinal canal causing severe

compression damage to his spinal cord. The object was eventually removed during surgery, but

not before it had caused severe damage to his spinal cord that rendered him a quadriplegic.

       22.        Following surgery, Steve was moved to intensive care where he stayed for five




                                                  4
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 7 of 124



weeks. He almost died there several times because of an extremely high fever and from the blast

injury to his lungs. He subsequently underwent numerous operations to his back, groin and gastric

intestines. He also had a tracheotomy and had a gastric feeding tube inserted as a result of the

damage caused by the tracheotomy.

         23.     Steven was forced to return to the Intensive Care Unit at least twice with

complications.

         24.     Steven was paralyzed from his neck down.

         25.     On more than one occasion, Steven pleaded with his doctors and family members

to take him off of life support.

         26.     He was completely dependent on the 24-hour care provided to him, and had no

foreseeable hope of recovery.

         27.     Steven lived in constant pain. He battled depression and took antidepressants.

         28.     As a result of the attack, Steven Averbach sustained severe physical injuries and

experienced severe mental anguish and extreme emotional distress from May 18, 2003 until his

death.

         29.     Plaintiff Julie Averbach is a citizen and resident of the State of Israel. She is the

widow of Steven Averbach, and the mother of Sean Averbach and Adam Averbach.

         30.     Plaintiff Julie Averbach brings this action both individually and as the legal

representative of the Estate of Steven Averbach.

         31.     As a result of the injuries Steven sustained, Julie had to relocate her family to be

closer to the rehabilitation center where Steven resided for nearly a year. Steven moved home from

the rehabilitation center in July 2004, but required continuous 24-hour care. Following the attack,

Julie was, in most respects, a single parent and could not enjoy the normal companionship, day-




                                                   5
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 8 of 124



to-day assistance and mutual support that she had previously received from her husband.

        32.   Julie underwent psychological counseling after the attack.

        33.   As a result of the suffering that Steven experienced following the attack and his

death that resulted from the injuries sustained in the attack, plaintiff Julie Averbach has

experienced emotional pain and suffering, loss of her husband’s society, companionship, comfort,

advice and counsel, and severe mental anguish and extreme emotional distress.

        34.   Plaintiff Tamir Averbach is a citizen of the United States and a resident of the State

of New Jersey. He is a son of Steven Averbach and Steven’s first wife.

        35.   After the attack, Tamir underwent psychological counseling for approximately one

year.

        36.   As a result of the suffering that Steven experienced following the attack and his

death that resulted from the injuries sustained in the attack, plaintiff Tamir Averbach has

experienced emotional pain and suffering, loss of his father’s society, companionship, comfort,

advice and counsel, and severe mental anguish and extreme emotional distress.

        37.   Plaintiff Devir Averbach is a citizen of the United States and a resident of the State

of New Jersey. He is a son of Steven Averbach and Steven’s first wife.

        38.   After the attack, Devir experienced difficulty making friends, his grades declined,

he cried, and he felt angry. He also underwent psychological counseling.

        39.   Tamir and Devir witnessed their father’s relentless and painful suffering and

repeated surgeries and brushes with death. They remember what it was like before the attack, when

he was an able-bodied man.

        40.   As a result of the suffering that Steven experienced following the attack and his

death that resulted from the injuries sustained in the attack, plaintiff Devir Averbach has




                                                6
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 9 of 124



experienced emotional pain and suffering, loss of his father’s society, companionship, comfort,

advice and counsel, and severe mental anguish and extreme emotional distress.

       41.     Plaintiff Sean Averbach is a citizen of the United States and a resident of the State

of Israel. He is a son of Steven Averbach and Julie Averbach.

       42.     As a result of the brutal attack on his father, he has been emotionally traumatized

and has lost the sense of protection and safety he once enjoyed from his father. Due to the severity

of his father’s injuries, ordinary companionship and simple pleasures of traveling with or playing

sports with his father were denied to him.

       43.     As a result of the suffering that Steven experienced following the attack and his

death that resulted from the injuries sustained in the attack, plaintiff Sean Averbach has

experienced emotional pain and suffering, loss of his father’s society, companionship, comfort,

advice and counsel, and severe mental anguish and extreme emotional distress.

       44.     Plaintiff Adam Averbach is a citizen of the United States and a resident of the State

of Israel. He is a son of Steven Averbach and Julie Averbach.

       45.     As a result of the brutal attack on his father he has been emotionally traumatized

and does not remember a time when his father was capable of using his arms and legs. Due to the

severity of his father’s injuries, ordinary companionship and simple pleasures of walking together,

playing sports together, or driving in a car with his father were denied to him.

       46.     As a result of the suffering that Steven experienced following the attack and his

death that resulted from the injuries sustained in the attack, plaintiff Adam Averbach has

experienced emotional pain and suffering, loss of his father’s society, companionship, comfort,

advice and counsel, and severe mental anguish and extreme emotional distress.

       47.     David Averbach was a United States citizen and resident of the State of New Jersey




                                                 7
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 10 of 124



when he died in 2013. He was the father of Steven Averbach.

       48.     Plaintiff Maida Averbach is a citizen of the United States and a resident of the State

of New Jersey. She is the mother of Steven Averbach.

       49.     Plaintiff Maida Averbach brings this action both individually and as the legal

representative of the Estate of David Averbach.

       50.     Maida Averbach and David Averbach had returned home late on May 17, 2003,

from a dinner honoring David. Soon thereafter, Maida switched on Fox News and learned that a

bus had been bombed in Jerusalem on Sunday morning in Israel. Maida recognized her son’s body

leaning out of a stretcher on the news footage but decided not to inform her husband until the next

morning.

       51.     After a sleepless night, Maida received a telephone call on Sunday morning at 5:50

a.m. from her daughter-in-law and a social worker from Hadassah Hospital. They explained that

Steven had been grievously wounded by the explosion and a ball bearing had lodged between his

C3 and C4 vertebrae.

       52.     As a respected surgeon with many years of experience, David immediately

understood the severity of his son’s injuries.

       53.     At the time of the attack, David Averbach and Maida Averbach had partially retired

from their jobs so that they could spend more time with Steven and his children.

       54.     Following the attack, Steven’s constant inability to use his hands and legs, his

inevitable battle with depression and the emotional effect it has had on Steven’s four children were

a constant source of anguish to both of his parents.

       55.     As a result of the suffering that Steven experienced following the attack and his

death that resulted from the injuries sustained in the attack, (before he died) David Averbach




                                                  8
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 11 of 124



experienced emotional pain and suffering, loss of his son’s society, companionship, comfort,

advice and counsel, and severe mental anguish and extreme emotional distress.

       56.     Plaintiff Maida Averbach experienced severe mental anguish and extreme

emotional distress as a result of the terrorist attack from the moment she saw her son’s body on

television in the early morning hours of May 18, 2003.

       57.     As a result of the suffering that Steven experienced following the attack and his

death that resulted from the injuries sustained in the attack, plaintiff Maida Averbach has

experienced emotional pain and suffering, loss of her son’s society, companionship, comfort,

advice and counsel, and severe mental anguish and extreme emotional distress.

       58.     Plaintiff Michael Averbach is a citizen of the United States and a resident of the

State of New Jersey. He is the brother of Steven Averbach.

       59.     Michael Averbach has always looked up to his brother and admired him. The

injuries that his brother sustained, as well as his subsequent death, have been a severe emotional

blow to Michael.

       60.     Since the date of the attack, Michael flew to Israel repeatedly, often at his brother’s

request, simply to sit by Steven’s bedside and talk.

       61.     As a result of the suffering that Steven experienced following the attack and his

death that resulted from the injuries sustained in the attack, plaintiff Michael Averbach has

experienced emotional pain and suffering, loss of his brother’s society, companionship, comfort,

advice and counsel, and severe mental anguish and extreme emotional distress.

       62.     Plaintiff Eileen Sapadin is a citizen of the United States and a resident of the State

of New Jersey. She is the sister of Steven Averbach.

       63.     Eileen was staying at her parents’ home with her husband and three of her four




                                                 9
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 12 of 124



children on the morning her mother received notification of the attack.

        64.      Eileen has experienced tremendous emotional pain and sadness as a result of the

severity of the injuries that Steve sustained as a result of the attack, as well as his subsequent death.

        65.      After the attack, she suffered from anxiety and depression, had trouble sleeping,

and cried every day.

        66.      Since the attack, she lost more than thirty pounds and has suffered physical

exacerbations of a colitis condition that was in remission prior to the attack that severely injured

her brother, and subsequently resulted in his death.

        67.      As a result of the suffering that Steven experienced following the attack and his

death that resulted from the injuries sustained in the attack, plaintiff Eileen Sapadin has

experienced emotional pain and suffering, loss of her brother’s society, companionship, comfort,

advice and counsel, and severe mental anguish and extreme emotional distress.

              THE JERUSALEM EGGED BUS #2 BOMBING – AUGUST 19, 2003

        68.      On August 19, 2003, Ra’ed Abdul Hamid Misk, a HAMAS suicide bomber,

detonated explosives on Egged Bus #2.

        69.      Twenty-three people were killed and over 130 others were injured in the attack.

The Strauss Family

        70.      Plaintiff Moses Strauss is a citizen of the United States and a resident of the State

of New Jersey.

        71.      Moses was studying in Israel in 2003, and was planning to return to the United

States in April 2004.

        72.      At around 9:00 pm on August 19, 2003, he boarded Egged Bus #2 in Jerusalem

after praying at the Kotel (also known as the “Western Wall” or “Wailing Wall”).




                                                   10
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 13 of 124



        73.    Approximately 15 minutes into the bus ride, Moses heard a deafening boom when

Misk detonated the explosives on the bus.

        74.    Moses fell forward as a result of the explosion. His eyeglasses, jacket, hat and cell

phone flew off his body.

        75.    As Moses regained his bearings and realized what had occurred, he witnessed

people screaming and crying, and he saw blood and body parts all around him.

        76.    His clothes were covered with blood, and his hearing was severely impaired.

        77.    To exit the bus, Moses stepped over bodies, and in a state of shock made his way

toward his apartment. As he reached the corner near his apartment, he saw a friend, and they went

into his friend’s apartment and telephoned Moses’s father, plaintiff Philip Strauss, to tell him

Moses had been in an attack, but was alive. After making the telephone call, the friend drove Moses

to Hadassah Hospital.

        78.    As a result of the explosion, Moses’s body ached, especially his right ear and hand.

After arriving at the hospital, he underwent numerous tests, and doctors removed the shrapnel from

his ear and hand.

        79.    Days after the attack, Moses still experienced agonizing pain in his ear, and his

hearing loss did not improve.

        80.    After the attack, Moses returned to the United States without completing his studies

in Israel.

        81.    Moses was examined by medical specialists in both Israel and the United States.

Both physicians confirmed that he would require surgery on his ear.

        82.    In the winter of 2004, Moses underwent ear surgery in the United States. His ear is

still not completely healed, and he has been told that his condition will never improve. An ear




                                                11
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 14 of 124



specialist continues to monitor his condition.

         83.   Moses continues to relive the attack, the images of the attack replaying in his mind

daily.

         84.   As a result of the attack, plaintiff Moses Strauss has sustained severe physical

injuries and experienced severe mental anguish and extreme emotional distress.

         85.   Plaintiff Philip Strauss is a citizen of the United States and a resident of the State

of New York. He is the father of plaintiff Moses Strauss.

         86.   Plaintiff Bluma Strauss is a citizen of the United States and a resident of the State

of New York. She is the mother of plaintiff Moses Strauss.

         87.   After hearing of the attack, Bluma attempted unsuccessfully to reach Moses on his

cell phone. When she tried to reach him at his apartment, someone else answered the telephone

and said that her son was not there. Bluma grew increasingly concerned.

         88.   Upon learning that her son was injured in the bombing, Bluma’s distress grew.

         89.   As a result of the attack, plaintiffs Philip Strauss and Bluma Strauss have

experienced severe mental anguish and extreme emotional distress.

         90.   Plaintiff Ahron Strauss is a citizen of the United States and a resident of the State

of New Jersey. He is a brother of plaintiff Moses Strauss.

         91.   Plaintiff Roisie Engelman is a citizen of the United States and a resident of the State

of New Jersey. She is the sister of plaintiff Moses Strauss.

         92.   Roisie Engelman was on vacation when she received a telephone call advising her

that there had been a bombing in Israel. Roisie attempted to contact Moses on his cellular

telephone, but was unable to reach him. She also telephoned her other brother, Ahron, attempting

to locate Moses or her parents.




                                                 12
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 15 of 124



       93.     When Roisie finally received the news that Moses had been injured in the bus

bombing, she was very concerned and extremely anxious.

       94.     Plaintiff Joseph Strauss is a citizen of the United States and a resident of the State

of New Jersey. He is a brother of plaintiff Moses Strauss.

       95.     Joseph learned of the attack while watching the news on an airplane. He was aware

that the bombing had occurred near the neighborhood where Moses lived. Upon arriving in

California, Joseph spoke to his parents and learned of Moses’s condition. During the plane flight,

Joseph experienced great anxiety because he was uncertain if his brother had been present at the

bombing.

       96.     Ahron Strauss, Roisie Engelman and Joseph Strauss experienced great anxiety after

learning of the attack that caused the injuries that Moses sustained.

       97.     As a result of the attack, plaintiffs Ahron Strauss, Roisie Engelman and Joseph

Strauss have experienced severe mental anguish and extreme emotional distress.

The Weiss Family

       98.     Plaintiff Tzvi Weiss is a citizen of the United States and a resident of the State of

New Jersey.

       99.     Tzvi was in Israel studying at a rabbinical college in 2003 and was planning to

return to the United States on August 21, 2003.

       100.    On the evening of August 19, 2003, Tzvi boarded Egged Bus #2 in Jerusalem after

visiting the Kotel, Judaism’s holiest site, to pray. He was on his way to a friend’s wedding.

       101.    As the bus arrived at Shmuel Hanavi Street, he heard a terrible explosion.

Everything went black, and he could not hear anything but a deafening ringing in his ears.

       102.    In the panicked aftermath of the explosion, Tzvi jumped out of a window of the bus




                                                  13
           Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 16 of 124



and began to run, stumbling over dead bodies and body parts as he fled the scene.

       103.      Tzvi was covered with blood, and his hand had been cut. His body was shaking

from the shock of the experience, and he had a constant terrible ringing in his ears.

       104.      Once he got his bearings, Tzvi telephoned one of his brothers, plaintiff Yitzchak

Weiss, and waited for him to arrive to accompany him to the hospital.

       105.      An ambulance transported Tzvi to Bikur Cholim Hospital where he underwent

medical tests.

       106.      Both of his eardrums had been completely torn, and his hearing in his left ear was

severely impaired. He continued to experience severe pain in his hand and was unable to bend his

fingers.

       107.      Tzvi decided to return home to the United States to be near his family while he

began recovering from the injuries and the effects of having been a victim of a terrorist attack. He

returned to the United States the following day and visited an ear specialist within hours of his

arrival. He underwent tests and was advised to have surgery on his left ear to attempt to regain

some of his hearing loss in that ear. Tzvi obtained a second opinion from another doctor who

agreed with the diagnosis.

       108.      After a number of examinations by the initial physician, and after treatment with

antibiotics, Tzvi underwent surgery on his left ear. After the surgery, the incessant ringing in his

ears became louder and worse than before.

       109.      Tzvi also visited another physician for treatment of the severe pain in his hand. He

was told the injuries might require surgery.

       110.      Tzvi continued to visit doctors on numerous occasions to assess his ears, and

underwent many tests, but the agonizing ringing continued. Eventually, it was determined that the




                                                  14
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 17 of 124



surgery on Tzvi’s left ear had not been successful. Tzvi suffered numerous panic attacks because

of his injuries and the symptoms that continued to affect him.

       111.    As a result of the injuries that he sustained in the attack, combined with the

memories of the attack itself, Tzvi’s mental health deteriorated. The suffering that Tzvi has

endured as a result of the injuries he sustained in the attack is ongoing and relentless. It has

negatively impacted every aspect of his life.

       112.    Tzvi enrolled in rabbinical college upon his return to the United States, but the

injuries and their symptoms prevented him from concentrating on his schoolwork, and he could

no longer realize the academic success that he had achieved prior to the attack.

       113.    As a result of the attack, plaintiff Tzvi Weiss has sustained severe physical injuries

and experienced severe mental anguish and extreme emotional distress.

       114.    Plaintiff Leib Weiss is a citizen of the United States and a resident of the State of

New York. He is the father of plaintiff Tzvi Weiss.

       115.    Malka Weiss was a citizen of the United States and a resident of the State of New

York when she died in 2018. She was the mother of plaintiff Tzvi Weiss.

       116.    Plaintiff Leib Weiss brings this action both individually and as the legal

representative of the Estate of Malka Weiss.

       117.    Leib Weiss and Malka Weiss experienced great anxiety after learning of the attack

that injured Tzvi and observing the suffering that he has endured as a result of his injuries.

       118.    As a result of the attack, plaintiffs Leib Weiss and Malka Weiss (before her death)

have experienced severe mental anguish and extreme emotional distress.

       119.    Plaintiff Yitzchak Weiss is a citizen of the United States and a resident of the State

of Israel. He is a brother of plaintiff Tzvi Weiss.




                                                  15
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 18 of 124



        120.    Plaintiff Yeruchaim Weiss is a citizen of the United States and a resident of the

State of Israel. He is a brother of plaintiff Tzvi Weiss.

        121.    Plaintiff Esther Deutsch is a citizen of the United States and a resident of the State

of New York. She is the sister of plaintiff Tzvi Weiss.

        122.    Yitzchak Weiss, Yeruchaim Weiss and Esther Deutsch experienced great anxiety

after learning of the attack that injured Tzvi and observing the suffering that he has endured as a

result of his injuries.

        123.    As a result of the attack, plaintiffs Yitzchak Weiss, Yeruchaim Weiss and Esther

Deutsch have experienced severe mental anguish and extreme emotional distress.

The Nathansen/Toporowitch Family

        124.    Tehilla Nathansen was a citizen of the United States and a resident of the State of

Israel when she died.

        125.    Tehilla was three (3) years old and sitting on her mother’s lap when she was

murdered in the suicide bomb attack on August 19, 2003.

        126.    The Nathansen family had boarded the bus at the Kotel in Jerusalem, where they

had just completed their prayers.

        127.    Plaintiff Matanya Nathansen is a citizen and resident of the State of Israel. He is

the father of Tehilla Nathansen.

        128.    Plaintiff Chana Nathansen is a citizen of the United States and a resident of the

State of Israel. She is the mother of Tehilla Nathansen.

        129.    Plaintiffs Matanya Nathansen and Chana Nathansen bring this action individually,

on behalf of the Estate of Tehilla Nathansen, and on behalf of their minor daughter, S.N.

        130.    As a result of the explosion, Matanya suffered fractures in both feet and in his collar




                                                  16
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 19 of 124



bone, and sustained injuries to his lungs, eye and finger. He is now hearing impaired and can no

longer walk properly.

        131.      As a result of the attack, plaintiff Matanya Nathansen has sustained severe physical

injuries and experienced severe mental anguish and extreme emotional distress from the injuries

he sustained, from witnessing and experiencing first-hand the death of his 3-year-old daughter,

Tehilla, as well as the severe injuries sustained by his wife and young daughters (all of whom are

U.S. citizens).

        132.      Chana was severely injured in the explosion that killed Tehilla, was taken to

Hadassah Hospital, and remained there for 12 days.

        133.      Although Chana repeatedly asked about Tehilla’s whereabouts, she did not learn

until the next day that she had been killed. That uncertainty was torture for Chana.

        134.      Chana’s spleen was torn, and her ribs were broken.

        135.      She had seven ball bearings that caused holes in her chest, leg and arm that had to

be removed from her body.

        136.      She has undergone numerous surgeries.

        137.      Shrapnel lodged throughout her body, including her eye.

        138.      Chana’s hip was crushed, necessitating a hip replacement. She still experiences pain

in that area.

        139.      Her hearing is impaired and she suffers from tinnitus.

        140.      Chana cannot walk long distances, and she has a limited range of movement.

        141.      She feels indescribable pain at losing Tehilla and seeing her daughter Yehudit

injured and her daughter S.N. severely injured.

        142.      Chana has undergone psychological counseling.




                                                   17
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 20 of 124



       143.    As a result of the attack, plaintiff Chana Nathansen has sustained severe physical

injuries and experienced severe mental anguish and extreme emotional distress from the injuries

she sustained, from witnessing and experiencing first-hand the death of her 3-year-old daughter,

Tehilla, and witnessing the severe injuries sustained by her daughters, plaintiff S.N., a minor, and

plaintiff Yehudit Nathansen.

       144.    Plaintiff Yehudit Nathansen is a citizen of the United States and a resident of the

State of Israel. She is a daughter of plaintiffs Chana Nathansen and Matanya Nathansen, and the

sister of Tehilla Nathansen and plaintiff S.N.

       145.    At the time of the explosion, Yehudit was sitting with her aunt, a few seats away

from her parents.

       146.    Yehudit incurred cuts on her neck and waist from the explosion and was treated at

Bikur Cholim Hospital in Jerusalem.

       147.    She hears constant noise in her ears, which makes her tense.

       148.    Yehudit suffered nightmares, sadness and guilt and underwent psychological

counseling.

       149.    As a result of the attack, plaintiff Yehudit Nathansen has sustained physical injuries

and experienced severe mental anguish and extreme emotional distress due to her own injuries and

from witnessing and experiencing first-hand the death of her 3-year-old sister, Tehilla, as well as

the severe injuries sustained by her mother, father, and baby sister.

       150.    Plaintiff S.N., a minor, is a citizen of the United States and a resident of the State

of Israel. She is a daughter of plaintiffs Chana Nathansen and Matanya Nathansen, and the sister

of Tehilla Nathansen and plaintiff Yehudit Nathansen.

       151.    S.N. was sitting on Chana’s lap at the time of the explosion. She was 5 months old




                                                 18
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 21 of 124



at the time. As a result of the explosion, S.N. sustained burns all over her face, and her eardrums

were ruptured.

       152.       She suffered bilateral lung contusions and a fracture of her left femur and right leg

and hip, deep lacerations in her arm that have left permanent scars, and scars on her face and legs.

       153.       S.N. also had multiple shrapnel and metal pellets lodged in her body, including in

her eyes, and a laceration of the bone of her left forearm and in her left wrist. She has pain in her

upper left arm.

       154.       She is hearing impaired and suffers from tinnitus.

       155.       She underwent psychological counseling.

       156.       As a result of the attack, plaintiff S.N. has sustained severe physical injuries and

experienced severe mental anguish and extreme emotional distress.

       157.       Plaintiff Hezekial Toporowitch is a citizen of the United States and a resident of

the State of Israel. He is the father of plaintiff Chana Nathansen and the grandfather of the three

Nathansen girls.

       158.       Plaintiff Pearl B. Toporowitch is a citizen of the United States and a resident of the

State of Israel. She is the mother of plaintiff Chana Nathansen and the grandmother of the three

Nathansen girls.

       159.       In the middle of the night, Hezekial and Pearl were notified by telephone of the

bombing that had killed their granddaughter, Tehilla, and crippled their daughter, Chana. That

night they traveled to Jerusalem. Pearl attempted to obtain further details about the condition of

her son-in-law and her granddaughters.

       160.       In the aftermath of the bombing, Chana, Matanya, and their children were

transferred to different hospitals thereby complicating the family’s efforts to locate them.




                                                   19
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 22 of 124



       161.    Hezekial was supposed to travel to the central morgue in Holon to attempt to

identify his granddaughter’s body, but was in too much shock to do so. He was initially told to

identify the bodies of two granddaughters since S.N. had not yet been identified at the hospital and

was thought to be deceased.

       162.    As a result of the attack, plaintiff Hezekial Toporowitch has experienced severe

mental anguish and extreme emotional distress from experiencing the death of his 3-year-old

granddaughter, Tehilla, as well as the severe injuries sustained by his daughter, and injuries

sustained by his granddaughters and son-in-law.

       163.    As a result of the attack, plaintiff Pearl B. Toporowitch has experienced severe

mental anguish and extreme emotional distress from experiencing the death of her 3-year-old

granddaughter, Tehilla, as well as the severe injuries sustained by her daughter, and injuries

sustained by her granddaughters and son-in-law.

       164.    Plaintiff Yehuda Toporowitch is a citizen of the United States and a resident of the

State of New Jersey. He is a brother of plaintiff Chana Nathansen and an uncle of the three

Nathansen girls.

       165.    In the middle of the night Yehuda was notified by telephone of the bombing that

had killed his niece and crippled his sister.

       166.    He had been working at a resort when he received the telephone call, and quickly

rushed to a nearby television where graphic images of the bombsite were being broadcast by Israeli

television.

       167.    Yehuda rushed home, traveled with his parents to the Tel Aviv area, and stopped at

the home of one of his sisters. He took a taxicab to the central morgue and attempted to identify

Tehilla’s remains, but could not positively identify them because of the nature and extent of




                                                20
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 23 of 124



Tehilla’s injuries.

         168.   Yehuda then made arrangements for necessary DNA testing, which ultimately

confirmed his niece’s identity.

         169.   As a result of the attack, plaintiff Yehuda Toporowitch has experienced severe

mental anguish and extreme emotional distress from the death of his 3-year-old niece, Tehilla, and

the attempt to identify her remains. He has also experienced severe mental anguish and extreme

emotional distress as a result of the severe injuries sustained by his sister and other niece and

injuries to his brother-in-law.

         170.   Plaintiff David Toporowitch is a citizen of the United States and a resident of the

State of Israel. He is a brother of plaintiff Chana Nathansen and an uncle of the three Nathansen

girls.

         171.   David was not present when his parents were notified by telephone of the bombing

that killed his niece and crippled his sister. Instead, he had to piece together the events by himself

after his family had already left for Jerusalem.

         172.   Like the rest of his immediate family, David visited his sister and niece in the

hospital and experienced the shock and severe mental anguish and extreme emotional distress

resulting from the emotional trauma of burying his young niece and dealing with the pain and loss

experienced by his sister.

         173.   As a result of the attack, plaintiff David Toporowitch has experienced severe mental

anguish and extreme emotional distress from experiencing the death of his 3-year-old niece,

Tehilla, as well as the severe injuries sustained by his sister and other niece.

         174.   Plaintiff Shaina Chava Nadel is a citizen of the United States and a resident of the

State of Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.




                                                   21
          Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 24 of 124



          175.   Like the rest of her immediate family, Shaina visited her sister and niece in the

hospital and experienced the shock and mental anguish resulting from the emotional trauma of

burying her young niece and dealing with the pain and loss experienced by her sister.

          176.   As a result of the attack, plaintiff Shaina Chava Nadel has experienced severe

mental anguish and extreme emotional distress from experiencing the death of her 3-year-old

niece, Tehilla, as well as the severe injuries sustained by her sister and other niece and injuries to

her brother-in-law.

          177.   Plaintiff Blumy Rom is a citizen of the United States and a resident of the State of

Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.

          178.   Like the rest of her immediate family, Blumy visited her sister and niece in the

hospital and experienced the shock and mental distress resulting from the emotional trauma of

burying her young niece, Tehilla, and dealing with the pain and loss experienced by her younger

sister.

          179.   As a result of the attack, plaintiff Blumy Rom has experienced severe mental

anguish and extreme emotional distress from experiencing the death of her 3-year-old niece,

Tehilla, as well as the severe injuries sustained by her sister and other niece and injuries to her

brother-in-law.

          180.   Plaintiff Rivka Pollack is a citizen of the United States and a resident of the State

of Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.

          181.   Like the rest of her immediate family, Rivka visited her sister and niece in the

hospital and experienced severe mental anguish and extreme emotional distress from burying her

young niece and dealing with the pain and loss experienced by her older sister and injuries to her

brother-in-law.




                                                  22
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 25 of 124



         182.   She stayed with her baby niece S.N., caring for her during the two weeks that she

was hospitalized and for two months after her discharge from the hospital. Having to change the

dressings on her niece’s wounds, care for her various injuries, and take her to doctors, has deeply

affected her.

         183.   As a result of the attack, plaintiff Rivka Pollack has experienced severe mental

anguish and extreme emotional distress from experiencing the death of her 3-year-old niece,

Tehilla, as well as the severe injuries incurred by her sister, other niece and brother-in-law.

         184.   Plaintiff Rachel Potolski is a citizen of the United States and a resident of the State

of Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.

         185.   Like the rest of her immediate family, Rachel experienced the shock and mental

distress resulting from the emotional trauma of burying her young niece, Tehilla, and dealing with

the pain and loss experienced by her younger sister.

         186.   As a result of the attack, plaintiff Rachel Potolski has experienced severe mental

anguish and extreme emotional distress from experiencing the death of her 3-year-old niece,

Tehilla, as well as the severe injuries incurred by her sister, other niece and brother-in-law.

         187.   Plaintiff Ovadia Toporowitch is a citizen of the United States and a resident of the

State of Israel. He is a brother of plaintiff Chana Nathansen and an uncle of the three Nathansen

girls.

         188.   Like the rest of his immediate family, Ovadia experienced the shock and mental

distress resulting from the emotional trauma of burying his young niece, Tehilla, and dealing with

the pain and loss experienced by his younger sister.

         189.   As a result of the attack, plaintiff Ovadia Toporowitch has experienced severe

mental anguish and extreme emotional distress from experiencing the death of his 3-year-old niece,




                                                  23
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 26 of 124



Tehilla, as well as the severe injuries incurred by his sister, other niece and brother-in-law.

         190.   Plaintiff Tehilla Greiniman is a citizen of the United States and a resident of the

State of Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.

         191.   Like the rest of her immediate family, Tehilla experienced the shock and mental

distress resulting from the emotional trauma of burying her young niece, Tehilla, and dealing with

the pain and loss experienced by her younger sister.

         192.   As a result of the attack, plaintiff Tehilla Greiniman has experienced severe mental

anguish and extreme emotional distress from experiencing the death of her 3-year-old niece,

Tehilla, as well as the severe injuries incurred by her sister, other niece and brother-in-law.

         193.   Plaintiff Yisrael Toporowitch is a citizen of the United States and a resident of the

State of Israel. He is a brother of plaintiff Chana Nathansen and an uncle of the three Nathansen

girls.

         194.   Like the rest of his immediate family, Yisrael experienced the shock and mental

distress resulting from the emotional trauma of burying his young niece, Tehilla, and dealing with

the pain and loss experienced by his younger sister.

         195.   As a result of the attack, plaintiff Yisrael Toporowitch has experienced severe

mental anguish and extreme emotional distress from experiencing the death of his 3-year-old niece,

Tehilla, as well as the severe injuries incurred by his sister, other niece and brother-in-law.

         196.   Plaintiff Yitzchak Toporowitch is a citizen of the United States and a resident of

the State of Israel. He is a brother of plaintiff Chana Nathansen and an uncle of the three Nathansen

girls.

         197.   Like the rest of his immediate family, Yitzchak experienced the shock and mental

distress resulting from the emotional trauma of burying his young niece, Tehilla, and dealing with




                                                  24
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 27 of 124



the pain and loss experienced by his younger sister.

       198.      As a result of the attack, plaintiff Yitzchak Toporowitch has experienced severe

mental anguish and extreme emotional distress from experiencing the death of his 3-year-old niece,

Tehilla, as well as the severe injuries incurred by his sister, other niece and brother-in-law.

                 THE SHOOTING ATTACK ON ROUTE #60 – JUNE 20, 2003

       199.      On June 20, 2003, Ahmad Najjar and Farah Hamad, two HAMAS terrorists,

perpetrated a shooting attack on Route #60 near the Yabroud underpass, killing one person and

seriously injuring three others.

The Goldstein Family

       200.      Howard Goldstein was a citizen of the United States and a resident of the State of

Israel when he died.

       201.      He was murdered on June 20, 2003, while driving his car with his parents on Route

#60 in Israel.

       202.      Howard was driving his parents and his wife from Eli to Jerusalem where they had

stayed the previous night following the wedding of Howard’s son, plaintiff David Goldstein.

Howard and his wife and parents were traveling for a weekend in Jerusalem to further celebrate

David’s wedding (which had taken place the previous night).

       203.      While Howard was driving, Howard’s father, plaintiff Eugene Goldstein, was

seated in the front passenger seat and Howard’s mother, plaintiff Lorraine Goldstein, was seated

behind her husband. Howard’s wife, plaintiff Michal Goldstein (now Michal Honickman), was

seated in the rear seat of the car, on the driver’s side, behind Howard.

       204.      At some point, as Howard was driving, Eugene noticed two individuals on the side

of the road near the Yabroud underpass. As the Goldsteins’ car approached, the men turned and




                                                 25
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 28 of 124



began rapidly firing their guns at the Goldsteins’ vehicle.

       205.    Howard was struck by at least one bullet and ultimately succumbed to his injuries

while driving and slumped over the steering wheel.

       206.    At some point in time, while Howard was slumped over the steering wheel, Eugene

grabbed the steering wheel and maintained control of the car until it crashed and rolled over,

approximately eight miles south of where the HAMAS gunmen had opened fire.

       207.    Plaintiff Michal Honickman, formerly known as Mindy Goldstein, is a citizen of

the United States and a resident of the State of Nevada. She is the widow of Howard Goldstein.

       208.    Plaintiff Michal Honickman brings this action both individually and as the legal

representative of the Estate of Howard Goldstein.

       209.    As a result of the attack, Michal was injured when glass fragments from the

vehicle’s windows struck her body, including her left eye. She also sustained hairline fractures of

her ribs, bruising, and physical trauma when the vehicle eventually crashed and rolled over.

       210.    Michal has sustained severe physical injuries and experienced severe mental

anguish and extreme emotional distress having been present during the attack, and witnessed the

death of her husband, whom she had to bury and mourn with her children, while her in-laws were

hospitalized, all in the context of what had been, prior to that point, a joyous family occasion

celebrating her son David’s wedding.

       211.    As a result of Howard’s death, plaintiff Michal Honickman experienced emotional

pain and suffering, loss of her husband’s society, companionship, comfort, advice and counsel,

and severe mental anguish and extreme emotional distress.

       212.    Plaintiff Eugene Goldstein is a citizen of the United States and a resident of the

State of Florida. He is the father of Howard Goldstein.




                                                 26
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 29 of 124



       213.    Plaintiff Lorraine Goldstein is a citizen of the United States and a resident of the

State of Florida. She is the mother of Howard Goldstein.

       214.    Eugene suffered multiple gunshot wounds in the attack.

       215.    His shoulder blade was fractured, and his lungs were punctured. Shrapnel was

lodged in his lung, liver and kidneys. A bullet remains stuck between his heart and his lungs.

       216.    These injuries, which caused Eugene immense pain, were life threatening. Indeed

it was highly improbable that Eugene would survive them.

       217.    Eugene’s injuries necessitated insertion of a trocar, a metal cylinder used to drain

blood from his chest and facilitate insertion of a chest tube to maintain suction and permit healing

of the lung. Insertions of a trocar and chest tube are extremely painful.

       218.    Eugene was unable to see Lorraine for approximately five days after the attack and

did not have specific information about her condition. His uncertainty about Lorraine’s condition

caused him immense anxiety.

       219.    As a result of the attack, Eugene still has several bullet fragments lodged in his

chest. He must undergo an x-ray every three months to monitor their condition.

       220.    As a result of the attack, Eugene has difficulty falling and remaining asleep. He

constantly replays the image of the attack in his mind.

       221.    He blames himself for taking his wife to attend his grandson’s wedding.

       222.    Lorraine was shot multiple times and severely injured in the attack.

       223.    She suffered a bullet fragment injury from a bullet that clipped the tip of her nose

and her left upper lip, and lodged in her mouth. The fragment necessitated intubation and

emergency surgery, during which the fragment was removed from an area less than an inch from

the carotid sheath, which contains the carotid artery and the internal jugular vein. Disruption of




                                                 27
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 30 of 124



either of them would have resulted in her death.

         224.   At one point during her hospital stay, Lorraine was placed on life support.

         225.   Lorraine’s chewing muscles were severely and permanently damaged, and she

could not eat solid food for approximately one year.

         226.   She required physiotherapy that encompassed use of a ratchet-like device designed

to force her jaws open. It was very painful.

         227.   Lorraine still requires physical therapy because the scar tissue in her jaw prevents

her from fully opening it. She still suffers from pain and headaches.

         228.   She requires bridges (partials) because she lost her teeth as a result of the attack,

and extensive periodontal and dental work.

         229.   She was also struck by bullets that entered her body through her left shoulder and

right lower neck. The resulting wounds caused her excruciating pain at the time.

         230.   She must also deal with the harmful effects of shrapnel that lodged throughout her

body, especially in her back. She also suffered a shattered nose and septum as well as various

lacerations.

         231.   Lorraine had difficulty sleeping because she thought about Howard’s death.

         232.   Eugene and Lorraine remained in Jerusalem at Hadassah Hospital for

approximately 10 days and were unable to return home when they were discharged from the

hospital because the airline did not give Eugene permission to fly due to the poor condition of his

lungs.

         233.   As a result of the attack, plaintiffs Eugene Goldstein and Lorraine Goldstein have

sustained severe physical injuries and experienced severe mental anguish and extreme emotional

distress.




                                                 28
          Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 31 of 124



          234.   As a result of Howard’s death, plaintiffs Eugene Goldstein and Lorraine Goldstein

have experienced emotional pain and suffering, loss of their son’s society, companionship,

comfort, advice and counsel, and severe mental anguish and extreme emotional distress.

          235.   The Goldstein family in New York received notice of the attack from two cousins,

one of whom saw images of the attack on the internet and sent an instant message to the immediate

family.

          236.   The Goldstein family sat in horror as they watched images of the attack on the

Cable News Network (CNN) shortly after the attack occurred. The video broadcast showed

Howard, Eugene and Lorraine being pulled from the wreckage of the car Howard had been driving.

          237.   Lorraine’s face and hair were covered with blood.

          238.   Plaintiff Richard Goldstein is a citizen of the United States and a resident of the

State of New York. He is a son of plaintiffs Eugene Goldstein and Lorraine Goldstein and a brother

of Howard Goldstein.

          239.   After learning of the attack, plaintiff Richard Goldstein telephoned his sister,

plaintiff Barbara Goldstein Ingardia, at work and asked her to return home immediately. When she

arrived, her extended family was present. They shared the tragic news that their parents and brother

had been attacked. Barbara then made plans to fly to Israel to care for her parents.

          240.   As a result of the attack, plaintiff Richard Goldstein has experienced severe mental

anguish and extreme emotional distress caused by the life-threatening injuries to both of his

parents.

          241.   As a result of Howard’s death, Richard Goldstein has experienced emotional pain

and suffering, loss of his brother’s society, companionship, comfort, advice and counsel, and

severe mental anguish and extreme emotional distress.




                                                  29
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 32 of 124



       242.    Plaintiff Barbara Goldstein Ingardia is a citizen of the United States and a resident

of the State of New York. She is the daughter of plaintiffs Eugene Goldstein and Lorraine

Goldstein and the sister of Howard Goldstein.

       243.    Barbara left her job and her immediate family behind and traveled to Israel to care

for her parents in Israel during their recovery and to mourn the loss of her brother.

       244.    In addition to grappling with the devastating emotional consequences of her

brother’s death, she was forced to deal with the uncertainty of her mother’s recovery due to her

severe injuries and age.

       245.    Barbara blames herself for encouraging her parents to attend the wedding.

       246.    As a result of the attack, plaintiff Barbara Goldstein Ingardia has experienced

severe mental anguish and extreme emotional distress caused by the life-threatening injuries to

both of her parents.

       247.    As a result of Howard’s death, Barbara Goldstein Ingardia has experienced

emotional pain and suffering, loss of her brother’s society, companionship, comfort, advice and

counsel, and severe mental anguish and extreme emotional distress.

       248.    Plaintiff Michael Goldstein is a citizen of the United States and a resident of the

State of Florida. He is a son of plaintiffs Eugene Goldstein and Lorraine Goldstein and a brother

of Howard Goldstein.

       249.    As a result of the attack, plaintiff Michael Goldstein has experienced severe mental

anguish and extreme emotional distress caused by the life-threatening injuries to both of his

parents.

       250.    As a result of Howard’s death, Michael Goldstein has experienced emotional pain

and suffering, loss of his brother’s society, companionship, comfort, advice and counsel, and




                                                 30
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 33 of 124



severe mental anguish and extreme emotional distress.

       251.    Plaintiff Chana Freedman is a citizen of the United States and a resident of the State

of New York. She is the daughter of Howard Goldstein and plaintiff Michal Goldstein.

       252.    Chana and her husband were eating lunch at a mall in Jerusalem when they learned

that her father and grandparents had been involved in what they believed to be an automobile

accident.

       253.    Chana’s husband received a telephone call from his father informing the couple to

go directly to Hadassah Hospital.

       254.    When Chana and her husband arrived at Hadassah Hospital, a social worker

informed them that Chana’s father had died in the terrorist attack.

       255.    Chana informed her brother, David and his wife, who had just been married, of the

attack when they arrived at the hospital.

       256.    As a result of Howard’s death, plaintiff Chana Freedman has experienced emotional

pain and suffering, loss of her father’s society, companionship, comfort, advice and counsel, and

severe mental anguish and extreme emotional distress.

       257.    Plaintiff David Goldstein is a citizen of the United States and a resident of the State

of Israel. He is the son of Howard Goldstein and plaintiff Michal Goldstein.

       258.    At the time of the attack, David was at a Jerusalem hotel awaiting his family’s

arrival for weekend wedding celebrations when he was notified that something had happened to

his parents and his grandparents, and that they had been taken to Hadassah Hospital.

       259.    Upon his arrival at the hospital, David learned that his father had been killed in the

attack, and that his mother and grandparents had been injured.

       260.    Prior to the attack, David frequently spoke to his father, including on the morning




                                                 31
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 34 of 124



of his father’s death.

        261.    As a result of Howard’s death, plaintiff David Goldstein has experienced emotional

pain and suffering, loss of his father’s society, companionship, comfort, advice and counsel, and

severe mental anguish and extreme emotional distress.

                  THE JAFFA ROAD BUS #14A BOMBING – JUNE 11, 2003

        262.    At approximately 5:30 p.m. on June 11, 2003, Abd el-Mu’ati Shabana, a HAMAS

suicide bomber dressed as an ultra-Orthodox Jew, boarded Egged Bus #14A at the Mahane Yehuda

market. A short while later, as the bus drove down Jaffa Road near the Davidka Square, Shabana

detonated his bomb, destroying the bus and killing 17 people and injuring over 100 more, including

dozens of bystanders.

The Beer Family

        263.    Alan Beer was a citizen of the United States when he died.

        264.    Alan was on the bus returning from a condolence call to his friend’s family when

Shabana detonated his explosives and killed him.

        265.    Alan’s friend, to whom he had paid the condolence call, learned of the bus bombing

and telephoned plaintiff Harry Leonard Beer, Alan’s brother, in Cleveland, Ohio. Harry quickly

telephoned his sister, plaintiff Phyllis Maisel, whose son happened to have been in the area of the

bombing earlier. Harry then telephoned his other sister, plaintiff Estelle Caroll, and informed her

of the terrorist attack.

        266.    After speaking with her brother, Phyllis asked her son to return to the crime scene

and identify Alan’s body. Thereafter, Alan’s mother, Anna Beer, Harry Leonard Beer and Estelle

Caroll flew to Israel to attend Alan’s funeral.

        267.    Plaintiff Harry Leonard Beer is a citizen of the United States and a resident of the




                                                  32
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 35 of 124



State of Ohio. He is the brother of Alan Beer.

        268.    Anna Beer was a citizen of the United States and a resident of the State of Ohio

when she died in 2016. She was the mother of Alan Beer.

        269.    Plaintiff Harry Leonard Beer brings this action in his individual capacity, as the

executor of the Estate of Alan Beer, and as the executor of the Estate of Anna Beer.

        270.    As a result of Alan’s death, plaintiff Harry Leonard Beer has experienced emotional

pain and suffering, loss of his brother’s society, companionship, comfort, advice and counsel, and

severe mental anguish and extreme emotional distress.

        271.    Plaintiff Estelle Caroll is a citizen of the United States and a resident of the State

of Virginia. She is a sister of Alan Beer.

        272.    Plaintiff Phyllis Maisel is a citizen of the United States and a resident of the State

of Israel. She is a sister of Alan Beer.

        273.    As a result of Alan’s death, plaintiffs Estelle Caroll and Phyllis Maisel have

experienced emotional pain and suffering, loss of their brother’s society, companionship, comfort,

advice and counsel, and severe mental anguish and extreme emotional distress.

        274.    As a result of Alan’s death, (before her death) Anna Beer experienced emotional

pain and suffering, loss of her youngest child’s society, companionship, comfort, advice and

counsel, and severe mental anguish and extreme emotional distress.

The Singer Family

        275.    Plaintiff Sarri Anne Singer is a citizen of the United States and a resident of the

State of New Jersey.

        276.    On June 11, 2003, Sarri boarded Bus #14A in Jerusalem to meet a friend for dinner.

The bus was filled with rush hour commuters. Eventually she was able to take a seat near the




                                                 33
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 36 of 124



window.

        277.      Shortly thereafter, Shabana detonated his bomb only two to three seats away from

where Sarri was seated, killing everyone sitting and standing near her and causing the roof of the

bus to fall in.

        278.      When the explosives were detonated, Sarri felt a shockwave across her face.

        279.      Sarri was struck with shrapnel from the explosion that entered her shoulder and

broke her clavicle.

        280.      After the blast, she was unable to open her left eye, and her right eye was extremely

restricted.

        281.      Sarri was unable to hear because of a loud ringing in her ears, and her eardrums

ruptured.

        282.      Barely walking, Sarri was taken to an ambulance.

        283.      She incurred wounds to her face and legs resulting in scarring. She underwent

physical therapy and additional surgery.

        284.      Shrapnel lodged in Sarri’s gums, moving her teeth and necessitating dental work.

        285.      As a result of the attack, plaintiff Sarri Anne Singer has sustained severe physical

injuries and experienced severe mental anguish and extreme emotional distress.

        286.      Plaintiff Judith Singer is a citizen of the United States and a resident of the State of

New Jersey. She is the mother of plaintiff Sarri Anne Singer.

        287.      Judith learned of the attack when her son telephoned her at work.

        288.      As a result of the attack, plaintiff Judith Singer has experienced severe mental

anguish and extreme emotional distress.

        289.      Plaintiff Eric M. Singer is a citizen of the United States and a resident of the State




                                                    34
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 37 of 124



of New Jersey. He is the brother of plaintiff Sarri Anne Singer.

        290.     Eric first learned of the attack when he received an emergency phone call from his

father while Eric was having lunch in a restaurant. After speaking with his mother and notifying

his office, Eric and his father flew that night to Israel to be with Sarri.

        291.     As a result of the attack, plaintiff Eric M. Singer has experienced severe mental

anguish and extreme emotional distress.

        292.     Plaintiff Robert Singer is a citizen of the United States and a resident of the State

of New Jersey. He is the father of plaintiff Sarri Anne Singer.

        293.     After learning of the attack, Robert traveled to Israel to be with his daughter.

        294.     As a result of the attack, plaintiff Robert Singer has experienced severe mental

anguish and extreme emotional distress.

               THE MIKE’S PLACE BOMBING IN TEL AVIV - APRIL 30, 2003

        295.     On April 30, 2003, Asif Muhammad Hanif, a HAMAS suicide bomber, entered

Mike’s Place, a popular bar situated on the seashore a few hundred meters from the American

Embassy in Tel Aviv, and detonated his explosives,1 killing three people and injuring more than

50 others.

        296.     Hanif, 22, was a British citizen who entered Israel through Jordan.

The Rozenstein Family

        297.     Plaintiff Daniel Rozenstein is a citizen of the United States and a resident of the

State of Florida.

        298.     Daniel was seated inside the bar and decided to step outside when he crossed paths

with Hanif in the entryway just as he detonated his explosives.


1
          There were actually two bombers, both British nationals sent by HAMAS, but the explosive belt on one of
the terrorists failed to detonate.


                                                       35
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 38 of 124



       299.    As a result of the attack, Daniel suffered second degree burns over his entire body.

       300.    After three days in the hospital, Daniel slipped into a coma that lasted eight days.

He was placed on a respirator and other life supports for two weeks. He remained in the hospital

for one and a half months, followed by eight months of treatment as an outpatient.

       301.    As a result of the bombing, he sustained severe hearing loss. He has also suffered a

permanent loss of balance, is often dizzy, and frequently experiences black outs.

       302.    Daniel’s right hand no longer functions properly as it is covered in scar tissue. Much

of the rest of his body is also covered by scar tissue, including his back.

       303.    He also suffers from memory loss, nightmares and post-traumatic stress disorder

(“PTSD”). He has also sustained a traumatic brain injury (“TBI”) and undergone psychological

counseling.

       304.    As a result of the attack, plaintiff Daniel Rozenstein has sustained severe physical

injuries and experienced severe mental anguish and extreme emotional distress.

       305.    Plaintiff Julia Rozenstein Schon is a citizen of the United States and a resident of

the State of Florida. She is the sister of plaintiff Daniel Rozenstein.

       306.    On the night of the bombing, Julia received a telephone call from the father of

Daniel’s girlfriend. She was told there had been an attack and that no one was certain of Daniel’s

condition.

       307.    When Julia first saw Daniel she did not recognize him because his body was

horribly burned and his face and ears were swollen beyond recognition. She spent many days in

the hospital, and was there when her brother slipped into a coma.

       308.    Julia still suffers nightmares and is traumatized by the attack. Even now, she calls

her brother compulsively to be certain that he is not in danger.




                                                  36
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 39 of 124



        309.   As a result of the attack, plaintiff Julia Rozenstein Schon has experienced severe

mental anguish and extreme emotional distress.

        310.   Plaintiff Alexander Rozenstein is a citizen of the United States and a resident of the

State of Israel. He is the father of plaintiff Daniel Rozenstein.

        311.   As a result of the attack, plaintiff Alexander Rozenstein has experienced severe

mental anguish and extreme emotional distress.

        312.   Plaintiff Esther Rozenstein is a citizen of the United States and a resident of the

State of Florida. She is the mother of plaintiff Daniel Rozenstein.

        313.   As a result of the attack, plaintiff Esther Rozenstein has experienced severe mental

anguish and extreme emotional distress.

                 THE SHOOTING ATTACK ON ROUTE #60 - JANUARY 29, 2003

        314.   On January 29, 2003, Farah Hamad and Yasser Hamad, two HAMAS terrorists,

perpetrated a shooting attack on Route #60, seriously injuring one person.

The Steinmetz Family

        315.   Plaintiff Jacob Steinmetz is a citizen of the United States and a resident of the State

of Israel.

        316.   Plaintiff Deborah Steinmetz is a citizen of the United States and a resident of the

State of Israel. She is the wife of Jacob Steinmetz.

        317.   On January 29, 2003, Jacob was driving their car on Route #60. Deborah sat in the

front passenger seat of the car. As their car made a turn, two masked men began shooting at the

car. The entire driver’s side of the car was riddled with bullets.

        318.   Two bullets hit Jacob. One shot passed through the car seat and lodged in his leg.

The other shot entered his arm and passed through his elbow.




                                                  37
          Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 40 of 124



          319.   After arriving at the hospital and over the next few days, Jacob underwent a number

of operations.

          320.   Four metal spikes were surgically inserted into his bone in order to restrain his arm.

The spikes remained there for three months and severely restricted his arm’s mobility. Additional

plastic surgeries were performed. Jacob received a skin graft from his leg to cover the opening in

his elbow.

          321.   In 2003, Jacob underwent a complete elbow replacement that included the

placement of a large metal hinge.

          322.   Presently, the use of Jacob’s arm is greatly limited.

          323.   As a result of the attack, plaintiff Jacob Steinmetz has sustained severe physical

injuries and experienced severe mental anguish and extreme emotional distress.

          324.   As a result of being in the car that terrorists targeted, plaintiff Deborah Steinmetz

has experienced great anxiety and severe mental anguish and extreme emotional distress.

          325.   Amichai Steinmetz was a citizen of the United States when he died. He is the son

of plaintiffs Jacob Steinmetz and Deborah Steinmetz.

          326.   In 2009, Amichai Steinmetz went missing while on a trip to India. In December

2015, an Israeli court declared Amichai Steinmetz dead.

          327.   Following the attack and prior to his declaration of death in 2015, Amichai

Steinmetz experienced severe mental anguish and extreme emotional distress as a result of the

attack.

          328.   Plaintiffs Jacob Steinmetz and Deborah Steinmetz bring this action both

individually and on behalf of the Estate of Amichai Steinmetz.

          329.   Plaintiff Nava Steinmetz is a citizen of the United States and a resident of the State




                                                  38
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 41 of 124



of Israel. She is a daughter of plaintiffs Jacob Steinmetz and Deborah Steinmetz.

       330.    Plaintiff Orit Mayerson is a citizen of the United States and a resident of the State

of Israel. She is a daughter of plaintiffs Jacob Steinmetz and Deborah Steinmetz.

       331.    Plaintiff Netanel Steinmetz is a citizen of the United States and a resident of the

State of Israel. He is the son of plaintiffs Jacob Steinmetz and Deborah Steinmetz.

       332.    As a result of the attack, plaintiffs Nava Steinmetz, Orit Mayerson and Netanel

Steinmetz have experienced severe mental anguish and extreme emotional distress.

         THE HEBREW UNIVERSITY CAFETERIA BOMBING - JULY 31, 2002

       333.    On the afternoon of July 31, 2002, approximately 100 people were eating lunch in

the Frank Sinatra cafeteria on the Hebrew University Mount Scopus campus in Jerusalem. A bomb

planted inside the cafeteria exploded, killing nine people, five of them Americans, and injuring as

many as 70 others.

       334.    HAMAS planned and perpetrated the attack.

       335.    Mohammad Odeh, a HAMAS operative, who worked at Hebrew University as a

painter for an Israeli contractor, set off the bomb.

The Coulter Family

       336.    Janis Ruth Coulter was a citizen of the United States when she died.

       337.    Janis was in the cafeteria when the bomb exploded, killing her and injuring her

friend who was eating lunch with her.

       338.    Janis was the assistant director of the Hebrew University’s Rothenberg

International School’s Office of Academic Affairs in New York.

       339.    She had arrived in Israel just one day before the bombing to accompany a group of

19 American students who were scheduled to attend classes at the university.




                                                  39
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 42 of 124



       340.    Robert L. Coulter, Sr. was a citizen of the United States and a resident of the State

of Massachusetts when he died in 2018. He was the father of Janis Ruth Coulter.

       341.    Robert L. Coulter, Sr.’s widow, Ann Coulter, brings this action on behalf of the

Estate of Robert L. Coulter, Sr.

       342.    Robert L. Coulter, Sr. was watching television news that morning in the United

States when he saw a “news flash” about a bombing at Hebrew University. Thinking he saw Janis’s

head lying in an unsealed body bag, he called his other daughter, plaintiff Dianne Coulter Miller.

Dianne called Janis’s boss in New York and both Robert L. Coulter, Sr. and his daughter

desperately tried to reach Janis on her cell phone without success.

       343.    Plaintiff Dianne Coulter Miller is a citizen of the United States and a resident of the

State of Massachusetts. She is the sister of Janis Ruth Coulter.

       344.    Plaintiff Robert L. Coulter, Jr. is a citizen of the United States and a resident of the

State of Massachusetts. He is the brother of Janis Ruth Coulter.

       345.    Plaintiffs Dianne Coulter Miller and Robert L. Coulter, Jr. bring actions

individually and as the legal representatives of the Estate of Janis Ruth Coulter.

       346.    Robert L. Coulter, Jr. had heard about the bombing on the radio on the way to work,

but did not make the connection with Janis’s visit to Israel. His father called him at work about the

possibility that Janis was at the cafeteria, whereupon he drove immediately to his father’s house.

       347.    Initially, Janis was identified only through the numbers on her medical alert

bracelet. Eventually, the family retrieved Janis’s dental records and faxed them to Israel where,

later that evening, her death was confirmed.

       348.    As a result of Janis’s death, (before his own death in 2018) plaintiff Robert L.

Coulter, Sr. experienced emotional pain and suffering, loss of his daughter’s society,




                                                 40
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 43 of 124



companionship, comfort, advice and counsel, and severe mental anguish and extreme emotional

distress.

        349.   As a result of Janis’s death, plaintiff Dianne Coulter Miller has experienced

emotional pain and suffering, loss of her sister’s society, companionship, comfort, advice and

counsel, and severe mental anguish and extreme emotional distress.

        350.   As a result of Janis’s death, plaintiff Robert L. Coulter, Jr. has experienced

emotional pain and suffering, loss of his sister’s society, companionship, comfort, advice and

counsel, and severe mental anguish and extreme emotional distress.

The Carter Family

        351.   Diane Leslie Carter was a citizen of the United States when she died.

        352.   She was eating lunch in the cafeteria when the bomb exploded.

        353.   Diane was killed by the bomb blast.

        354.   In 1990, Diane had moved to Israel, where she worked as a librarian and archivist

in the National Library on the Givat Ram campus of Hebrew University in Jerusalem.

        355.   Plaintiff Larry Carter is a citizen of the United States and a resident of the State of

North Carolina. He is the father of Diane Leslie Carter.

        356.   Plaintiff Larry Carter brings this action both individually and as the Administrator

of the Estate of Diane Leslie Carter.

        357.   Larry learned of his daughter’s death from a journalist who called his home. After

conferring with his ex-wife, Diane’s mother, Larry was able to confirm that his daughter was, in

fact, killed in the bombing.

        358.   Plaintiff Shaun Choffel is a citizen of the United States and a resident of the State

of Virginia. She is the sister of Diane Leslie Carter.




                                                 41
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 44 of 124



         359.   Both Larry and Shaun learned that Diane had been buried in Israel only moments

before the funeral was scheduled to begin. Neither of them had the opportunity to say goodbye to

Diane.

         360.   As a result of Diane’s death, plaintiff Larry Carter has experienced emotional pain

and suffering, loss of his daughter’s society, companionship, comfort, advice and counsel, and

severe mental anguish and extreme emotional distress.

         361.   As a result of Diane’s death, plaintiff Shaun Choffel has experienced emotional

pain and suffering, loss of her sister’s society, companionship, comfort, advice and counsel, and

severe mental anguish and extreme emotional distress.

The Blutstein Family

         362.   Benjamin Blutstein was a citizen of the United States when he died.

         363.   He was killed by the bomb blast.

         364.   Benjamin had come to Israel for a two-year study program at the Pardes Institute

in Jerusalem to become a teacher.

         365.   Benjamin was scheduled to fly home to visit his family in Pennsylvania the day

after he was murdered by HAMAS terrorists. Instead, two days after the attack, Benjamin’s body

was flown home and buried in his parents’ hometown of Harrisburg, Pennsylvania.

         366.   Plaintiff Richard Blutstein is a citizen of the United States and a resident of the

State of Pennsylvania. He is the father of Benjamin Blutstein.

         367.   Plaintiff Katherine Baker is a citizen of the United States and a resident of the State

of Pennsylvania. She is the mother of Benjamin Blutstein.

         368.   Plaintiffs Richard Blutstein and Katherine Baker bring this action both individually

and on behalf of the Estate of Benjamin Blutstein.




                                                  42
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 45 of 124



       369.    Plaintiff Rebekah Blutstein is a citizen of the United States and a resident of the

State of Pennsylvania. She is the sister of Benjamin Blutstein.

       370.    Richard first heard about the attack while watching Fox News early in the morning.

He then called Benjamin’s cell phone and heard a recording. Shortly thereafter he contacted friends

in Israel to ascertain if Benjamin had been injured in the attack. After a friend made a positive

identification, Richard received a call confirming Benjamin’s death.

       371.    Katherine learned that her son had been killed in the attack when she received a call

from a representative of the American Embassy. She was too overwhelmed with emotion to call

her husband. Richard received the call from a neighbor, who was with Katherine. Katherine then

composed herself enough to inform her daughter, Rebekah.

       372.    As a result of Benjamin’s death, plaintiff Richard Blutstein has experienced

emotional pain and suffering, loss of his son’s society, companionship, comfort, advice and

counsel, and severe mental anguish and extreme emotional distress.

       373.    As a result of Benjamin’s death, plaintiff Katherine Baker has experienced

emotional pain and suffering, loss of her son’s society, companionship, comfort, advice and

counsel, and severe mental anguish and extreme emotional distress.

       374.    Although Rebekah’s father had informed her about the attack, Rebekah learned that

her brother had died when her mother telephoned her.

       375.    As a result of Benjamin’s death, plaintiff Rebekah Blutstein has experienced

emotional pain and suffering, loss of her brother’s society, companionship, comfort, protection,

advice and counsel, and severe mental anguish and extreme emotional distress.

The Gritz Family

       376.    David Gritz was a citizen of the United States when he died.




                                                43
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 46 of 124



       377.    He was killed by the bomb blast.

       378.    He had come to Israel for the first time with the help of a scholarship from the

Hartman Institute to study philosophy and write his doctorate.

       379.    He died after being in Israel for only two weeks.

       380.    Norman Gritz was a citizen of the United States and a resident of France when he

died in 2005. He was the father of David Gritz.

       381.    Plaintiff Nevenka Gritz is a citizen and resident of France. She is the mother of

David Gritz, who was an only child.

       382.    Plaintiff Nevenka Gritz brings this action individually and on behalf of the Estate

of David Gritz and the Estate of Norman Gritz.

       383.    Nevenka and Norman were in New York on the day their son was murdered.

Friends informed them that television reports had indicated that a bombing had taken place at

Hebrew University. Nevenka and her husband attempted to reach their son by phone, and then

called the Israeli consulate in the hopes of getting more information. Eventually, confirmation

came from the Israeli consulate that David’s body had been identified.

       384.    As a result of David’s death, (prior to his death) Norman Gritz experienced

emotional pain and suffering, loss of his only child’s society, companionship, comfort, advice and

counsel, and severe mental anguish and extreme emotional distress.

       385.    As a result of David’s death, plaintiff Nevenka Gritz has experienced emotional

pain and suffering, loss of her only child’s society, companionship, comfort, advice and counsel,

and severe mental anguish and extreme emotional distress.

                    THE SHEFFIELD CLUB BOMBING - MAY 7, 2002

       386.    On the night of May 7, 2002, Muhammad Muammar, a HAMAS suicide bomber,




                                                  44
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 47 of 124



entered the third floor of a building in Rishon Letzion’s new industrial area that housed the

Sheffield Club (social club) and detonated a bomb.

        387.   Fifteen people were killed in the attack, and more than 50 others were injured.

The Bablar Family

        388.   Esther Bablar was a citizen of the United States when she died.

        389.   Although Esther initially survived the attack, she died of her injuries the following

morning.

        390.   Plaintiff Jacqueline Chambers is a citizen of the United States and a resident of the

State of Florida. She is a daughter of Esther Bablar.

        391.   Plaintiff Levana Cohen is a citizen of the United States and a resident of the State

of Florida. She is a daughter of Esther Bablar.

        392.   Plaintiffs Jacqueline Chambers and Levana Cohen bring actions both individually

and on behalf of the Estate of Esther Bablar.

        393.   Esther had spent the month before the bombing in Florida with her youngest

daughter, Levana, who had just given birth to Esther’s grandchild. The day before the attack she

had been in New York visiting her other daughter, Jacqueline.

        394.   On the day of the attack, a member of the Bablar family in Israel contacted Esther’s

sister, Sarah Elyakim, in New York and told her the tragic news. Eventually Esther’s daughters

were notified and they quickly made arrangements to fly to Israel with their aunt and uncle.

        395.   As a result of Esther’s death, plaintiff Jacqueline Chambers has experienced

emotional pain and suffering, and the loss of her mother’s society, companionship, comfort,

protection, attention, advice and counsel, and severe mental anguish and extreme emotional

distress.




                                                  45
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 48 of 124



       396.    As a result of Esther’s death, plaintiff Levana Cohen has experienced emotional

pain and suffering, and the loss of her mother’s society, companionship, comfort, protection,

attention, advice and counsel, and severe mental anguish and extreme emotional distress.

       397.    Plaintiff Eli Cohen is a citizen of the United States and a resident of the State of

New York. He is the son of Esther Bablar. He is being represented by his legal guardian, plaintiff

Jacqueline Chambers.

       398.    As a result of Esther’s death, plaintiff Eli Cohen has experienced emotional pain

and suffering, and the loss of his mother’s society, companionship, comfort, protection, attention,

advice and counsel, and severe mental anguish and extreme emotional distress.

       399.    Plaintiff Sarah Elyakim is a citizen of the United States and a resident of the State

of New York. She is the sister of Esther Bablar.

       400.    As a result of Esther’s death, plaintiff Sarah Elyakim has experienced emotional

pain and suffering and the loss of her sister’s companionship, advice and counsel, and severe

mental anguish and extreme emotional distress.

       401.    Plaintiff Joseph Cohen is a citizen of the United States and a resident of the State

of New York. He is the brother of Esther Bablar.

       402.    As a result of Esther’s death, plaintiff Joseph Cohen has experienced emotional

pain and suffering and the loss of his sister’s companionship, advice and counsel, and severe

mental anguish and extreme emotional distress.

        THE PASSOVER MASSACRE AT THE PARK HOTEL IN NETENAYA -
                           MARCH 27, 2002

       403.    On March 27, 2002, Abd al-Baset Odeh, a HAMAS suicide bomber, blew himself

up near the dining area within the Park Hotel in Netanya. It was the night of the Jewish holiday of

Passover, and the hotel dining room was filled with hundreds of people celebrating the Passover



                                                 46
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 49 of 124



Seder with their families and friends.

        404.    Thirty people were killed and 140 others were injured.

The Rogen Family

        405.    Hannah Rogen was a citizen of the United States when she died.

        406.    Hannah was severely wounded in the attack and died of her wounds six days later,

on April 2, 2002.

        407.    Hannah was a Holocaust survivor who immigrated to the United States after World

War II. She was attending the Passover Seder at the invitation of a childhood friend, Yulia Talmi,

who was also killed in the attack.

        408.    Greta Geller is the great niece of Hannah Rogen. She, along with Ilana Dorfman,

Rephael Kitsis, and Tova Guttman, bring this action as the court-appointed administrators of the

Estate of Hannah Rogen.

               THE BEN YEHUDA STREET BOMBINGS - DECEMBER 1, 2001

        409.    In the late evening of December 1, 2001, Nabil Halabiya and Osama Bahar, two

HAMAS suicide bombers, blew themselves up in a pedestrian mall in Jerusalem as part of a

coordinated double suicide bombing. A large quantity of nails was packed with each of the bombs.

Eleven people were killed and 188 others were injured.

        410.    After the two suicide bombings, HAMAS terrorists detonated a car bomb near the

site of the first two attacks.

The Spetner Family

        411.    Plaintiff Temima Spetner is a citizen of the United States and a resident of the State

of Missouri.

        412.    On December 1, 2001, Temima was walking down the pedestrian mall in Jerusalem




                                                 47
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 50 of 124



when one of the suicide bombers detonated his explosives approximately 10 yards from where she

was standing. Temima was hit by shrapnel on her arms and fingers. While bleeding heavily, and

with clothing soaked in blood, Temima began running up the walkway and fell. Someone came to

her aid and attempted to stop the bleeding until ambulances arrived at the scene.

       413.    As a result of the attack, the femoral artery of Temima’s right leg was severed. She

was transported to the hospital where doctors operated on her to stop the bleeding. The following

day it was determined that Temima’s intestines had been punctured by shrapnel, and she underwent

another operation to repair her intestines and remove most of the shrapnel. Temima remained in

the hospital for ten days.

       414.    There is significant scarring on Temima’s thigh and the lower part of her abdomen.

She continues to experience numbness in her right leg and is highly sensitive to pain in that leg.

       415.    Temima has also experienced psychological trauma as a result of the attack.

       416.    As a result of the attack, plaintiff Temima Spetner has sustained severe physical

injuries and experienced severe mental anguish and extreme emotional distress.

The Kirschenbaum Family

       417.    Plaintiff Jason Kirschenbaum is a citizen of the United States and a resident of the

State of New York.

       418.    Jason Kirschenbaum was on Ben Yehuda Street in Jerusalem on December 1, 2001

when the double suicide bombing took place.

       419.    As a result of the first explosion, Jason was thrown to the ground. As he stood up,

the second suicide bomber detonated his explosives and Jason was thrown in another direction.

       420.    When he got up the second time he felt numb. Jason saw his left arm dangling back

and forth and held it because he thought it might fall off. When he began running up the street for




                                                48
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 51 of 124



help, he felt a sharp pain in his leg and back.

       421.    Jason was taken to Shaare Zedek Hospital in Jerusalem where he underwent two

operations. Surgeons removed 8 metal bolts from his arm, leg and back.

       422.    Jason had to undergo several months of physical therapy for the injuries to his arm,

leg and back. He still has scarring where he was branded by the bolts that penetrated his skin.

       423.    As a result of the attack, plaintiff Jason Kirschenbaum has sustained severe physical

injuries and experienced severe mental anguish and extreme emotional distress.

       424.    Plaintiff Isabelle Kirschenbaum is a citizen of the United States and a resident of

the State of New York. She is the mother of plaintiff Jason Kirschenbaum.

       425.    Martin Kirschenbaum was a citizen of the United States and a resident of the State

of New York when he died in 2008. He was the father of plaintiff Jason Kirschenbaum.

       426.    Plaintiff Isabelle Kirschenbaum brings this action both individually and as the

representative of the Estate of Martin Kirschenbaum.

       427.    Isabelle first learned of the double suicide bombing while watching CNN. After

numerous telephone conversations, she ultimately received a telephone call confirming that Jason

had been injured in the attack.

       428.    As a result of the attack, plaintiff Isabelle Kirschenbaum has experienced severe

mental anguish and extreme emotional distress.

       429.    Martin Kirschenbaum learned of the attack when he and Isabelle Kirschenbaum

received the telephone call confirming that Jason had been injured in the attack.

       430.    As a result of the attack, (before his death) Martin Kirschenbaum experienced

severe mental anguish and extreme emotional distress.

       431.    Plaintiff Joshua Kirschenbaum is a citizen of the United States and a resident of the




                                                  49
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 52 of 124



State of New York. He is a brother of plaintiff Jason Kirschenbaum.

        432.   Joshua Kirschenbaum was in Tel Aviv at the time of the attack. Martin and Isabelle

telephoned Joshua to advise him that his brother Jason had been injured in the attack in Jerusalem.

Hours later, he finally located his brother in the emergency room at Shaare Zedek Hospital in

Jerusalem.

        433.   As a result of the attack, plaintiff Joshua Kirschenbaum has experienced severe

mental anguish and extreme emotional distress.

        434.   Plaintiff Shoshana Burgett is a citizen of the United States and a resident of the

State of New York. She is a sister of plaintiff Jason Kirschenbaum.

        435.   As a result of the attack, plaintiff Shoshana Burgett has experienced severe mental

anguish and extreme emotional distress.

        436.   Plaintiff David Kirschenbaum is a citizen of the United States and a resident of the

State of New York. He is a brother of plaintiff Jason Kirschenbaum.

        437.   As a result of the attack, plaintiff David Kirschenbaum has experienced severe

mental anguish and extreme emotional distress.

        438.   Plaintiff Danielle Teitelbaum is a citizen of the United States and a resident of the

State of New Jersey. She is a sister of plaintiff Jason Kirschenbaum.

        439.   As a result of the attack, plaintiff Danielle Teitelbaum has experienced severe

mental anguish and extreme emotional distress.

The Miller Family

        440.   Plaintiff Netanel Miller is a citizen of the United States and a resident of the State

of Israel.




                                                 50
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 53 of 124



       441.    On the evening of December 1, 2001, Netanel was with friends enjoying ice cream

at the pedestrian mall in Jerusalem when one of the HAMAS suicide bombers detonated his

explosives a few feet away from him. Netanel had his back to the bomber, and he was thrown to

the ground as a result of the explosion.

       442.    A nut from the bomb lodged in the upper part of Netanel’s leg. Other nuts hit him

in the back, resulting in burns. His hand and knee were also injured.

       443.    Netanel, in shock and unaware of the severity of his injuries, attempted to walk

home, limping on his injured leg. After walking approximately 30 feet, Netanel collapsed on the

sidewalk. Only then did Netanel become aware of how much he was bleeding from the wounds he

had sustained in his leg. His attempts to use pressure to stop the bleeding were unsuccessful.

       444.    Some people stopped to help him, and Netanel handed them his cellular phone,

asking them to call his parents, Arie and Chaya Miller. Netanel spoke to his father, who had been

an Army medic. Arie asked Netanel specific questions about his condition and insisted Netanel

seek medical help.

       445.    Ultimately, Netanel was taken to Shaare Zedek Hospital by ambulance. Since

Netanel had lost a great deal of blood, he was given a blood transfusion.

       446.    Arie came to the hospital. Chaya arrived an hour or so later after she found someone

to stay with her other children at her home.

       447.    Netanel was admitted to the hospital and remained there for two days.

       448.    Netanel endured the pain in his leg for nearly two years.

       449.    The pain in Netanel’s leg became so severe that he had to undergo surgery, and the

nut that was still lodged in his leg was finally removed.

       450.    It is still painful for Netanel to hike, an activity that he has always enjoyed.




                                                 51
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 54 of 124



        451.    Netanel had flashbacks as a result of the attack and underwent psychological

counseling.

        452.    As a result of the attack, plaintiff Netanel Miller has sustained severe physical

injuries and experienced severe mental anguish and extreme emotional distress.

        453.    Plaintiff Chaya Miller is a citizen of the United States and a resident of the State of

Israel. She is the mother of plaintiff Netanel Miller.

        454.    Plaintiff Arie Miller is a citizen and resident of the State of Israel. He is the father

of plaintiff Netanel Miller.

        455.    Upon learning that their son Netanel had been injured in the bombing, and knowing

he has suffered greatly as a result of those injuries, plaintiffs Chaya Miller and Arie Miller

experienced great concern and anxiety.

        456.    As a result of the attack, plaintiffs Chaya Miller and Arie Miller have experienced

severe mental anguish and extreme emotional distress.

        457.    Plaintiff Aharon Miller is a citizen of the United States and a resident of the State

of Israel. He is the brother of plaintiff Netanel Miller.

        458.    Plaintiff Shani Miller is a citizen of the United States and a resident of the State of

Israel. She is a sister of plaintiff Netanel Miller.

        459.    Plaintiff Adiya Miller is a citizen of the United States and a resident of the State of

Israel. She is a sister of plaintiff Netanel Miller.

        460.    As a result of the attack, plaintiffs Aharon Miller, Shani Miller, and Adiya Miller

have experienced severe mental anguish and extreme emotional distress.

The Steinherz Family

        461.    Plaintiff Altea Steinherz is a citizen of the United States and a resident of the State




                                                   52
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 55 of 124



of Israel.

        462.    Plaintiff Jonathan Steinherz is a citizen of the United States and a resident of the

State of Israel. He was the husband of plaintiff Altea Steinherz at the time of the attack.

        463.    On December 1, 2001, Altea Steinherz was nine months pregnant. Altea and

Jonathan were at a restaurant in Jerusalem when they heard a bomb explode nearby.

        464.    Altea wanted to get home to her daughter who was with a babysitter at the time, but

she knew that bombings in Israel were frequently followed by a second bomb intended to kill or

injure people fleeing from the first bomb.

        465.    A short time later Altea and Jonathan heard another bomb explode. Believing the

bombing was now over, they began to walk home.

        466.    While walking in the street, they saw a crazed-looking man run past them. Altea

thought that he might have been the bomber and insisted that the couple turn around, away from

the direction from which the man had come.

        467.    As they began to run, Altea fell twice, and she broke her left arm as a result of one

of the falls.

        468.    She experienced severe pain in her arm after the attack and continued to experience

pain for many years afterward.

        469.    Altea was afraid that, as a result of her falls, her pregnancy might have terminated.

        470.    Until her son, Yitzhak, was born 11 days later, Altea and Jonathan feared for the

condition of their unborn child.

        471.    Altea became less self-confident and more fearful generally. She had sleeping

difficulties and underwent psychological counseling.

        472.    Jonathan felt tremendous anxiety and stress, had significant difficulty sleeping, and




                                                 53
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 56 of 124



underwent psychological counseling.

       473.    As a result of the attack, plaintiff Altea Steinherz sustained physical injuries and

experienced severe mental anguish and extreme emotional distress.

       474.    As a result of the attack, plaintiff Jonathan Steinherz experienced severe mental

anguish and extreme emotional distress.

       475.    Plaintiff Temima Steinherz is a citizen of the United States and a resident of the

State of Israel. She is the daughter of plaintiffs Altea Steinherz and Jonathan Steinherz.

       476.    As a result of the attack, plaintiff Temima Steinherz has experienced severe mental

anguish and extreme emotional distress.

       477.    Plaintiff Joseph Ginzberg is a citizen of the United States and a resident of the State

of New York. He is the father of plaintiff Altea Steinherz.

       478.    As a result of the attack, plaintiff Joseph Ginzberg has experienced severe mental

anguish and extreme emotional distress.

       479.    Plaintiff Peter Steinherz is a citizen of the United States and a resident of the State

of New York. He is the father of plaintiff Jonathan Steinherz.

       480.    Plaintiff Laurel Steinherz is a citizen of the United States and a resident of the State

of New York. She is the mother of plaintiff Jonathan Steinherz.

       481.    As a result of the attack, plaintiffs Peter Steinherz and Laurel Steinherz have

experienced severe mental anguish and extreme emotional distress.

                 PATT JUNCTION BUS # 32A BOMBING - JUNE 18, 2002

       482.    At approximately 7:50 a.m. on June 18, 2002, Muhamad al-Ghoul, a HAMAS

terrorist, boarded Bus #32A in the Gilo neighborhood of Jerusalem. Almost immediately, he

detonated the large bomb which he carried in a bag stuffed with ball bearings. The blast destroyed




                                                 54
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 57 of 124



the front half of the bus, packed with people on their way to work and a group of schoolchildren.

Nineteen people were killed and 74 others were injured.

The Aluf Family

        483.   Boaz Aluf was a citizen of the State of Israel when he died.

        484.   Plaintiff Gila Aluf is a citizen of the United States and a resident of the State of

Israel. She is the widow of Boaz Aluf.

        485.   On the morning of June 18, 2002, Boaz was going to work in the computer

department of Jerusalem’s Bank Tefahot, and was on Bus #32A when al-Ghoul detonated the

bomb.

        486.   As a result of Boaz’s death, plaintiff Gila Aluf has experienced emotional pain and

suffering, and the loss of her husband’s society, companionship, comfort, protection, attention,

advice and counsel, and severe mental anguish and extreme emotional distress.

                        THE ARIEL BOMBING – OCTOBER 27, 2002

        487.   On October 27, 2002, Muhammad Kazid Faysal al-Bustami, a HAMAS suicide

bomber, detonated his explosives at a gas station outside of the West Bank town of Ariel, killing

three Israeli soldiers and injuring 15 other people.

The Zahavy Family

        488.   Plaintiff Yitzhak Zahavy is a citizen of the United States and a resident of the State

of Israel.

        489.   On October 27, 2002, Yitzhak was waiting with his platoon for a transport pickup

at a gas station at the entrance to the town of Ariel.

        490.   Al-Bustami emerged and stood approximately 50 meters from Yitzhak.

        491.   Three of Yitzhak’s fellow soldiers were killed as they (and Yitzhak) unsuccessfully




                                                  55
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 58 of 124



attempted to stop al-Bustami before he detonated his explosives.

       492.    Yitzhak suffered shrapnel injuries to his leg and was taken to Meir Hospital.

       493.    The emotional effects of the attack continue to affect Yitzhak to the present day.

       494.    As a result of the attack, plaintiff Yitzhak Zahavy has sustained physical injuries

and experienced severe mental anguish and extreme emotional distress.

       495.    Plaintiff Julie Zahavy is a citizen of the United States and a resident of the State of

Israel. She is the wife of plaintiff Yitzhak Zahavy.

       496.    As a result of the attack, plaintiff Julie Zahavy has experienced severe mental

anguish and extreme emotional distress.

       497.    Plaintiff Tzvee Zahavy is a citizen of the United States and a resident of the State

of New Jersey. He is the father of plaintiff Yitzhak Zahavy.

       498.    Plaintiff Bernice Zahavy is a citizen of the United States and a resident of the State

of New Jersey. She is the mother of plaintiff Yitzhak Zahavy.

       499.    As a result of the attack, plaintiffs Tzvee Zahavy and Bernice Zahavy have

experienced severe mental anguish and extreme emotional distress.

       B.      The Defendant

       500.    Cairo Amman Bank (“CAB”) was founded in 1960 under the regulations of the

Central Bank of Jordan and commenced its banking services on July 1, 1960. It operates 89

branches in Jordan, and its headquarters is located on Arar Street in Wadi Sarqra, PO Box 950661,

Amman, Jordan, 11195. CAB is a publicly traded company, listed on the Amman Stock Exchange.

       501.    CAB first opened a branch in the Palestinian Territories in 1961. It returned to the

Palestinian Territories in 1986 and has since expanded to 21 branches there. CAB’s head office in

the Palestinian Territories is located on National College Street in Ramallah.




                                                 56
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 59 of 124



        502.     CAB is one of the largest banks both in Jordan and in the Palestinian Territories.

As of June 30, 2018, it has over 2.8 billion Jordanian Dinars (approximately $4 billion USD) in

total assets, and over 1,000 employees.

        503.     At all times relevant to this Complaint, CAB’s Chairman of the Board of Directors

was Khaled Sabih al-Masri. He served as Chairman from July 1999 to October 2012. Although he

is still a board member, Al-Masri was replaced as Chairman by Yazid Adnan Mustafa al-Mufti in

2012. Al-Mufti previously served as CAB’s General Manager from 1989 until October 2004.

                                       FACTUAL ALLEGATIONS

I.      THE ISLAMIC RESISTANCE MOVEMENT (HAMAS)

        A.        HAMAS’s Founding

        504.     Several prominent terrorist organizations operate in Palestinian-controlled territory,

most notably the Islamic Resistance Movement (“HAMAS”), a radical Islamist terrorist

organization committed to the globalization of Islam through violent “jihad” (holy war).

        505.     HAMAS2 was established in the Gaza Strip on December 10, 1987, shortly

following the outbreak of the First Intifada.3 HAMAS announced its founding in an “official”

communique on December 14, 1987.

        506.     It represented the culmination of approximately 15 years of preparation and

organization building, led by Ahmed Yassin (also known as “Sheikh Yassin”), the unrivaled leader

of what had been the Muslim Brotherhood Movement in the Gaza Strip.4


2
          Hamas is an acronym of the Arabic “Harakat al-Muqawama al-Islamiya” – Islamic Resistance Movement –
but its name also means, in Arabic, enthusiasm, courage, zeal for battle.

3
        The term “First Intifada,” as used herein, relates to the violent conflict that broke out in December 1987
between the Palestinians and Israel.

4
         The Muslim Brotherhood Movement was established in Egypt in 1928 by Hassan al-Banna, and was
dedicated to the goal of fighting Western influences on Muslim society; ensuring the adherence of Muslims to Islamic
law (Shari’a); and following the rectification of Muslim society, to eventually establish an Islamic state that would


                                                        57
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 60 of 124



         507.     Although Yassin had been confined to a wheelchair throughout his adult life, he

worked unceasingly for the establishment of HAMAS in the Gaza Strip. When HAMAS was

established in Yassin’s home in 1987, the Islamic Resistance Movement already had a defined

ideology and a group of pre-existing institutions in Gaza, such as Al-Mujama Al-Islami (the Islamic

Center), Al-Jam’iya Al-Islamiya (the Islamic Society) and the Islamic University of Gaza that were

the flagship institutions of the Brotherhood’s civilian social framework – the da’wa.5

         508.     On December 10, 1987, after violence broke out in the Jabalia Refugee Camp,

Sheikh Yassin invited six of the leaders of the Muslim Brotherhood in Gaza to his home.

         509.     There the group decided on the establishment of HAMAS, an organization that

would combine terror against Israel with its da’wa (civilian infrastructure) through organizations

such as Al-Mujama Al-Islami and Al-Jam’iya Al-Islamiya.

         510.     In 1973, Yassin established Al-Mujama Al-Islami, and in 1976 he set up Al-Jam’iya

Al-Islamiya. The two organizations, which were based in Gaza, quickly expanded and established

branches throughout the Gaza Strip, but neither of them was, at the time of its establishment,

openly militant.

         511.     Initially the two organizations placed their emphasis primarily on mosques. The

mosques were not meant solely for prayer. They also served as centers for religious, social,

educational, cultural and political activity, while enjoying a measure of ex-territorial immunity

that derived from their religious nature.6


expand its rule over the world by means of jihad and a call to join Islam.
5
          The word “da’wa,” whose basic meaning in Arabic is “the call to the believers to shelter beneath the faith –
return to the faith,” is used herein to refer to “the civilian infrastructure of HAMAS.”
6
         Yassin and the Muslim Brotherhood did not accept the secular Palestine Liberation Organization (PLO) as
the sole official representative of the Palestinian people, and subsequently began challenging representatives of PLO
organizations in the trade unions, charitable societies, and universities in Gaza and the West Bank. In Gaza, where
Yassin’s leadership was more aggressive, the Muslim Brotherhood gradually seized control of the Islamic University


                                                          58
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 61 of 124



        512.    The seven participants in the December 1987 meeting are considered by HAMAS

to be its founding fathers. All of them were members of the Muslim Brotherhood, and six of them

were members of Al-Mujama Al-Islami: Sheikh Yassin, Salah Shehada, Abd al-Aziz al-Rantisi,

Muhammad Sham’a, Ibrahim al-Yazuri, Isa al-Nashar, and Abd al-Fatah Dukhan.

        513.    At the meeting, Sheikh Yassin was recognized as the supreme leader of HAMAS.

        514.    His six associates in founding the movement became HAMAS’s leadership council,

and each of them was appointed to head a particular region: Salah Shehada was responsible for the

northern Gaza Strip; Muhammad Sham’a was put in charge of Shati Refugee Camp; Ibrahim al-

Yazuri was put in charge of Gaza City; Abd al-Fatah Dukhan was put in charge of the central

camps (four refugee camps); Isa al-Nashar was put in charge of the Rafah area; and Abd al-Aziz

al-Rantisi was responsible for the Khan Yunis area.

        515.    All seven of HAMAS’s founders were members of the da’wa apparatus (the

civilian infrastructure of the Muslim Brotherhood and later of HAMAS).

        516.    In a February 1, 1988 article titled “Islam’s Voice in Gaza,” Time Magazine wrote

about Sheikh Yassin and his obvious connection to the Islamic Center in Gaza:

                Sheik Yasin, 51, is a spiritual leader of the Islamic fundamentalist
                movement in Gaza and thus a prime force behind the religious gale that has
                recently fanned the flames of unrest in the occupied territories. Born in the
                Arab village of Al-Joura, Sheik Yasin has been paralyzed below the neck
                since age 15 as the result of an athletic accident. He resides with his wife
                and eleven children in a one-story house in Gaza City. Family members
                assist him in dressing and eating. Despite his handicap, he runs al-Mujama
                al-Islami, a community organization that builds mosques and sponsors
                cultural activities.




of Gaza (founded in 1978) by removing the university’s PLO-affiliated administration and replacing them with
members of Al-Mujama Al-Islami.


                                                    59
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 62 of 124



         517.     In a January 1998 interview with a HAMAS publication, Dr. Ibrahim al-Yazuri,

one of the aforementioned founders of HAMAS, offered a telling description of HAMAS’s

philosophy regarding charitable giving:

                  Everyone knows that the Islamic Resistance Movement, HAMAS, is a
                  Palestinian Jihad movement that strives for the liberation of all Palestine,
                  from the (Mediterranean) sea to the river (Jordan), from the north to the
                  south, from the tyrannical Israeli occupation, and this is the main part of its
                  concern. Social work is carried out in support of this aim, and it is
                  considered to be part of the HAMAS movement’s strategy . . . The HAMAS
                  movement is concerned about its individuals and its elements, especially
                  those who engage in the blessed jihad against the hateful Israeli occupation,
                  since they are subjected to detention or martyrdom. The movement takes
                  care of their families and their children and provides them with as much
                  material and moral support as it can. This is one of the fundamental truths
                  of Islamic work and thus represents the duties of the Islamic state . . . The
                  movement provides this aid through the support and assistance it gives to
                  the zakat (Islamic alms-giving) committees and the Islamic associations and
                  institutions in the Gaza Strip.

         518.     Years before the establishment of HAMAS, Sheikh Yassin and the Muslim

Brotherhood in the Gaza Strip had developed the civilian infrastructure (such as Al-Mujama Al-

Islami, Al-Jam’iya Al-Islamiya and other organizations) which would soon form the backbone and

recruiting grounds for HAMAS’s operational terrorist wing, later named the Izz al-Din al-Qassam

Brigades (herein, the “Qassam Brigades”).7

         519.     In January 1988, HAMAS also established a branch in the West Bank, through

three of the leaders of the Muslim Brotherhood there: Jamil Hamami, Hamed Bitawi and Sa’id

Bilal. As in the past, HAMAS relied on the infrastructure of the Muslim Brotherhood in the West

Bank to build the backbone of command of HAMAS and its resources, while absorbing key zakat




7
          In 1984, the Israel Defense Forces (“IDF”) uncovered a weapons cache in Yassin’s house. He was later
arrested and convicted of “establishing a radical Islamic religious organization whose aim was to destroy the State of
Israel and replace it with a religious Islamic state.” He was sentenced to 13 years in prison but released a year later as
part of the “Jibril Prisoners’ Exchange” on May 21, 1985.


                                                           60
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 63 of 124



committees8 and charitable societies in the West Bank, and where necessary, also setting up new

institutions.

        B.       HAMAS in the 1990s

        520.     In December 1992, as a result of increased terrorist activity perpetrated by

HAMAS, the government of Israel decided to deport over 350 HAMAS operatives to Lebanon.

        521.     This step later became known as the Marj al-Zuhur Deportation because the

deported Islamists were delivered to a check point by that name in southern Lebanon during their

brief exile.

        522.     The Marj al-Zuhur Deportation was a formative moment in the history of HAMAS

and its mythology. It established its status as a leading Palestinian political organization and

brought it to prominence in the Arab and international arenas.

        523.     HAMAS members who were deported to Marj al-Zuhur have a special place in

HAMAS’s history, quickly became the most iconic members of HAMAS, and later emerged as

key leaders of the HAMAS da’wa.

        524.     The international community condemned the deportations and at the end of 1993

the Israeli Supreme Court ultimately determined that the Government of Israel was compelled to

return the Marj al-Zuhur deportees.

        525.     The saga transformed the Marj al-Zuhur deportees into celebrities within the

Palestinian arena. The HAMAS deportees later became the backbone of HAMAS leadership.

        526.     On September 13, 1993, President Clinton hosted the signing ceremony in

Washington, D.C. for the so-called “Oslo Accords” presented by Yasser Arafat, Chairman of the




8
         The term “Zakat” means tithing in Arabic. This is one of the five Pillars of Islam (Arkan al-Islam). It is
loosely used herein to refer to a form of semi-compulsory charitable giving.


                                                        61
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 64 of 124



Palestine Liberation Organization (“PLO”) and Israel’s Prime Minister Yitzhak Rabin and his

foreign minister, Shimon Peres.

        527.    The agreement had several significant aspects, including the withdrawal of Israeli

forces from parts of the West Bank and Gaza, and the creation of the Palestinian National Authority

(“PA”), headed by PLO Chairman Yasser Arafat.

        528.    Under the agreement, the newly-formed PA would perform the services previously

provided by Israel, including education, health, social welfare, taxation and tourism.

        529.    The agreement also included Letters of Mutual Recognition, whereby the Israeli

government recognized the PLO as the legitimate representative of the Palestinian people, while

the PLO recognized the right of Israel to exist and purportedly renounced terrorism, violence and

the desire for the destruction of Israel.

        530.    The Oslo Accords were not, however, universally accepted by the Palestinian

factions.

        531.    HAMAS rejected the agreement for its recognition of Israel’s right to exist.

        532.    For HAMAS, the Oslo Accords contradicted its most valued tenet – the destruction

of the State of Israel and the creation of an Islamic state in all of what is today Israel, the West

Bank, and the Gaza Strip.

        533.    Accordingly, HAMAS pursued a three-pronged strategy in the early 1990s.

        534.    First, it upgraded its terror apparatus, improving the capabilities of its Qassam

Brigades and beginning to perfect its bomb-making skills.

        535.    Second, it intensified its efforts to subvert existing social welfare institutions –

particularly in the West Bank – in order to systematically gain control of pre-existing zakat

committees and other religious and social institutions that would ultimately compete with the PA




                                                 62
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 65 of 124



for the “hearts and minds” of the Palestinian public in Gaza, the West Bank and even the

Palestinian refugee camps in Jordan and Lebanon.

       536.     Third, it accelerated the development of its world-wide fundraising network. While

HAMAS enjoyed support from wealthy patrons in the Persian Gulf even in its prior incarnation as

Sheikh Yassin’s Muslim Brotherhood “branch” in Gaza, the Oslo Accords galvanized the

Brotherhood’s supporters in Europe, Africa and even the United States.

       537.     HAMAS fundraisers and other operatives located abroad are key members of the

HAMAS da’wa, closely tied to da’wa and Qassam Brigades operatives on the ground in the West

Bank and the Gaza Strip, as well as to HAMAS political leaders in Turkey, Qatar and elsewhere

in the Middle East.

       C.       HAMAS’s European Fundraising Network

       538.     CBSP (“Comité de Bienfaisance et de Secours aux Palestiniens”), HAMAS’s

primary fundraiser in France, was founded in 1990 and registered there as a non-profit

organization.

       539.     The Israeli government declared CBSP an illegal organization on May 6, 1997

because of its affiliation with HAMAS and the support it gave to HAMAS-affiliated institutions,

and subsequently designated it a terrorist organization on January 17, 1998.

       540.     Interpal, HAMAS’s most important fundraising organization in the United

Kingdom, was formally registered as a charity with the U.K. Charity Commission on August 11,

1994 and named at the time as the “Palestinian Relief and Development Fund.”

       541.     As early as 1995, published reports in Israel linked Interpal to HAMAS.

       542.     The Israeli government declared Interpal an illegal organization on May 6, 1997

because of its affiliation with HAMAS and the support it gave to HAMAS-affiliated institutions,




                                                63
          Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 66 of 124



and subsequently designated it a terrorist organization on January 17, 1998.

          543.   On August 22, 2003, following the aforementioned deadly suicide bombing aboard

Bus #2 in Jerusalem on August 19, 2003 in which Tehilla Nathansen was killed and multiple

members of her family severely injured, the U.S. Treasury Department designated five HAMAS-

related charities and six senior HAMAS leaders as Specially Designated Global Terrorists

(“SDGTs”).

          544.   The five HAMAS-related institutions that were designated as SDGTs were:

                 1.     Comité de Bienfaisance et de Secours aux Palestiniens (“CBSP”),
                        of France.

                 2.     Association de Secours Palestinien (“ASP”), of Switzerland (an
                        organization affiliated with CBSP).

                 3.     Palestinian Relief and Development           Fund,     or   Interpal,
                        headquartered in the United Kingdom.

                 4.     Palestinian Association in Austria (“PVOE”).

                 5.     Sanabil Association for Relief and Development based in Lebanon.

          545.   The U.S. Treasury Press Release announcing the designations of these five entities

stated:

                 The United States government has credible evidence that the following five
                 organizations are part of a web of charities raising funds on behalf of
                 HAMAS and using humanitarians [sic] purposes as a cover for acts that
                 support HAMAS. Funds are generated by, and flow through, these
                 organizations on behalf of HAMAS.

          546.   According to the U.S. Treasury Department, “Interpal, headquartered in the UK,

has been a principal charity utilized to hide the flow of money to HAMAS. Reporting indicates it

is the conduit through which money flows to HAMAS from other charities, e.g., the Al Aqsa

Foundation (designated under Executive Order 13224 on May 29th) and oversees the activities of

other charities. … Reporting indicates that Interpal is the fundraising coordinator of HAMAS. This



                                                 64
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 67 of 124



role is of the type that includes supervising activities of charities, developing new charities in

targeted areas, instructing how funds should be transferred from one charity to another, and even

determining public relations policy.”

       547.    According to the U.S. Treasury Department, “CBSP and ASP are primary

fundraisers for HAMAS in France and Switzerland, respectively. Founded in France in 1990,

CBSP acts in collaboration with more than a dozen humanitarian organizations based in different

towns in the West Bank and Gaza and in Palestinian refugee camps in Jordan and Lebanon. ASP,

a subsidiary of CBSP, was founded in Switzerland in 1994. The group has collected large amounts

of money from mosques and Islamic centers, which it then transfers to sub-organizations of

HAMAS. Khalid Al-Shuli is the president of CBSP and ASP.”

       548.    According to the U.S. Treasury Department, “PVOE is controlled by the leader of

HAMAS in Austria. The money is targeted to support members of HAMAS and is funneled

through other charities in Lebanon, the West Bank and Gaza or other areas of the Middle East in

order to ensure the transfer of funds is undetected and reaches its intended recipients. PVOE is part

of the HAMAS network of charitable organizations that includes the Al Aqsa Foundation.”

       549.    The six senior HAMAS leaders who were designated SDGTs were:

               1.      Sheikh Yassin, the founder and spiritual leader of HAMAS.

               2.      Imad Khalil Al-Alami, a member of HAMAS’s Political Bureau in
                       Damascus, Syria.

               3.      Osama Hamdan, a senior HAMAS leader in Lebanon.

               4.      Khalid Mishal, (then) head of HAMAS’s Political Bureau and
                       Executive Committee in Damascus, Syria.

               5.      Moussa Abu Marzouk, (then) Deputy Chief of HAMAS’s Political
                       Bureau in Syria.

               6.      Abd al-Aziz al-Rantisi, (then) HAMAS leader in Gaza reporting to
                       Sheikh Yassin.


                                                 65
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 68 of 124



        550.    In September 2003, the Central Bank of Jordan asked local Jordanian banks,

including CAB, to freeze the accounts of the individuals and entities designated by the U.S.

government on August 22, 2003. The freezing order was subsequently rescinded because of the

political uproar and public opposition in Jordan to the freezing of HAMAS accounts.

        551.    The Al-Aqsa Foundation, a major fundraiser for HAMAS, had branch offices in

Holland, Belgium, Denmark, Sweden, Yemen, South Africa, and Pakistan. It was founded in July

1991 in Germany (Al-Aqsa e.V.), where it was headquartered, and which served as its main branch

until at least 2002.

        552.    On May 6, 1997, Israel outlawed the Al-Aqsa Foundation (including its German

headquarters). On January 17, 1998, Israel declared it a terrorist organization.

        553.    In July 2002, the German government closed the offices of the Al Aqsa Foundation

located in Germany.

        554.    According to the closure order, “AL-AQSA e.V. advocates, supports and calls for

violence as means to achieve political, religious or other goals by awakening or at least

strengthening the willingness of third parties to use violence as a political, religious or other

means.”

        555.    With respect to Al Aqsa’s connection to HAMAS, the order stated: “AL-AQSA

e.V. already financially supported the predecessor organization of HAMAS, the “Al-Mujama Al-

Islamiya” and to this day forwards at least some of the incoming donations to HAMAS. The funds

resulting from collections of donations are flowing either directly to HAMAS or via seemingly

unsuspected aid organizations.”

        556.    On May 29, 2003, the U.S. Treasury Department designated all branches of the Al

Aqsa Foundation as an SDGT pursuant to Executive Order 13224.




                                                66
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 69 of 124



       557.   The U.S. Treasury Press Release announcing Al Aqsa’s designation stated:

              Al Aqsa is a critical part of Hamas’ terrorist support infrastructure. Through
              its headquarters in Germany and branch offices in the Netherlands,
              Denmark, Belgium, Sweden, Pakistan, South Africa, Yemen and elsewhere,
              Al Aqsa funnels money collected for charitable purposes to Hamas
              terrorists.

              Other nations, including the Netherlands, Germany, Denmark, Britain,
              Luxembourg and Switzerland, have also taken action against the Al-Aqsa
              Foundation.

       558.   CAB processed multiple transfers originating from Al Aqsa Foundation branches

to CAB account holders before the Al Aqsa Foundation was designated an SDGT.

       559.   These included transfers from Al Aqsa Foundation in Germany to the Jenin Zakat

Committee in February 2000 and February 2001 and from the Al Aqsa Foundation in Sweden in

February and April 2003 (in USD).

       560.   CAB also processed multiple transfers originating from Al Aqsa Foundation

branches to CAB account holders after the Al Aqsa Foundation was designated an SDGT.

       561.   These included transfers from the Al Aqsa Foundation in Sweden to the Jenin Zakat

Committee in July 2003 and May 2004.

       562.   CAB also processed multiple transfers from the Al Aqsa Foundation in Sweden to

WAMY-Gaza Office both before and after the Al Aqsa Foundation was designated an SDGT.

       D.     HAMAS in the United States – the Holy Land Foundation

       563.   In October 1993, less than one month after the public signing of the Oslo Accords,

approximately 20 members of the so-called “Palestine Committee” in the United States gathered

together in Philadelphia, Pennsylvania to discuss how to help HAMAS oppose the Oslo Accords.

       564.   The Federal Bureau of Investigation (FBI) learned of the Philadelphia meeting and

obtained a warrant from the Foreign Intelligence Surveillance Court to monitor the meeting, which




                                               67
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 70 of 124



lasted approximately three days.

       565.   During the meeting, the participants discussed the problems that the Oslo Accords

presented for those opposed to co-existence with Israel, and attendees were admonished not to

mention “HAMAS,” but rather to refer to it as “Samah,” which is HAMAS spelled backwards.

       566.   Attendees agreed that they must operate under an ostensible banner of apolitical

humanitarian exercise in order to continue supporting HAMAS’s vital social recruitment effort by

financially supporting institutions, organizations and programs in the West Bank and Gaza aligned

with HAMAS.

       567.   Attendees identified several charitable societies and zakat committees as “ours.”

       568.   The Holy Land Foundation emerged from the Philadelphia meeting as the

preeminent HAMAS fundraising organization in the United States.

       569.   However, neither the HLF nor the U.S.-based Palestinian Committee worked in

isolation on behalf of HAMAS.

       570.   While HLF was a vital member of HAMAS’s international network of

organizations dedicated to financing HAMAS’s agenda, it also worked in conjunction with

organizations in Europe and throughout the world to funnel money to the same closed network of

HAMAS-controlled charitable societies and zakat committees in the West Bank and Gaza.

       571.   These other organizations – including The Palestinian Relief and Development

Fund (Interpal) in Great Britain, the Al-Aqsa Foundation in Germany, Belgium and Holland, the

Comité de Bienfaisance et de Secours aux Palestiniens (CBSP), in France, the Association de

Secours Palestinien (ASP) in Switzerland; the Palestinian Association in Austria (PVOE); and the

Palestinian Branch of the World Organization of Muslim Youth (WAMY) – all operated in similar

ways, sharing fundraising techniques, projects, and connections to HAMAS leaders.




                                               68
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 71 of 124



       572.    On March 15, 1996, a feature article in The New York Times detailed the financing

of HAMAS by so-called charitable organizations. The article specifically discussed Israeli

government claims that Richardson, Texas-based HLF was a “key fundraising operation” for

HAMAS and discussed HAMAS’s social infrastructure.

       573.    On May 20, 1996, The Jerusalem Post reported on proceedings in the High Court

of Justice resulting in a decree by the Israeli government shutting down the Holy Land

Foundation’s Jerusalem office and authorizing confiscation of all of its property.

       574.    On May 6, 1997, the government of Israel designated HLF a HAMAS organization

and declared that HLF “deals in the practice of transferring monies to families of HAMAS

activists, who carried out deadly attacks ….”

       575.    During the relevant period, CAB maintained one or more U.S. dollar-denominated

accounts for HLF, including Account No. 4883 (001 000 4883 03 2111 813) in Hebron.

       576.    At the beginning of 2001, the aforementioned account had a balance in U.S. dollars

in excess of $600,000.

       577.    Most of the funds HLF transferred from the United States to its offices in the

Palestinian Territories were transferred through CAB’s correspondent account with CITIBANK

in New York.

       578.    These transfers were often in very large amounts.

       579.    For example, a transfer from HLF in Richardson, Texas to HLF in the Palestinian

Territories dated December 28, 1999 for $190,743 was sent via “CITIBANK NY FFC CAIRO

AMMAN BANK AMMAN JORDAN BR WADI SAKRAH FCC CAIRO AMMAN BANK

ISLAMIC TRANSACTION HEBRON ISRAEL.”

       580.    For example, a transfer from HLF in Richardson, Texas to HLF in the Palestinian




                                                69
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 72 of 124



Territories dated January 16, 2001 for $229,283 was sent via “CITIBANK NY FFC CAIRO

AMMAN BANK AMMAN JORDAN BR WADI SAKRAH FCC CAIRO AMMAN BANK

ISLAMIC TRANSACTION HEBRON ISRAEL.” A copy is attached as Exhibit A.

       E.      The United States Designates the Holy Land Foundation an SDGT in 2001

       581.    On December 4, 2001, HLF, a U.S.-based organization which provided millions of

dollars to HAMAS, was designated an SDGT pursuant to Executive Order 13224 and a Specially

Designated Terrorist (“SDT”) under Executive Order 12947. HLF’s designation was accompanied

by an order blocking all its assets.

       582.    The U.S. Treasury Press Release announcing HLF’s designation stated, inter alia:

                  The Holy Land Foundation for Relief and Development, headquartered
                   in Richardson, Texas, raises millions of dollars annually that is used by
                   HAMAS. Last year, Holy Land raised over $13 million.

                  Holy Land supports HAMAS activities through direct fund transfers to
                   its offices in the West Bank and Gaza that are affiliated with HAMAS
                   and transfers of funds to Islamic charity committees (“zakat
                   committees”) and other charitable organizations that are part of
                   HAMAS or controlled by HAMAS members.

                  Mousa Mohamed Abu Marzook, a political leader of HAMAS, provided
                   substantial funds to the Holy Land Foundation in the early 1990s. In
                   1994, Marzook (who was named a Specially Designated Terrorist by the
                   Treasury Department in 1995) designated the Holy Land Foundation as
                   the primary fund-raising entity for HAMAS in the United States.

       583.    These findings were in part the product of an extensive FBI investigation that

culminated in what has come to be referred to as the “Watson Memorandum” – named after former

FBI official Dale Watson.

       584.    The FBI report observed:

               It is the FBI’s analysis that the zakat committees receiving HLFRD [Holy
               Land Foundation] financial support are controlled by HAMAS. GOI
               [Government of Israel] analysis has also determined that HAMAS activists
               have been elected or appointed to senior leadership positions on these zakat


                                                70
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 73 of 124



                 committees. GOI analysis, as well as open source reporting, has identified
                 that the civilian population is aware that the services being provided by the
                 zakat committees, whether it’s the distribution of food, medical services or
                 other social services, are being provided by HAMAS.

        585.     These large deposits were then often translated into checks written by HLF in the

Palestinian Territories to HAMAS da’wa institutions in smaller increments.

        586.     For example, HLF drafted separate checks on September 30, 2000 to three branches

of Al-Jam’iya Al-Islamiya (the Islamic Society) for $2,906, $6,615 and $2,687.

        587.     In 2004, HLF and several of its directors were indicted on criminal charges that it

was illegally providing material support to HAMAS.

        588.     In 2008, after a jury trial, HLF and five of its former directors were found guilty of

illegally transferring more than $12 million to HAMAS.

        F.       HAMAS Da’wa Organizations in Jordan and Lebanon

        589.     The UAE-based Human Appeal International (HAI) was established in 1984 under

the name Human Appeal Committee; its name was changed to Human Appeal International in

1998.

        590.     HAI claims to operate in more than 10 countries and is a charter member of the

original Union of Good’s 101 Days Campaign.9

        591.     A 1996 CIA report identifies HAI as having acted as a fundraiser for HAMAS.

        592.     HAI transferred funds to various HAMAS-controlled organizations in the

Palestinian Territories, but also distributed substantial sums on behalf of HAMAS to select

Palestinians living in Jordan.




9
         The Union of Good evolved into HAMAS’s premier fundraising umbrella organization chaired by Sheikh
Yusuf al-Qaradawi. At its inception, it began as a short-term fundraising campaign called the “101 Days” campaign.


                                                       71
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 74 of 124



       593.   HAMAS also established a network of organizations in Lebanon, first among them

Sanabil Association for Relief and Development which received millions of dollars in support

from Interpal, the Holy Land Foundation (HLF) and other parts of HAMAS’s fundraising network

and then channeled those funds to the Palestinian refugee camps in Lebanon to build HAMAS’s

support within that community.

       594.   According to a declassified December 2001 FBI memorandum, “FBI analysis

linked Sanabil, Interpal and the HLF.”

       G.     Early Media Coverage of the HAMAS Da’wa

       595.   As early as 1994, HAMAS fundraising activities were discussed in the media. For

example, an article in The New York Times reported:

              HAMAS funding of all its activities is estimated by the Israelis at about $30
              million a year. It comes from money collected by associations operating
              largely abroad but with ties to the international Muslim Brotherhood
              network. Money is also collected from Islamic and Arab communities in the
              United States and in Britain, the Netherlands and other Western European
              locations.

       596.   Also, on April 14, 1994, The Globe and Mail (Canada) published an article titled,

“Hamas evolves from political to military group” by Patrick Martin.

       597.   The article explained HAMAS’s da’wa in straightforward terms and identified its

best-known institution:

              The group calling itself Hamas first made its appearance in 1987, at the start
              of the Palestinian uprising known as the intifada. Concentrated in Gaza,
              where Islamic tendencies have always been strong, it stemmed from a
              decade-old Islamic movement known as the Mujamma …. Sheik Yassin,
              who had been an activist in the older Muslim Brotherhood, had been
              imprisoned by the Egyptians during the regime of Gamal Nasser. When the
              Mujamma turned into the political movement Hamas, Sheik Yassin was
              again arrested, this time by the Israelis.




                                               72
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 75 of 124



       598.    In 1996, The New York Times reported on HAMAS’s intensified fundraising for

its network of institutions:

               Israeli, Palestinian and Western intelligence officials say Jordan is a major
               conduit for much of the Hamas budget, estimated at $70 million a year,
               nearly all of it for the social service network of mosques, hospitals, schools
               and other institutions that form the movement’s political base in the West
               Bank and Gaza Strip.

               …Jordan, intelligence officials say, is a major path through which money
               reaches the Hamas network of mosques and charities. Jordanian intelligence
               reports indicate that much of the money is coming from the Persian Gulf
               emirates and Saudi Arabia.

       599.    On September 17, 1997, the British-based Mideast Mirror published an article

titled “How to break the deadlock: Armed resistance, plus Arab pressure on U.S.”

       600.    The article quotes the Arabic press regarding Gulf State sources of funding for

HAMAS:

               According to al-Hayat’s sources, only some $ 10 million dollars is raised
               annually by Palestinian Islamist charities in the Gulf, most of which is paid
               directly to visiting fund-raising delegations or the charities’ bank accounts
               in Jordan, or via Palestinian support groups based in the U.S. or Britain.

               Gulf-based charities also say they make a point of ensuring that recipients
               are recognized by the Jordanian religious affairs ministry or the PA’s
               Jerusalem-based religious affairs department. They include the Zakat (alms)
               Committees in Hebron, Jerusalem, Tulkarem, Kalkilya and Gaza, which
               fund schools, Koran teaching classes and orphanages, provide cash or food
               aid to the families of martyrs, and run self-help schemes for needy families.
               Gulf funding also sustains the Islamic Charitable Society in Hebron,
               Jerusalem’s Makassed Hospital, and the Wafa Society in Gaza which looks
               after the elderly.

               Gulf donors also insist that they have always dealt openly with such
               organizations, which Israel accuses of constituting the “infrastructure” of
               Hamas. “We used to work with these organizations in broad daylight in the
               days of direct Israeli occupation, and continued dealing with them under the
               PA, though regrettably the pressures increased with the advent of the PA,”
               al-Hayat quotes one aid worker as saying.




                                                73
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 76 of 124



              As for higher educational institutions, the main recipient of Gulf aid is Gaza
              Islamic University, which has long been described as a “Hamas
              stronghold.”

       601.   An August 11, 2001 article in the Washington Post reported:

              On the streets of Gaza, and to a somewhat lesser extent in the West Bank,
              Hamas’s status has been underpinned by a network of medical clinics,
              schools and welfare institutions that distribute free and subsidized food to
              the needy.

              According to Yassin, the group distributes $2 million to $3 million in
              monthly handouts to the relatives of Palestinian suicide bombers; “martyrs”
              who have been killed by Israelis; and prisoners in Israeli jails. When
              pressed, he was vague about the provenance of the money, which, according
              to the State Department, comes mainly from Palestinians overseas, Iran and
              private benefactors in Saudi Arabia and other moderate Arab states.

              Under pressure from Israel and the West, Arafat cracked down on Hamas
              and Islamic Jihad following the suicide bombings in 1996. Scores of Hamas
              activists were jailed, and the terror attacks on Israel faded.

       602.   On September 25, 1997, the Palestinian Authority temporarily closed what it

identified as 16 HAMAS institutions and associations, including HLF’s Gaza office, Al-Mujama

Al-Islami (Islamic Center – Gaza) and Al-Jam’iya Al-Islamiya (Islamic Society – Gaza).

       603.   The closures, including identification of HLF as a targeted HAMAS entity, were

detailed in a Jerusalem Post news account on September 28, 1997.

       H.     Initial U.S. Designations of HAMAS

       604.   On January 24, 1995, pursuant to Executive Order 12947, the President designated

HAMAS as a Specially Designated Terrorist organization.

       605.   This designation made it illegal for any United States person or entity to engage in

any unlicensed transactions or dealings involving the property or interests of HAMAS.

       606.   HAMAS’s designation as an SDT has remained in place since January 24, 1995.

On October 31, 2001, Hamas was added to the entities designated as Specially Designated Global




                                               74
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 77 of 124



Terrorists, pursuant to Executive Order 13224 issued by President George W. Bush. HAMAS’s

designation as an SDGT has remained in place since October 31, 2001.

         607.     On October 8, 1997, the Secretary of State designated HAMAS as a “Foreign

Terrorist Organization” under section 219 of the Immigration and Nationality Act. That

designation has remained in place since October 8, 1997, including throughout the relevant period

of this Action.

         608.     As a result of HAMAS’s designation as an FTO, it became illegal for any person

within the United States or subject to its jurisdiction to provide material support or resources to

HAMAS.

         609.     In 1996, under heavy pressure from Israel, the Palestinian Authority (under the

leadership of Yasir Arafat and the PLO), which had just been established, very publicly took steps

against HAMAS as a result of a wave of HAMAS terrorist attacks that took the lives of 56 Israelis.

         610.     Over the years, the PA would, from time to time, attempt to take measures against

the charitable societies, zakat committees and other organizations run by HAMAS. Closures and

arrests were, however, always temporary.

         I.       The Second Intifada

         611.     The Second Intifada (“al-Quds” or “al-Aqsa Intifada”),10 which broke out in

September 2000, was a key turning point in HAMAS’s history.

         612.     In the initial weeks of the Second Intifada, large demonstrations were organized in

several Palestinian cities. During this period, a Palestinian mob in Ramallah attacked two off-duty




10
         The term “Second Intifada” refers herein to the violent conflict launched by Palestinian factions at the end of
September 2000. While the violence had no “official” ending date, it is generally considered to have subsided at the
end of 2004.


                                                          75
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 78 of 124



Israeli reservists, lynched them, and celebrated their deaths – with much of the scene captured on

camera.

         613.     Soon thereafter, HAMAS, Palestinian Islamic Jihad and the Palestinian Authority’s

ruling faction, Fatah, all launched attacks on Israeli civilian centers, military installations, vehicles,

and civilians through suicide bombings, drive-by shootings, and rocket launchings, which killed

over 1,000 Israelis, and left thousands severely wounded.

         614.     From September 2000 forward, support by the Palestinian public for HAMAS grew

steadily.

         615.     It won elections at Palestinian universities, trade unions, and later in municipal

elections in May 2005.

         616.     For approximately the next four years after the outbreak of the conflict, HAMAS

launched hundreds of terrorist attacks targeting civilians that have resulted in the deaths and injury

of hundreds of civilians, including numerous American citizens.

         617.     HAMAS’s improved political standing among the Palestinians was partially a result

of the work of its da’wa institutions which served as a supportive framework for HAMAS’s terror

activities, including the use of suicide terrorists, in three main areas:

                      HAMAS’s da’wa’s educational institutions11 contributed to the
                       indoctrination of young Palestinians into what became a “culture of
                       martyrdom for Allah,” praising the religious virtues of those who
                       sacrificed themselves in the framework of jihad against Israel. Suicide
                       terrorists earned a place of honor when they received special praise as
                       martyrs (shuhada).



11
         The da’wa institutions include kindergartens, schools, clubs, mosques, Quran recitation classes and student
councils, most of which were controlled by HAMAS in the course of the Second Intifada. The da’wa also funds
student associations such as al-Kutla al-Islamiya, which is a key source for recruiting operatives into the Qassam
Brigades. For example, during the first year of the Second Intifada, at least five students from al-Najah University
carried out suicide terrorist attacks. Other suicide terrorists were students at Hebron Polytechnic University and at al-
Quds Open University. The HAMAS charitable societies and zakat committees also ran summer camps, in which
systematic indoctrination for hatred against Israel took place.


                                                          76
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 79 of 124



                  HAMAS’s da’wa institutions served as a mechanism by which to
                   transfer money to orphans, widows and other relatives of suicide
                   terrorists and movement prisoners, and thus provided a unique safety
                   net for potential recruits concerned that their families would be
                   adversely affected by their deaths or imprisonment. HAMAS
                   committees collected the names of their activists and others who were
                   killed by Israel and would then solicit aid from its network of charitable
                   societies abroad. In 2001, Sheikh Yassin, in an interview cited in the
                   Washington Post, publicly disclosed that the da’wa infrastructure
                   distributed $2-3 million dollars to the families of suicide bombers and
                   prisoners.

                  HAMAS’s da’wa infrastructure provided a reservoir of new recruits for
                   suicide attacks and for HAMAS’s terror and murder apparatus.

       J.      Cultivation of the Culture of Death

       618.    HAMAS’s da’wa institutions played (and play) a central role in financing the terror

campaign by providing the means of raising funds to maintain the institutions that serve as

recruiting grounds for HAMAS.

       619.    As set forth in an internal HAMAS memorandum captured by the Israeli army

during a raid of the offices of the Islamic Charitable Society – Hebron, HAMAS has arranged for

the “transfer [of] large sums” to the charitable committees and other HAMAS da’wa’s institutions

through the “charity activities” of their operatives abroad.

       620.    The memorandum emphasizes that HAMAS “require[s] new bank account

numbers for money transfers” and promises that HAMAS will:

               invest efforts to transfer money for the martyrs (the shuhada) and prisoners,
               via the transfer [to] charitable institutions. This is a primary goal in the
               framework of the effort to transfer aid money to these institutions, so that
               these budgets are released in the best manner and in order to bring about an
               improvement in the level of the movement’s performance.
       621.    The memorandum concludes with the promise that HAMAS will continue to “build

up the activities and operations” of its charitable organizations by, among other things, “taking

advantage of the conditions and the atmosphere of death.”



                                                 77
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 80 of 124



        622.    Through its network of charitable organizations, since the early 1990s HAMAS has

intensified its efforts to consolidate its position within Palestinian society via its social and welfare

projects.

        623.    Although these organizations perform actual social work and provide charitable

services, they also raise substantial funds for HAMAS’s political and operational terrorist

infrastructure and free up money to be redirected to those latter ends.

        624.    These charitable organizations provide streams of income to HAMAS operatives,

assist HAMAS in recruiting new supporters, generate and disseminate HAMAS propaganda and

compete with the Palestinian Authority in delivering social services and facilitating payments of

honorariums (including “martyr” payments) to families of HAMAS operatives killed, injured or

imprisoned as a result of their terrorist activities.

        625.    Funds raised by HAMAS’s charitable and social organizations are fungible and are

allocated in part to terrorist activities (including recruitment, training, and propagandizing) or used

to free up other funds that are then allocated for terrorist activities, including planning and carrying

out suicide bombings and other violent attacks.

        K.      Union of Good

        626.    As noted above, the Union of Good (also known as the Charity Coalition or I’tilaf

Al-Khayr in Arabic) was established in October 2000, at the beginning of the Second Intifada, as

the umbrella organization for HAMAS’s global fundraising activity.

        627.    Comprising more than 50 separate organizations – several of which have been

designated SDGTs by the U.S. Treasury Department, including Interpal and CBSP (two major

HAMAS fundraising organizations in Europe) – the Union of Good originally began as a limited

101-day fundraising drive for emergency aid at the outset of what was later called the Second




                                                   78
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 81 of 124



Intifada, chaired by Sheikh Yusuf al-Qaradawi, the Muslim Brotherhood’s spiritual leader.

According to Al-Qaradawi, “[t]he martyr operations [sic] is the greatest of all sorts of Jihad in the

Cause of Allah.”

       628.    Sheikh al-Qaradawi issued a Muslim religious edict (fatwa) that gave HAMAS and

other terrorist groups religious approval authorizing suicide bombing attacks (including by

women) against Israel.

       629.    In a July 7, 2004 interview for BBC’s “Newsnight,” al-Qaradawi, referring to the

suicide attacks, said: “I consider this type of martyrdom operation as an evidence of God's justice.”

       630.    The 101-day fundraising drive was so successful that the Union of Good was

converted into a permanent institution. It quickly became the preeminent Muslim Brotherhood

fundraising mechanism in the world, raising tens of millions of dollars for HAMAS.

       631.    On February 25, 2002, the Union of Good was designated by Israel in an order of

the Minister of Defense of the State of Israel, based on its being “part of the Hamas organization

or supporting it and strengthening its infrastructure.”

       632.    The Union of Good was designated by the U.S. Treasury Department as an SDGT

on November 12, 2008. According to the Treasury Department:

               Union of Good acts as a broker for HAMAS by facilitating financial
               transfers between a web of charitable organizations—including several
               organizations previously designated under E.O. 13224 for providing
               support to HAMAS—and HAMAS-controlled organizations in the West
               Bank and Gaza. The primary purpose of this activity is to strengthen
               HAMAS’ political and military position in the West Bank and Gaza,
               including by: (i) diverting charitable donations to support HAMAS
               members and the families of terrorist operatives; and (ii) dispensing social
               welfare and other charitable services on behalf of HAMAS.

               Funds raised by the Union of Good affiliates have been transferred to
               HAMAS-managed organizations in the West Bank and Gaza. In addition to
               providing cover for HAMAS financial transfers, some of the funds
               transferred by the Union of Good have compensated HAMAS terrorists by



                                                 79
          Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 82 of 124



                 providing payments to the families of suicide bombers. One of them, the
                 Al-Salah Society, previously identified as a key support node for HAMAS,
                 was designated in August 2007 under E.O. 13224. The Society employed a
                 number of members of the HAMAS military wing and supported HAMAS-
                 affiliated combatants during the first Intifada.

          633.   Significantly, Al-Qaradawi was neither an obscure or shadowy figure. On the

contrary, he had his own weekly long-running television program on Al-Jazeera and has very

publicly issued an Islamic religious edict (fatwa) authorizing suicide bombing attacks against

Israel.

          634.   In fact, on April 14, 2002, al-Qaradawi appeared on Al-Jazeera extolling “jihad and

martyrdom” against Israelis and denouncing the U.S. designation of HAMAS and other terrorist

organizations.

          635.   HAMAS often relies on Al-Qaradawi’s legal rulings in matters of current import

and often turns to him to obtain legal rulings, which are published from time to time in HAMAS’s

official newspapers (such as Filastin al-Muslima).

          636.   HAMAS leaders have also served openly in the Union of Good’s executive

leadership. For example, the Secretary General of the Union of Good, Essam Salih Mustafa

Yussuf, also acted as the Vice-Chairman of Interpal while serving on the HAMAS executive

committee under then-HAMAS leader Khalid Mishal.

II.       CORE INSTITUTIONS OF HAMAS’S SOCIAL WELFARE NETWORK

          A.     Key HAMAS Institutions in Gaza

          637.   At the Philadelphia Conference in 1993, the FBI’s wiretaps caught the words of Dr.

Mu’in Shabib, a HAMAS operative, describing the close connection between HAMAS and several

of its core institutions in Gaza:

                 The principal organization known to be affiliated with us is the Islamic
                 University of the Gaza region, and we will speak later regarding solutions.
                 We mention it because it is a real wound in our heart. Number two, the


                                                 80
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 83 of 124



               Islamic Complex, which was founded in 1973 and received a license in
               1976. The activities of the Complex were then more comprehensive.
               The Islamic Society, which was founded in 1976. The al-Salah Society in
               the region (Gaza), which supervises the sacrifices and other matters. The
               Young Women’s Muslim Association and the al-Wafa Society for the
               Care of the Elderly, the orphanage, a number of charity committees, a
               number of social service institutions which received new licenses, such as
               the Institution for Law and Justice, which cares for the prisoners. (Emphasis
               added.)

               1.      Islamic University of Gaza

       638.    As noted above, the Islamic University of Gaza was established in 1978 after the

Egyptian government retaliated against the PLO for its criticism of Egypt’s peace treaty with Israel

and blocked Gazan students from studying in Egypt.

       639.    Sheikh Yassin used the controversy to orchestrate the violent removal of the

university’s PLO-affiliated administration and replacement with Al-Mujama Al-Islami members.

It took five years, but Yassin ultimately gained control and the university was split into two

entities: Al-Azhar University, which the PLO continued to control; and the Islamic University of

Gaza, which came under the control of Al-Mujama Al-Islami and Yassin.

       640.    Since the 1990s, the Islamic University of Gaza has been identified exclusively

with HAMAS and has served as its principal source for recruitment of people into the

organization’s ranks in Gaza, including into the ranks of the Qassam Brigades. Many students of

the Islamic University of Gaza were recruited by the Qassam Brigades, and committed suicide

attacks during the Second Intifada, among them Nafedh Ayesh Mustafa al-Nadher, who blew

himself up near a bus heading to Kfar Darom on July 9, 2001, thus “killing many of the sons of

monkeys and pigs, the cowardly Zionist infidels,” according to the Qassam Brigades website.

       641.    The Qassam Brigades also used the Islamic University’s facilities for its military

purposes, such as storing weapons in it; exploiting the University’s laboratories for developing




                                                81
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 84 of 124



and manufacturing weapons; and holding secret meetings of the Brigades’ commanders and

members in it.

       642.      HAMAS’s founders Salah Shehada (who later founded HAMAS’s Qassam

Brigades), Ibrahim Fares al-Yazuri and Abd al-Aziz al-Rantisi were among several prominent

HAMAS leaders who were publicly affiliated with the University. In fact, more than ten percent

(47) of the Marj al-Zuhur deportees were employees, administrators or students at the Islamic

University of Gaza.

       643.      Khalil Isma’il Ibrahim al-Haya, who also served as Deputy Chairman of Al-

Mujama Al-Islami in the Gaza Strip between 2002 and 2005, lectured in Islamic Law at the Islamic

University of Gaza. Haya is now the deputy of Hamas’s senior leader in Gaza, Yihya Sinwar.

       644.      Current supreme HAMAS leader Ismail Haniya (an SDGT) served as the dean of

the University of Gaza.

       645.      Muhammad Saleh Taha, a co-founder of Al-Mujama Al-Islami, also lectured at the

Islamic University of Gaza as did other HAMAS luminaries, including Ahmed Bahar and Mahmud

al-Zahar.

       646.      From the early 1990s through 2004, the Islamic University of Gaza enjoyed

financial support from CBSP, Interpal, the Al-Aqsa Foundation – Germany and many other

HAMAS fundraising organizations.

                 2.     The Islamic Center (or Complex) – Gaza (Al-Mujama Al-Islami)

       647.      As noted above, the Islamic Center (Al-Mujama Al-Islami) was established in 1973

by Ahmed Yassin, the founder of HAMAS and the organization’s spiritual leader.

       648.      The foundations, infrastructure, and key operatives of Al-Mujama Al-Islami laid the

basis for the establishment of HAMAS, the future growth and expansion of HAMAS in the Gaza




                                                 82
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 85 of 124



Strip, and later throughout the Palestinian arena.

       649.    Both Al-Mujama Al-Islami and Al-Jam’iya Al-Islamiya (the Islamic Society), which

was founded three years later, in 1976, opened branches throughout the Gaza Strip.

       650.    In 1978, a branch of Al-Mujama Al-Islami was established in Khan Yunis.

       651.    In that same year, several kindergartens which belonged to the organization in

Gaza, were established.

       652.     In 1985, Al-Mujama Al-Islami’s al-Aqsa School was built in Khan Yunis. Shortly

after the organization’s establishment, an additional seven branches were set up throughout the

Gaza Strip.

       653.    These branches were run by people who later would become the founders of

HAMAS, including al-Rantisi (the branch in Khan Yunis Refugee Camp) and Abd al-Fatah

Dukhan (Nusairat branch).

       654.    From the early 1990s through 2004, Al-Mujama Al-Islami enjoyed financial support

from the Holy Land Foundation in the United States (before HLF was declared a terrorist

organization by the United States administration and its assets frozen in 2001) as well as CBSP,

Interpal, Human Appeal International, the Al-Aqsa Foundation – Germany and many other

HAMAS fundraising organizations.

       655.    A 2000 fundraising brochure explicitly linked Al-Mujama to Al-Aqsa Foundation

– Germany. The brochure referred to the “fragrance of the blood of the martyrs and wounded

which watered the pure soil” and confirmed that Al-Aqsa Foundation donors “are committing

Jihad with your monies in the land of [the people of] steadfastness, whose blood is violated and

whose sanctuaries are desecrated everyday...”

       656.    In an article on the popular Islamist website Islamonline.net, Ismail Haniya,




                                                 83
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 86 of 124



HAMAS’s current supreme leader, stated that Al-Mujama Al-Islami, Al-Jam’iya Al-Islamiya and

Al-Salah Charitable Society provide financial support to the martyrs’ families, the injured, the

prisoners and the detainees of the Intifada.

       657.    Following are details of the most important key figures in Al-Mujama Al-Islami:

                  Ahmed Yassin: Sheikh Yassin, one of the founders of HAMAS and the
                   founder of Al-Mujama Al-Islami. Yassin was arrested in 1984 after
                   founding al-Mujahidun al-Filastiniyun12 and was sentenced to 13 years’
                   imprisonment. He was released in 1985 as part of the “Jibril Prisoners’
                   Exchange.” He was arrested a second time in 1989, tried and sentenced
                   to life imprisonment for his role in planning the murder of two Israeli
                   soldiers before being released from prison once more, as a result of a
                   botched Israeli assassination attempt in Jordan in 1997. On January 25,
                   1995, the U.S. Department of Treasury designated Yassin a Specially
                   Designated Terrorist. Upon his return to Gaza, Yassin rebuilt his
                   standing within the HAMAS leadership. On August 22, 2003, the
                   United States declared him a Specially Designated Global Terrorist for
                   his involvement in HAMAS. On March 22, 2004, Yassin was killed by
                   Israel’s security forces. To this day, Yassin has remained an object of
                   veneration for HAMAS supporters, who see him as a source of authority
                   and inspiration for the continuation of their jihad against Israel.

                  Abd al-Aziz al-Rantisi: Al-Rantisi was one of the seven founders of
                   HAMAS, and one of the organization’s key leaders in the Gaza Strip.
                   With the founding of HAMAS in 1987, Rantisi was appointed to head
                   the military wing (Qassam Brigades) in the southern districts of the
                   Gaza Strip. Rantisi served as a member of Al-Mujama Al-Islami’s
                   administrative board and founded the organization’s Khan Yunis
                   branch. In 1992 he was temporarily deported, along with other senior
                   members of HAMAS, to Marj al-Zuhur, where he served as HAMAS’s
                   chief spokesman to the Western media. In March 1998, Rantisi was
                   arrested by the Palestinian Authority and held for a period of 15 months
                   for his continued activities related to HAMAS. He was considered the
                   most radical voice within HAMAS political leadership in the Palestinian
                   Territories. He publicly and explicitly encouraged HAMAS operatives
                   to carry out suicide actions against Israel; he praised those who
                   responded to the call for “self-sacrifice” and preached ceaseless war that
                   would end with the destruction of Israel. On August 22, 2003, the United
                   States designated Rantisi an SDGT. After Sheikh Yassin was killed by
                   Israeli forces on March 22, 2004, Rantisi was declared his successor and
                   appointed as leader of HAMAS in the Palestinian Territories. On April
                   17, 2004, Rantisi was killed by Israel’s security forces.
12
       The organization was the Muslim Brotherhood’s precursor to HAMAS’s Qassam Brigades.


                                                  84
Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 87 of 124




        Ibrahim Fares al-Yazuri: Al-Yazuri was one of the “founding fathers”
         of HAMAS and a close friend of Ahmed Yassin. He was also one of
         the founders of Al-Mujama Al-Islami in the seventies and a member of
         the organization’s administrative board from its inception. Al-Yazuri
         served as Chairman of Al-Mujama Al-Islami following Yassin’s arrest
         and imprisonment in 1984. In 2000, he was listed as the Secretary
         General of Al-Mujama Al-Islami. He also taught at the Islamic
         University of Gaza. Al-Yazuri was later sentenced to 26 months
         imprisonment in Israel because of his HAMAS-related activities and
         subsequently arrested several times by the Palestinian Authority
         (following terrorist attacks carried out by HAMAS against Israel). In
         October 1998, the PA arrested Yazuri because he was a HAMAS leader.

        Muhammad Hasan Sham’a: Sham’a was involved in the
         establishment of Al-Mujama Al-Islami and oversaw the organization’s
         public relations. Sham’a was also listed as Deputy Secretary General of
         Al-Mujama Al-Islami. Subsequently he was one of the seven founders
         of HAMAS and one of its political leaders. He was among the deportees
         to Marj al-Zuhur and was later arrested by the Palestinian Authority in
         1995 and 1998.

        Issa Khalil al-Nashar: Al-Nashar was one of the seven founders of
         HAMAS and was responsible for its activity in Rafah. He served on the
         board of Al-Mujama Al-Islami. Al-Nashar was briefly arrested by Israel
         in 1988 for his membership in HAMAS and later deported to Marj al-
         Zuhur. In November 1995, he participated in the creation of HAMAS’s
         National Islamic Salvation Party and served as head of its political
         bureau. In 1995, Al-Nashar was detained for four months by the PA
         Security Forces.

        Khalil Isma’il Ibrahim al-Haya: Haya served as Deputy Chairman of
         Al-Mujama Al-Islami in the Gaza Strip between 2002 and 2005. In 1981,
         during his studies at the Islamic University of Gaza, he became a
         member of the Islamic Students Association (al-Kutla al-Islamiya) and
         tried, on several occasions, to take control of the University’s campus
         together with other members of Al-Mujama Al-Islami. He served as
         Chairman of the HAMAS faction in the Palestinian Legislative Council
         in the years 2006-2007 and was one of the best-known HAMAS leaders
         in the Gaza Strip. He was imprisoned by Israel in 1991 for activities
         connected with HAMAS.

        Abd al-Fatah Dukhan: Dukhan was one of the seven founders of
         HAMAS. He served as head of the Al-Mujama Al-Islami branch in
         Nusairat Refugee Camp and was one of the Marj al-Zuhur deportees.
         He has served as a member of the Palestinian Legislative Council as part


                                      85
Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 88 of 124



         of HAMAS’s Change & Reform Party.

        Khalil Ibrahim al-Quqa: Al-Quqa was one of the founders of Al-
         Jam’iya Al-Islamiya and headed the Al-Mujama Al-Islami branch in
         Shati. He was also one of the first to join HAMAS. Two weeks after
         HAMAS’s establishment, Al-Quqa was arrested by Israeli security
         forces for incitement against Israel. Al-Quqa was deported by Israel to
         Lebanon in 1988, and from there he moved to Tunis and later Egypt.
         Two years later he was expelled from Egypt (1991) to the United Arab
         Emirates, where he died of natural causes in 2005.

        Muhammad Saleh Taha: Taha took part together with Ahmed Yassin
         in the founding of Al-Mujama Al-Islami and served as a member of the
         organization’s Administrative Council. He was arrested on several
         occasions, both by Israel and by the Palestinian Authority, for his
         HAMAS-related activities and was deported to Marj al-Zuhur in 1992
         along with al-Rantisi and Sham’a. He has served as a lecturer at the
         Islamic University of Gaza. Taha was arrested numerous times by both
         Israel and the PA.

        Osama al-Mazini: Al-Mazini was one of the heads of HAMAS’s
         political leadership and one of the movement’s prominent spokesmen.
         Al-Mazini served as a member of the Administrative Council of Al-
         Mujama Al-Islami. He also served as a lecturer in the Department of
         Psychology at the Islamic University of Gaza. He is married to Ahmed
         Yassin’s daughter. Al-Mazini was arrested many times by Israel and by
         the Palestinian Authority, following terrorist attacks committed by
         HAMAS.

        Nizar Muhammad Awd-Allah: As one of Ahmed Yassin’s close
         associates, Awd-Allah was involved in the kidnapping and murder of
         Israeli soldiers Sasportas and Saadon in 1989, for which Yassin was
         sentenced to 13 years in prison. Awd-Allah was a senior operative in
         both HAMAS and Al-Mujama Al-Islami. Awd-Allah was also appointed
         as the commander of the Qassam Brigades in Gaza following the arrest
         of Salah Shehada in 1988.

        Maryam Muhammad Yusuf Farhat: In 1981, Farhat supervised the
         women’s activities at Al-Mujama Al-Islami. Her eldest son, Nidal
         Farhat, joined the Qassam Brigades in 2000 where he oversaw the
         planning and carrying out of numerous terror attacks and became a
         HAMAS bombmaker. Farhat encouraged another son, Muhammad, to
         carry out a suicide attack, and was photographed with him before he
         departed for the attack. Farhat was elected in 2006 to the Palestinian
         Legislative Council as part of HAMAS’s Change and Reform Party. She
         died in 2013.


                                     86
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 89 of 124




       658.    Because it was HAMAS’s operational headquarters in Gaza, Al-Mujama Al-Islami

was temporally closed by the PA on September 25, 1997. On August 24, 2003, the Palestinian

Monitory Authority issued an order to freeze Al-Mujama Al-Islami bank accounts in all banks in

the Palestinian Territories in order to stop funding HAMAS institutions.

       659.    Due to its central role as a supporter of HAMAS’s jihad activity, Al-Mujama Al-

Islami was declared an unlawful association by the Israeli Minister of Defense on February 25,

2002, and by the commander of the IDF’s Central Command on June 30, 2002.

       660.    On May 29, 2007, the United States Department of Justice identified Al-Mujama

Al-Islami as an “organization that operates on behalf of, or under the control of, Hamas” in the list

of unindicted co-conspirators in the criminal case of United States v. Holy Land Foundation.

               3.      The Islamic Society – Gaza (Al-Jam’iya Al-Islamiya)

       661.    The Islamic Society (Al-Jam’iya Al-Islamiya) was founded in the Gaza Strip in

1976 by Ahmed Yassin and other senior member of the Muslim Brotherhood.

       662.    Like Al-Mujama Al-Islami (the Islamic Center), it served as a base for

disseminating ideology and the political platform of the Muslim Brotherhood in Gaza in the

seventies.

       663.    From the time of HAMAS’s establishment, Al-Jam’iya Al-Islamiya was a

significant HAMAS stronghold, operated and controlled by individuals who were identified

initially with the Muslim Brotherhood and ultimately with HAMAS.

       664.    In September 1997, the Palestinian Authority closed Al-Jam’iya Al-Islamiya, along

with 16 other societies identified with HAMAS.

       665.    Following a HAMAS terrorist attack in Israel in October 1998, the Palestinian

Authority began a wave of arrests against HAMAS operatives in Gaza. Among those arrested were



                                                 87
           Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 90 of 124



the Chairman of Al-Jam’iya Al-Islamiya, Sheikh Ahmed Bahar, and other senior personnel in the

society.

       666.     In December 2001, the Palestinian Authority closed a number of societies run by

Islamic organizations (HAMAS and Palestinian Islamic Jihad), among them Al-Jam’iya Al-

Islamiya. And on January 6, 2002, the Palestinian Monetary Authority directed the Palestinian

banks to report on the sums of money held in the accounts of Al-Jam’iya Al-Islamiya and required

them to consult with it prior to withdrawing funds from those accounts.

       667.     Al-Jam’iya Al-Islamiya was declared an unlawful association by the Israeli Minister

of Defense on February 25, 2002, and by the IDF’s Central Command on June 30, 2002.

       668.     Al-Jam’iya Al-Islamiya’s official web site has, for many years, featured an image

of Ahmed Yassin, the founder of HAMAS and Al-Jam’iya Al-Islamiya.

       669.     Similarly, senior HAMAS figures regularly participate in Al-Jam’iya Al-Islamiya

events. Since the mid-1990s, the society has not hidden its affiliation with HAMAS from Western

journalists, and this fact was published by the leading Western media outlets.

       670.     For example, both The New York Times (“In Gaza, Peace Meets Pathology,”

November 27, 1994) and the Financial Times (“Fundamentalists Split Palestinian Unity,”

September 9, 1988) identified the Islamic Society of Gaza as part of HAMAS.

       671.     As early as 1993, an article in the Independent by Sarah Helm described a Gaza

kindergarten “run by the Islamic Society which is controlled by Hamas, the militant Islamic

movement.”

       672.     A July 23, 1999 article published by Knight Ridder titled “Hamas wedding a

political event” noted: “Thursday night’s event was organized by the Islamic Society, the social

arm of Hamas, the militant Islamic organization better known for the deadly suicide bombings that




                                                88
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 91 of 124



stalled the Israeli-Palestinian peace process in 1996.”

       673.    On January 1, 2002, the BBC Monitoring Service published an article translating a

HAMAS report (put out by the HAMAS political bureau’s official website) claiming “a large-

scale campaign” by Palestinian police forces “closing a number of Hamas Islamic Resistance

Movement and Islamic Jihad-backed institutions and societies.”

       674.    The report identified the Islamic Society of Gaza (Al-Jam’iya Al-Islamiya) as one

of “[t]he Hamas-backed societies.”

       675.    The Mail on Sunday (London) published an article in 2002 about a controversial

donation made by the British Consulate in Jerusalem to the Islamic Society of Gaza.

               But our inquiries have revealed the leadership of the Islamic Society,
               known in Arabic as Al Jamayia Al Islamiya is closely associated with
               Hamas and the group has been shut down several times on Yasser Arafat’s
               orders.

               Its secretary general, Sheikh Ahmed Bahar, was arrested by the Palestinian
               Authority’s security forces alongside several Hamas leaders in October
               1998 during a clampdown on terrorism. He was then described by the
               Palestinians as leader of the Hamas splinter group the Islamic National
               Salvation Party.

               Indeed, the Islamic Society makes no secret of its support for the terrorists.
               (Emphasis added.)

       676.    Following are details of some of the important leaders in Al-Jam’iya Al-Islamiya:

                  Ahmed Yassin: He was also one of the founders of Al-Jam’iya Al-
                   Islamiya.

                  Ahmed Bahar: Bahar was Chairman of Al-Jam’iya Al-Islamiya
                   between the years 1985 and 2004. Bahar was arrested by the Israeli
                   security forces and was imprisoned several times in Israeli jails, as a
                   result of his membership in HAMAS. One of the Marj al-Zuhur
                   deportees in 1992, he was arrested several times by the Palestinian
                   Authority following terrorist attacks carried out by HAMAS. In June
                   1995 he was arrested by the PA’s Preventive Security, and his beard was
                   shaved off as an act of humiliation by his captors. Ahmed Bahar worked
                   at the Islamic University of Gaza between 2002-2003, as a lecturer in


                                                 89
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 92 of 124



                  the department of Arabic language and as deputy dean of the Faculty of
                  Arts. Bahar also served as first deputy speaker of the Palestinian
                  Legislative Council on HAMAS’s “Change and Reform Bloc” political
                  party.

                 Muhammad Faraj Mahmud Husain al-Ghul: Al-Ghul is one of the
                  founders of Al-Jam’iya Al-Islamiya, a member of its administrative
                  board and served as its Secretary General. Al-Ghul also worked at the
                  Islamic University of Gaza as a lecturer. Before the outbreak of the
                  Second Intifada, he also served as attorney for senior HAMAS figures
                  imprisoned in Israel, among them Sheikh Ahmed Yassin. Al-Ghul was
                  jailed by Israel between the years 1981 and 1992 for terrorist activities
                  and was one of the Marj al-Zuhur deportees; in 1998 he was arrested by
                  the PA Preventive Security Services.

                 Isma’il Hassan Muhammad Abu Shanab: Abu Shanab was one of the
                  founders of Al-Jam’iya Al-Islamiya. He also worked at Islamic
                  University of Gaza as a lecturer at the faculty of engineering and as
                  president of the Faculty of Applied Science. Abu Shanab was also
                  Sheikh Yassin’s deputy. He was arrested by Israel in 1989 and
                  imprisoned for 8 years. After his release from Israeli prison, Abu Shanab
                  became a political leader of HAMAS until he was killed in 2003.

                 Isma’il Abd al-Salam Ahmed Haniya: Haniya served as a member of
                  the administrative board of Al-Jam’iya Al-Islamiya’s senior
                  administrative body and headed its club in Gaza for approximately ten
                  years. Haniya led the Islamic Students Association (al-Kutla al-
                  Islamiya) in the Islamic University of Gaza in the early 1980s and was
                  the head of the Islamic University Student Union in 1985-86. Haniya
                  held several positions at the Islamic University of Gaza, among them
                  Secretary of the Board of Trustees and the University’s Director of
                  Academic Affairs. Haniya was arrested by Israel several times and was
                  also one of the Marj al-Zuhur deportees. He served as Sheikh Yassin’s
                  chief of staff following Yassin’s release from prison in 1997. In 2006,
                  he became “Prime Minister” in the HAMAS government in Gaza and in
                  2017 was appointed as the overall leader of HAMAS.

       677.   From the early 1990s through 2004, Al-Jam’iya Al-Islamiya enjoyed financial

support from the U.S.-based Holy Land Foundation before it was declared a terrorist organization

by the United States administration and its assets frozen in 2001 as well as from CBSP, Interpal,

Human Appeal International, the Al-Aqsa Foundation – Germany and many other HAMAS

fundraising organizations.


                                               90
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 93 of 124



               4.     Al-Salah Islamic Society – Gaza (Jam’iyat al-Salah al-Islamiya)

        678.   Al-Salah Islamic Society – Gaza (“al-Salah”) was founded in the town of Dir al-

Balah in the Gaza Strip in 1978 and was a key part of HAMAS’s da’wa in Gaza after 1987.

        679.   The al-Salah Society was closed in September 1997 by the Palestinian Authority

(along with Al-Mujama Al-Islami and Al-Jam’iya Al-Islamiya in Gaza) as a result of Israeli and

American pressure on the Palestinian Authority.

        680.   An Associated Press article on March 2, 2001 described HAMAS’s successful

fundraising efforts particularly in the Persian Gulf and Saudi Arabia, adding: “With the money

from Saudi Arabia alone, Islamic activists have distributed 200,000 food packages, and more are

on the way, said Ahmed al-Kourd [sic], head of the Al Salah Charity Committee in Gaza City.

        681.   Later, as a result of heavy pressure from Israel and the United States on the

Palestinian Authority following several terrorist attacks, Palestinian security forces from time to

time arrested the leaders of al-Salah while the Palestinian Monetary Authority temporarily froze

the bank accounts of al-Salah, in December 2001.

        682.   al-Salah was declared an unlawful association by the Israeli Minister of Defense

on February 25, 2002, and by the IDF’s Central Command on June 30, 2002.

        683.   On August 7, 2007, the United States Treasury Department declared al-Salah a

Specially Designated Global Terrorist. In a press release announcing the declaration, the Treasury

stated that:

               Hamas has used the al-Salah Society, as it has many other charitable fronts,
               to finance its terrorist agenda. ... The al-Salah Society supported Hamas-
               affiliated combatants during the first Intifada and recruited and
               indoctrinated youth to support Hamas’s activities. It also financed
               commercial stores, kindergartens, and the purchase of land for Hamas. One
               of the most senior Gaza-based Hamas leaders and founders, Ismail Abu
               Shanab, openly identified the al-Salah Society as “one of the three Islamic
               charities that form Hamas’s welfare arm.” The al-Salah Society has



                                                91
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 94 of 124



               received substantial funding from Persian Gulf countries, including at least
               hundreds of thousands of dollars from Kuwaiti donors.

       684.    al-Salah also received funding from several notable radical Islamic charitable

organizations, which were members of the Itilaf al-Khair (“Union of Good”): Interpal (SDGT),

CBSP (SDGT), Al-Aqsa Foundation (SDGT) and Holy Land Foundation (SDGT). An article

published in the December 2005 Issue of Filastin al-Muslima (“Muslim Palestine,” the official

HAMAS newspaper), reported that from the outbreak of the Second Intifada in September 2000

to December 2005, al-Salah’s annual average budget was ten million dollars.

       685.    Ahmad Harb Ahmad al-Kurd served as the chairman of al-Salah and the dominant

senior figure in the Society during the relevant time period, as well as being a member of the Itilaf

al-Khair Association in Gaza (“Union of Good”).

       686.    Al Kurd was a senior HAMAS member in Gaza and is considered one of HAMAS’s

senior da’wa operatives.

       687.    An Agence France Presse report of arrests of HAMAS militants in Deir el-Balah

in August 1994 referred to the fact that a senior HAMAS figure named Ahmad al-Kurd was

detained for questioning by the Palestinian security forces.

       688.    Isma’il Abu Shanab, one of the senior leaders of HAMAS, gave an interview in

January 2001 to the Jordanian newspaper al-Watan, in which he referred to al-Salah as an integral

part of HAMAS’s social infrastructure.

       689.    On August 7, 2007, the United States declared Ahmad al-Kurd, former Chairman

and then board member of al-Salah, as a Specially Designated Global Terrorist, and declared (in

the same press release13 announcing the declaration regarding al-Salah itself):

               The al-Salah Society is directed by Ahmad al-Kurd, a recognized high-
               ranking Hamas leader in Gaza. Al-Kurd’s affiliation with Hamas goes back
13
       http://www.ustreas.gov/press/releases/hp531.htm.


                                                     92
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 95 of 124



               over a decade. During the first Intifada, al-Kurd served as a Hamas Shura
               Council member in Gaza. As of late 2003, al-Kurd was allegedly the top
               Hamas leader in Dir al-Balah, Gaza. Since mid-2005, he has served as the
               mayor of Dir Al-Balah, elected as a Hamas candidate. 
       690.    Several former members on the administrative board of al-Salah, in its various

branches, were also known as prominent operatives in HAMAS’s da’wa, among them:

                   Osama al-Mazini: al-Mazini was a senior HAMAS operative and
                    political leader in the Gaza Strip. Al-Mazini was a member of the Board
                    of al-Salah, (as well as Al-Mujama Al-Islami, as mentioned above). He
                    was imprisoned by Israel between 1988-1994. Al-Mazini was arrested
                    by the PA as well, following terrorist attacks committed by HAMAS.

                   Salem Salama: Salama was a senior HAMAS member, a member of
                    the administrative board of al-Salah and one of the Marj al-Zuhur
                    deportees. Salam was arrested several times by Israel during the First
                    Intifada.

                   Mansur Abu Hamid: Hamid was a senior member of HAMAS and
                    Chairman of the Rafah branch of the al-Salah Society.

       691.    From the early 1990s through 2004, al-Salah enjoyed financial support from the

Holy Land Foundation in the United States (before it was declared a terrorist organization by the

United States administration and its assets frozen in 2001) as well as from CBSP (SDGT), Interpal

(SDGT), Human Appeal International, the Al-Aqsa Foundation – Germany (SDGT) and many

other HAMAS fundraising organizations.

               5.      Al-Wafa Charitable Society – Gaza
                       (Jam’iyat Al-Wafa’ Liri’ayat Al-Musinnin)

       692.    The Al-Wafa Charitable Society was founded in 1980 in the Gaza Strip by the

Muslim Brotherhood, and after 1987 it became a key component of HAMAS’ da’wa network in

the Gaza Strip, providing medical care to Gazan residents. Al-Wafa’s administration, its center for

the elderly and the al-Wafa Hospital are located in the al-Saja’iya neighborhood of Gaza City. Al-

Wafa established a medical center in Khan Yunis, whose establishment was funded by Interpal

and the al-Aqsa Society in Yemen.


                                                93
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 96 of 124



       693.   Al-Wafa opened a branch in Rafah in 2003.

       694.   An FBI recording made at the Philadelphia Conference in 1993 referred to the al-

Wafa Society for the Care of the Elderly as one of “the principal organization known to be

affiliated with us…”

       695.   The Al-Wafa Charitable Society’s annual budget during the relevant period was

approximately $10 million dollars.

       696.   Its principal sources of funding were, inter alia, Islamic foundations in Arab states

(Saudi Arabia, Yemen, the Persian Gulf States, and Jordan); and organizations around the world

that were part of HAMAS’s fundraising network, including:

                 Comité de Bienfaisance et de Secours aux Palestiniens (“CBSP”) –
                  France
                 Interpal – Britain
                 Al-Aqsa Foundation – Germany
                 Irfan Fund – Canada
                 The Union of Good (Itilaf al-Khair) – Lebanon/Saudi Arabia/UK
                 Palestinian Association in Austria (“PVOE”) – Austria
                 Islamic Development Bank
                 Al-Aqsa Islamic Charitable Society – Yemen
                 The World Assembly of Muslim Youth (“WAMY”) – Saudi Arabia.

       697.   The Al-Wafa Charitable Society was declared an unlawful association by the Israeli

Minister of Defense on February 25, 2002 and by the IDF’s Central Command on June 30, 2002.

       698.   The Society’s bank account was confiscated by Israel in February 2004, during IDF

operations to confiscate the funds of HAMAS associations in Ramallah.

       699.   Many of Al-Wafa Charitable Society’s key operatives are publicly known to be

members of HAMAS. Its principal leaders included:

                 Muhammad Rafiq al-Khudari: Al-Khudari was Chairman of Al-Wafa
                  Charitable Society’s Board of Directors during the relevant period. He
                  was known as a senior civilian official in HAMAS and was in regular
                  contact with the HAMAS leadership.



                                               94
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 97 of 124



                 Basem Naim Muhammad Naim: Naim served as a member of Al-
                  Wafa Charitable Society’s Board of Directors and was a prominent
                  HAMAS operative in the Gaza Strip. He later served as “Health
                  Minister” in the HAMAS government in Gaza.

                 Dr. Muhammad Abd al-Hadi Abd al-Rahman Muhammad Shihab:
                  Shihab served as General Secretary for Al-Wafa Charitable Society
                  Hospital’s pharmacies and medical supplies department and was a
                  prominent HAMAS leader and was later elected as a member of the
                  Palestinian Legislative Council for HAMAS’s Change & Reform Party.

                 Taysir Nasr al-Baltaji: Al-Baltaji is the Director General of Al-Wafa
                  Charitable Society and Al-Wafa Hospital. He was one of the HAMAS
                  leaders at the Islamic University of Gaza in 1985 and was known as a
                  senior civilian official in HAMAS.

                 Salah al-Rantisi: Rantisi was a board member of Al-Wafa Charitable
                  Society and also the Director of Social Health Department in the de
                  facto HAMAS Health Ministry in Gaza. Rantisi is the younger brother
                  of deceased HAMAS leader Abd al-Aziz al-Rantisi.

                 Muhi al-Din Saleh al-Hilu: Al-Hilu was a member of the board of the
                  Al-Wafa Charitable Society. Al-Hilu is also the headmaster of Dar al-
                  Arqam school, which belongs to HAMAS.

                 Hazem al-Nakhala: Al-Nakhala is a member of the board of the Al-
                  Wafa Charitable Society. He is also the head of the Institutions
                  Committee in HAMAS’s Public Relations Department.

                 Jamal al-Zabda: Zabda was the chairman of the Al-Wafa Charitable
                  Society. He was also a professor at the Islamic University of Gaza, Dean
                  of Community Service and Continuing Education, and a member of the
                  University’s board. In 2003, Zabda was elected on the HAMAS list to
                  the Palestinian Engineers Association in Gaza.

      B.     Key HAMAS Institutions in the West Bank

             1.      Islamic Charitable Society – Hebron
                     (al-Jam’iya al-Khiriya al-Islamiya Al-Khalil)

      700.   The Islamic Charitable Society – Hebron (“ICSH”) was an important component in

the da’wa infrastructure of HAMAS in the Hebron area, where it was considered the central

civilian institution of HAMAS and was publicly identified with HAMAS (including by the



                                               95
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 98 of 124



Associated Press). The Society was also known as the central civilian institution of HAMAS in

the entire West Bank, and HAMAS transfers money through it to other institutions identified with

it.

       701.    The ICSH was founded in 1962 and unlike other da’wa institutions of HAMAS,

such as Al-Mujama Al-Islami, Al-Jam’iya Al-Islamiya and al-Salah in the Gaza Strip, it was not

under the complete control of HAMAS when HAMAS was officially founded in 1987.

       702.    ICSH had branches in the Hebron-area villages of Shuyukh, Beit Ula, Yata, Dura,

Bani Na’im, Beit Omar, Halhul, Tafuh, Dahariya and Samu’a.

       703.    On March 5, 1996, Israel closed the offices of the ICSH, due to suspicions regarding

the Society’s relationship with HAMAS. The Society’s offices remained closed for a brief period

but were then reopened by the Palestinian Authority.

       704.    A March 2, 2001, Associated Press article described a warehouse run by the ICSH

and stated that across the Palestinian areas Islamic charities were filling a growing need created

by skyrocketing unemployment and poverty, and identified ICSH with HAMAS.

       705.    Due to its activity and organizational identification with HAMAS, the ICSH was

declared to be an illegal organization by the Israeli Minister of Defense on February 25, 2002, and

by the head of the IDF Central Command’s Order on June 30, 2002.

       706.    Throughout the relevant period, most members of the ICSH administrative board

were publicly identified with HAMAS. Five of the board members of the ICSH, during that period,

were senior operatives in the da’wa infrastructure of HAMAS. Several board members were even

Qassam Brigades commanders.

       707.    The following is a partial list of the prominent HAMAS leaders who served as

ICSH officials:




                                                96
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 99 of 124



                  Abd al-Khaleq Hasan Shadli al-Natshe: Al-Natshe was the
                   Administrative Manager of the ICSH until August 28, 2002, when he
                   was arrested by Israel and sentenced to 10 years’ imprisonment. Until
                   his arrest in 2002, he was considered as the head of HAMAS in Hebron
                   and was among the Marj al-Zuhur deportees. Al-Natshe was arrested
                   several times by Israel in the 1980s and 1990s for membership in
                   HAMAS and his role in facilitating terrorism. In July 1997, he was
                   convicted for his membership in HAMAS, for transferring funds to
                   HAMAS operatives and for his links with HAMAS leadership abroad
                   and for receiving directions from it.

                  Adel Nu’man Salim al-Junaydi: Al-Junaydi was the Chairman of the
                   ICSH from the year 2000. In June 2002, he was arrested and convicted
                   for his activity in HAMAS and was sentenced to eight months in prison;
                   in December 2004, he was once more arrested by Israel. Al-Junaydi is
                   a senior operative in HAMAS and was among the Marj al-Zuhur
                   deportees.

                  Azam Nu’man abd al-Rahman Salhab al-Tamimi: Salhab was a
                   member of the ICSH administrative Board and served as Deputy
                   Chairman under al-Junaydi. Al-Tamimi is a senior operative in HAMAS
                   and was among the Marj al-Zuhur deportees. In 2003, Khalid Mishal,
                   then the leader of HAMAS’s political bureau, identified him as one of
                   the founders of HAMAS in Hebron.

                  Mustafa Kamil Khalil Shawar: Shawar was a member of the ICSH
                   administrative board and was among the Marj al-Zuhur deportees. In
                   2003, Khalid Mishal identified him as one of the founders of HAMAS
                   in Hebron.

                  Nabil Naim Ishaq al-Natshe: Al-Natshe was a member of the ICSH
                   administrative board and was among the Marj al-Zuhur deportees. He
                   was also arrested several times by Israel, inter alia, based on
                   information that he was involved in terror activities of the Qassam
                   Brigades which included recruiting operatives and equipping them with
                   weapons. In 2002, he was arrested and convicted for his HAMAS
                   activities.

       708.    From the early 1990s through 2004, ICSH received funding from the Holy Land

Foundation in the United States (before it was declared a terrorist organization by the United States

administration and its assets frozen in 2001) as well as CBSP, Interpal, Human Appeal

International, the Al-Aqsa Foundation – Germany and many other HAMAS fundraising



                                                 97
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 100 of 124



organizations.

       709.      On May 29, 2007, the United States Department of Justice identified the ICSH as

“an organization which operates in the name, or under the control, of Hamas” in its list of parties

involved in the conspiracy, against which no indictment was filed in the criminal trial of United

States v. Holy Land Foundation.

                 2.     Tulkarem Zakat Committee (Lajnat al-Zakaa Tulkarem)

       710.      The Tulkarem Zakat Committee is a part of HAMAS’s civilian infrastructure, and

as such is involved in a wide range of activities, including: financial aid; provision of clothing and

food for the needy; support for prisoners and the families of those killed, with emphasis on

transferring funds to the families of terror operatives.

       711.      The Tulkarem Zakat Committee was founded in 1981 but has, for many years, been

identified as part of HAMAS’s da’wa apparatus.

       712.      The Tulkarem Zakat Committee was declared an unlawful association by the Israeli

Minister of Defense on February 25, 2002, and by the head of the IDF’s Central Command’s Order

on June 30, 2002.

       713.      On May 29, 2007, the United States Department of Justice identified the Tulkarem

Zakat Committee as an “organization which operates on behalf of, or under the control of, Hamas.”

This determination appeared in the list of unindicted co-conspirators in the criminal case of United

States v. Holy Land Foundation.

       714.      Through late 2007, when the Palestinian Authority finally took action against the

HAMAS civilian infrastructure in the West Bank and replaced a significant portion of the

Tulkarem Zakat Committee’s board, the key members of the Committee’s board were known

HAMAS operatives. Many of the leaders of the Tulkarem Zakat Committee, in the relevant period,




                                                  98
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 101 of 124



did not attempt to hide their radical positions, and sometimes even gave lectures in mosques whose

clear purpose was to incite hatred of Jews and Israelis.

       715.    The following is a partial list of the prominent HAMAS leaders who served as

Tulkarem Zakat Committee officials:

                  Husni Hasan Hussein al-Khawaja: Al-Khawaja was Chairman of the
                   Tulkarem Zakat Committee from 1993 until his resignation from the
                   position in June 2008 and was Chairman of the Board of Directors of
                   the hospital associated with the Committee. He is a publicly known
                   HAMAS operative.

                  Sheikh Bilal Khamis Yusuf abu Safira (a.k.a. Belal Khamis):
                   Khamis was among the founders of the Zakat Committee and served in
                   a variety of senior positions until its reorganization in 2007. Among the
                   positions in which he served are Deputy Chairman, Treasurer, and
                   Acting Director of the Tulkarem Zakat Committee’s hospital. He was
                   publicly known as a professed HAMAS operative who had influence in
                   the various organizations connected with HAMAS in the town of
                   Tulkarem.

                  Sheikh Amar Tawfiq Ahmad Badawi: Badawi was among the
                   founders of the Tulkarem Zakat Committee and was a member of its
                   board. He is one of the leaders of HAMAS in the region.

                  Dr. Bashar Adnan Ibrahim al-Karmi: Al-Karmi was a member of the
                   Tulkarem Zakat Committee’s administrative board and served as
                   Director of the Committee’s hospital. Al-Karmi was publicly known to
                   be a HAMAS operative and was among the Marj al-Zuhur deportees.

                  Ikhlas Abd al-Karim al-Sawis: Al-Sawis is the wife of Abbas al-
                   Sayed, who was a senior officer in the Qassam Brigades convicted by
                   an Israeli court of planning the suicide bombing during Passover 2002
                   at the Park Hotel in Netanya. Al-Sawis worked as Director of the
                   Tulkarem Zakat Committee’s kindergartens.

       716.    From the early 1990s through 2004, the Tulkarem Zakat Committee received

funding from the Holy Land Foundation in the United States (before it was declared a terrorist

organization by the United States administration and its assets frozen in 2001) as well as from




                                                99
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 102 of 124



CBSP (SDGT), Interpal (SDGT), the Al-Aqsa Foundation – Germany (SDGT) and many other

HAMAS fundraising organizations.

               3.      Nablus Zakat Committee (Lajnat al-Zakaa Nablus)

       717.    The operations of the Nablus Zakat Committee in the fields of social welfare,

education, religious studies and health have contributed to the prestige of HAMAS in the area and

have reinforced its image as a movement with “clean hands,” which looks after the public in

general, in contrast to the operations of the Palestinian Authority in the Nablus District, which

were perceived as inefficient and corrupt for a protracted period of time.

       718.    The Nablus Zakat Committee was founded in 1977. It was part of the da’wa

infrastructure in the West Bank during the period under review. Additional Zakat Committees

operate in the villages of the Nablus district; they are subordinate to the Zakat Committee in the

city of Nablus and receive funds that are transferred through it.

       719.    The Nablus Zakat Committee was declared an unlawful association by the Israeli

Minister of Defense on June 9, 2006 and by the head of the IDF Central Command’s Order on

September 3, 2006. That was because of its activities and organizational relevancy to HAMAS.

       720.    The following is a partial list of the prominent HAMAS leaders who served as

Nablus Zakat Committee officials:

                   Dr. Abd al-Rahim Muhammad Radi al-Hanbali: Hanbali’s father
                    Muhammad established the Nablus Zakat Committee in 1977 and
                    served as its Chairman before Abd al-Rahim inherited the post in 1993.
                    Hanbali also served as a member of al-Tadamun’s administration and
                    on the executive management of the Beit El-Mal Holdings, which was
                    declared an unlawful association by Israel and designated an SDGT on
                    the same day as the Holy Land Foundation in December 2001.

                   Sheikh Hamed Suleima Jaber Khader al-Bitawi: Bitawi was
                    considered one of the senior religious and HAMAS leadership figures
                    in the West Bank and served as a member of al-Tadamun’s
                    administrative board since 1991. Bitawi served as chairman of al-


                                                100
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 103 of 124



                    Tadamun (in addition to his role as deputy chairman of the Nablus Zakat
                    Committee) until the end of 2008. Bitawi was a senior member of the
                    Muslim Brotherhood in the Nablus region (he joined in 1962) and is
                    considered (and considered himself) a HAMAS religious authority. He
                    served as Chairman of the Palestinian Religious Scholars Association
                    since its establishment in 1992: this Association has approved suicide
                    terrorist attacks against Israelis. Bitawi was also the Northern
                    representative of the West Bank on the board of “The Union of Good.”
                    Bitawi was arrested several times by both Israel and the PA. Bitawi was
                    one of the Marj al-Zuhur deportees. He was known for his poisonous
                    sermons against the Palestinian Authority and against Israel and Jews,
                    which included calls for the murder of Jews and for jihad. For example:
                    on August 1, 2001, Bitawi gave a speech before an audience of 150,000
                    people at the funeral of two senior HAMAS operatives, Jamal Mansur
                    and Jamal Salim, and additional HAMAS operatives, and called for
                    quick revenge for the deaths of the HAMAS operatives.

                   Adli Rif’at Salah Ya’ish: Ya’ish served as Treasurer of the Committee.
                    He is presently Mayor of Nablus on behalf of HAMAS (he was elected
                    in the local elections of December 2005). Ya’ish is publicly known in
                    Nablus and the West Bank in general as a HAMAS member; he has
                    fulfilled many functions in the da’wa of HAMAS, including
                    membership in the executive management of the Beit al-Mal Company,
                    and has served as Chairman of the al-Tadamun Charitable Society.
                    Ya’ish was also among the Marj al-Zuhur deportees.

       721.    From the early 1990s through 2004 the Nablus Zakat Committee received funding

from the Holy Land Foundation in the United States (before it was declared a terrorist organization

by the United States administration and its assets frozen in 2001) as well as CBSP, Interpal, the

Al-Aqsa Foundation – Germany and many other HAMAS fundraising organizations.

       722.    On May 29, 2007, the United States Department of Justice identified the Nablus

Zakat Committee as “an organization which operates in the name of, or under the control of,

Hamas” in the list of unindicted co-conspirators in the criminal trial of United States v. Holy Land

Foundation.

               4.      Al-Tadamun Charitable Society – Nablus
                       (Jam’iyat al-Tadamun al-Khiriyah Al-Islamiya)

       723.    Al-Tadamun Charitable Society – Nablus (hereinafter: “al-Tadamun”) was founded


                                                101
      Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 104 of 124



in Nablus in 1956 and is one of the oldest charitable societies in the West Bank. Like other

charitable societies or zakat committees, al-Tadamun is involved in a wide range of social

activities. Unlike other institutions in HAMAS’s da’wa infrastructure, such as Al-Mujama Al-

Islami (The Islamic Center) or Al-Jam’iya Al-Islamiya (the Islamic Society), al-Tadamun was not

a society out of which HAMAS grew. Rather, over time, HAMAS took control of al-Tadamun,

such that by the end of the 1990s, the al-Tadamun management committee was composed

primarily of HAMAS leaders, and its primary goal was to promote HAMAS’s goals. Hamed

Bitawi, one of the Society’s prominent leaders, was one of the Palestine representatives in the

Union of Good’s leadership.

       724.   Al-Tadamun, is publicly identified as connected to HAMAS; in fact, it is largely

considered the “flagship” of HAMAS’s da’wa apparatus in the northern West Bank. The al-

Tadamun Society works in close cooperation with the Nablus Zakat Committee (most of the

management committee members serve in both associations at the same time), which also has a

close connection with HAMAS.

       725.   Al-Tadamun’s da’wa activities focused on the areas of social welfare, education

and leisure, health, and other special activities, all carried out with the aim of strengthening

HAMAS’s power base, deepening its influence among the public and emphasizing its image as a

public national movement, providing social services to the whole population. The Society’s

success in promoting HAMAS’s standing in the eyes of the public is attested to by the fact that

many HAMAS representatives elected to the municipal council and Palestinian Legislative

Council came from the Society’s ranks.

       726.   Al-Tadamun’s principal involvement in the support of HAMAS terror is reflected

in the transfer of funds from al-Tadamun to other zakat committees and charitable societies that




                                              102
      Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 105 of 124



are part of HAMAS’s da’wa infrastructure, including the Jenin Zakat Committee and the Tulkarem

Zakat Committee. Al-Tadamun also transfers funds to the families of HAMAS terrorists, including

suicide bombers associated with HAMAS, and to terrorists associated with other terrorist

organizations, such as Palestinian Islamic Jihad and Fatah’s Al Aqsa Martyrs Brigades.

       727.   Al-Tadamun was declared an unlawful association by the Israeli Minister of

Defense on February 25, 2002, and by the head of the IDF’s Central Command on June 30, 2002.

       728.   The following is a partial list of the prominent HAMAS leaders who served as al-

Tadamun officials:

                 Sheikh Hamed Suleiman Jaber Khader al-Bitawi: (See above.)

                 Dr. Abd al-Rahim Muhammad Radi al-Hanbali: A member of the
                  Society’s administrative board. Hanbali also served as Chairman of the
                  Nablus Zakat Committee from 1990 (when he inherited his father’s
                  place on the Committee) until the beginning of 2008. He is a senior
                  political operative in HAMAS.

                 Adli Rif’at Saleh Ya’ish: Ya’ish served in several senior positions in
                  al-Tadamun, including Treasurer and Chairman of the management
                  committee, during the 90s until his election as Mayor of Nablus in 2005,
                  on behalf of the HAMAS list. Similarly, he served as Treasurer of the
                  Nablus Zakat Committee since 1990. He was one of the Marj al-Zuhur
                  deportees.

                 Jamal Salim Ibrahim Damuni: Salim was a member of al-Tadamun’s
                  administrative board until he and Jamal Mansur, another HAMAS
                  leader, were killed in an IDF operation in July 2001. He was considered
                  one of the most senior HAMAS figures in the northern West Bank, and
                  often represented HAMAS in delegations in various negotiations with
                  Fatah. Salim was a disciple of Abdallah Azzam, a radical Islamic
                  religious figure who was Osama bin Laden’s spiritual teacher. Salim
                  served several terms of imprisonment in Israel between 1985 and 1991
                  and was also among the Marj al-Zuhur deportees.

                 Abdallah Abd al-Rahman Abd al-Fatah Hijawi: Hijawi was
                  secretary of al-Tadamun. He also served as one of the directors of the
                  Quran Memorization Society, operated by the Nablus Zakat Committee.
                  From the early 90s he was a member of the Nablus Zakat Committee.
                  He took part in HAMAS public activities (for example, The Martyrs’


                                              103
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 106 of 124



                    Day in Nablus that was initiated by HAMAS and which was also
                    attended by relatives of senior HAMAS members).

                   Nasuh Abas Muhamad Barham “al-Ramini”: Barham was a
                    member of al-Tadamun’s board of directors and a HAMAS candidate
                    for the Palestinian Legislative Council, standing for HAMAS’s Change
                    & Reform Party. He was arrested by the IDF on numerous occasions
                    from 1975 to 1996 and was under house arrest between 1981 and 1982.
                    He was also among the Marj al-Zuhur deportees.

                   Hamza Muhammad Hussein Jaber: Jaber was also active in the al-
                    Tadamun Charitable Society and the Islamic Sports Club of the al-
                    Tadamun Society. He is known as a veteran political HAMAS operative
                    in Nablus, who formerly worked, inter alia, in the HAMAS media office
                    in Nablus. Jaber was among the Marj al-Zuhur deportees.

        729.   From the 1990s through 2004, al-Tadamun received funding from the Nablus Zakat

Committee, the Al Aqsa Foundation, the Union of Good, CBSP and Interpal, and many other

HAMAS fundraising organizations.

        730.   For example, the Union of Good transferred more than $50,000 to al-Tadamun at

Defendant CAIRO-AMMAN BANK’s Account No. 321494 in 2002 and it used al-Tadamun as

its coordinator for sending funds to the northern part of the West Bank.

               5.      Jenin Zakat Committee (Lajnat al-Zakaa Jenin)

        731.   The Jenin Zakat Committee (hereinafter “JZC”) was founded in 1985 but has been

controlled by prominent HAMAS operatives as early as the first years of the 1990s.

        732.   The JZC’s operations in the areas of health and education, services for children and

employment have increased HAMAS’s prestige.

        733.   The JZC was declared to be an unlawful organization by the Israeli Minister of

Defense on February 25, 2002, and by the head of the IDF Central Command’s Order on June 30,

2002.




                                               104
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 107 of 124



        734.   Until the replacement of the executive management of the committees by the

Palestinian Authority in late 2007, most of the members of the Jenin Zakat Committee executive

management were openly related to HAMAS and were considered HAMAS operatives.

Furthermore, the Chairman and the Administrative Manager of the Jenin Zakat Committee, who

jointly made all the important decisions regarding the Jenin Zakat Committee throughout the

relevant period and served as the de facto managers of the Jenin Zakat Committee, were also

HAMAS members.

        735.   The following is a partial list of the prominent HAMAS leaders who served as JZC

officials:

                     Sheikh Zayd Mahmud Abd al-Rahim Zakarneh: Zakarneh, who
                      is known as a prominent HAMAS operative in the Jenin area, was
                      among the founding members of the Jenin Zakat Committee and
                      chaired the Committee from the early 1990s until 2008. In
                      September 2005, Zakarneh was arrested and later convicted of
                      membership in HAMAS.

                     Ahmad Salim Ahmad Salatneh: Salatneh was the Administrative
                      Manager of the Jenin Zakat Committee from 2002 to 2005 and de
                      facto second-in-command to the Chairman of the Committee.
                      Salatneh was involved in transferring bomb-making components in
                      1992 and was implicated in a car bomb attack in 1993. He was
                      arrested by the Palestinian Authority and has also been arrested
                      several times by Israel and was convicted twice for terrorist
                      activities by Israel.

                     Jamal Abd al-Salam Asad Abu al-Hija: Al-Hija was an employee
                      of the Jenin Zakat Committee. He was arrested by the Palestinian
                      security forces several times, starting in 1996. On April 12, 1999,
                      Al-Hija was sentenced by an Israeli military court to 13 months’
                      imprisonment, after having been convicted of membership in
                      HAMAS. In April 2002, during an IDF campaign in Jenin, he served
                      as commander of HAMAS in the Jenin area. Al-Hija also
                      participated in the planning of several suicide bombings and
                      recruited suicide bombers. He was involved in the planning of a
                      suicide bombing in the Sbarro Restaurant in Jerusalem in August
                      2001, a suicide bombing of a bus on Mt. Meron in August 2002, and
                      a suicide bombing in the Matza Restaurant in Haifa in March 2002.


                                              105
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 108 of 124



                        Al-Hija has been serving nine consecutive life sentences in an Israeli
                        prison since August 2002.

                       Naser Khaled Ibrahim Jarar: Jarar was one of the commanders of
                        HAMAS’s terror apparatus in Jenin. According to Israeli
                        intelligence, he was “active in recruiting terrorist-operatives and in
                        locating and dispatching suicide bombers and planned a series of
                        deadly attacks against Israeli targets.” He was also a founding
                        member of Jenin Zakat Committee. Jarar was arrested several times
                        by Israel between 1989-1998.

                       Ibrahim Hasan Ali Jaber: Jaber became a member of the Jenin
                        Zakat Committee in 1988 and worked in its various institutions. He
                        was also a senior HAMAS operative who was responsible for
                        several lethal attacks against Israeli targets. During questioning, he
                        admitted to planning the attacks, transporting explosive devices,
                        providing military training and possessing weapons.

       736.      From the early 1990s through 2004, the Jenin Zakat Committee received funding

from the Holy Land Foundation in the United States (before it was declared a terrorist organization

by the United States administration and its assets frozen in 2001) as well as CBSP, Interpal, Human

Appeal International, the Al-Aqsa Foundation – Germany and many other HAMAS fundraising

organizations.

       737.      On May 29, 2007, the United States Department of Justice identified the Jenin

Zakat Committee as “an organization which operates in the name of, or under the control of,

Hamas” in its list of parties involved in the conspiracy, against which no indictment was filed in

the criminal trial of United States v. Holy Land Foundation.

                 6.     Ramallah – Al-Bireh Zakat Committee
                        (Lajnat al-Zakaa Ramallah Wal-Bireh)

       738.      The Ramallah al-Bireh Zakat Committee (“RBZC”) was founded in 1977 but has

for many years been identified as part of the HAMAS da’wa system in the West Bank.

       739.      The principal da’wa activities of the RBZC are support for orphans, providing

health services and running summer camps.


                                                 106
      Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 109 of 124



       740.   The RBZC was declared an unlawful association by the Israeli Minister of Defense

on February 25, 2002, and by the head of the IDF’s Central Command’s Order on June 30, 2002.

       741.   The following is a partial list of the prominent HAMAS leaders who served as

RBZC officials:

                 Dr. Husni Muhammad Abd al-Qader Abu Awad: During the relevant
                  period, Awad served as Chairman of the Committee, and according to a
                  Palestinian Authority intelligence report, was identified with HAMAS.

                 Hasan Yusuf Daud al-Khalil: Khalil was one of the founders of the
                  RBZC and a member of its Board. In 2004 he served as the official
                  spokesman for HAMAS in the West Bank. Khalil was among the Marj
                  al-Zuhur deportees, and even served as Secretary of the deportees’
                  camp. He was later arrested by the Palestinian Authority in 1996 and
                  again by Israel on several other occasions.

                 Ibrahim Sa’id Hasan Abu Salem: Abu Salem was one of the founders
                  of the RBZC and served as the Committee’s Director. In 1989 he was
                  arrested by Israel and imprisoned for five months due to his ties with
                  HAMAS. He was among the Marj al-Zuhur deportees and was arrested
                  by the Israeli security forces in 1994 and 1999.

                 Fadel Muhammad Saleh Hamdan: Fadel Hamdan was one of the
                  founders of the RBZC and one of the most prominent HAMAS
                  operatives in the Ramallah region. The FBI’s Watson Memorandum
                  noted that Hamdan was “directly connected with the planning of
                  suicide attacks and the psychological preparation of those who were
                  about to carry out suicide attacks, including the Mahane Yehuda
                  attack in July 1997.” Fadel Hamdan was among the Marj al-Zuhur
                  deportees and was imprisoned in 1996 by the Palestinian Authority.

                 Mahmud Ibrahim Mahmoud Muslih: He was director of the RBZC
                  and is considered one of the senior HAMAS operatives in the Ramallah
                  region. During the First Intifada, Muslih was one of HAMAS’s senior
                  leaders in charge of public relations. In 1995 and 1996 he served as
                  HAMAS’s official spokesman. He was arrested and imprisoned by
                  Israel in 1997-1998 and again in 2003-2005 on charges of membership
                  and activity in HAMAS. Muslih was identified in 2003 by Khalid
                  Mishal as one of the founders of HAMAS in Ramallah.




                                             107
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 110 of 124



        742.   A Palestinian Authority intelligence document dated May 22, 2000, notes: “The

monitoring of the Committee [RBZC] that we carried out made it clear that the Committee [RBZC]

transfers funds from abroad to Hamas.”

        743.   From the early 1990s through 2004, the Ramallah al-Bireh Zakat Committee

received funding from the Holy Land Foundation in the United States (before it was declared a

terrorist organization by the United States administration and its assets frozen in 2001) as well as

CBSP (SDGT), Interpal (SDGT), the Al-Aqsa Foundation – Germany (SDGT) and many other

HAMAS fundraising organizations.

        744.   On May 29, 2007, the United States Department of Justice named the Ramallah al-

Bireh Zakat Committee as an “organization that operates on behalf of, or under the control of,

HAMAS” in the list of unindicted co-conspirators in the criminal case of United States v. Holy

Land Foundation.

               7.        Muslim Youth Association – Hebron

        745.   The Muslim Youth Association – Hebron (“MYAH”) was established in Hebron in

1985. For many years, it has been identified as part of the HAMAS da’wa system in the West

Bank.

        746.   The principal da’wa activities of the MYAH are support for the education

(particularly Islamic education) of poor students through financial support to kindergartens,

schools and libraries.

        747.   In March 1996, the Israeli army ordered the temporary closure of MYAH. In

December 2001, the Palestinian Authority also temporarily closed MYAH.

        748.   The MYAH was declared an unlawful association by the Israeli Minister of Defense

on February 25, 2002, and by the head of the IDF’s Central Command’s Order on June 30, 2002.




                                                108
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 111 of 124



        749.     The following is a partial list of the prominent HAMAS leaders who served as

MYAH officials:

                     Mustafa Kamil Khalil Shawar: During the relevant period, he served
                      as a member of the MYAH board as well as the board of ICSH. Shawar
                      was among the Marj al-Zuhur deportees. In 2003, Khalid Mishal, then
                      the leader of HAMAS’s political bureau, identified him as one of the
                      founders of HAMAS in Hebron.

                     Azam Nu’man abd al-Rahman Salhab al-Tamimi: Salhab was a
                      member of the MYAH board as well as the ICSH administrative Board.
                      Al-Tamimi is a senior operative in HAMAS and was among the Marj
                      al-Zuhur deportees. In 2003, Khalid Mishal identified him as one of the
                      founders of HAMAS in Hebron.

                     Hatem Rashid Qafisha: Qafisha served as the Vice President of
                      MYAH. He was arrested on multiple occasions by Israel and the PA and
                      was among the Marj al-Zuhur deportees.

                     Malek abd al-Salam Misbah Nasser al-Din: Nasser al-Din was an
                      administrator at MYAH and played for its soccer team. He was also was
                      among the Marj al-Zuhur deportees and a commander of the Qassam
                      Brigades.

        750.     From the early 1990s through 2004, the MYAH received funding from the Holy

Land Foundation in the United States (before it was declared a terrorist organization by the United

States administration and its assets frozen in 2001) as well as Interpal, the Al-Aqsa Foundation –

Germany and many other HAMAS fundraising organizations.

        751.     On May 29, 2007, the United States Department of Justice named the MYAH as an

“organization that operates on behalf of, or under the control of, HAMAS” in the list of unindicted

co-conspirators in the criminal case of United States v. Holy Land Foundation.

III.    CAB KNOWINGLY AIDED AND ABETTED HAMAS

        752.     CAB provided millions of dollars to HAMAS during the relevant period14 in a



14
         In the context of this Complaint, the relevant period is co-extensive with the Second Intifada time period
(1999 through 2004).


                                                       109
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 112 of 124



variety of ways, including knowingly:

               a. Maintaining accounts and/or facilitating payments for prominent
                  HAMAS leaders, including the commanders of HAMAS’s Qassam
                  Brigades;

               b. Maintaining accounts for HAMAS organizations in the West Bank and
                  Gaza Strip; and

               c. Maintaining accounts and/or providing financial services for Specially
                  Designated Global Terrorists affiliated with HAMAS.

IV.    CAB PROVIDED              BANKING         SERVICES        TO     NOTORIOUS          HAMAS
       INSTITUTIONS

       753.    As alleged above, HAMAS operates a social service network through local “zakat”

committees and “charitable” societies. CAB has knowingly provided financial services to these

organizations and affirmatively assisted them in collecting, receiving, transmitting and distributing

funds to support HAMAS’s terror campaign.

       754.    CAB knowingly provided financial services and thereby aided and abetted

HAMAS by receiving, holding and transferring funds for the following HAMAS institutions:

                  AL MUJAMA AL ISLAMI (ISLAMIC CENTER – GAZA)
                   Account No. 1-974-3-2111-814
                   Account No. 981

                  AL JAM’IYA AL ISLAMIYA (ISLAMIC SOCIETY – GAZA)
                   Account No. 6118643
                   Account No. 5006

                   Rafah Branch
                   Account No. 749367

                   Beit Hanoun Branch
                   Account No. 4315

                  AL SALAH ISLAMIC SOCIETY
                   Account No. 388

                  AL WAFA CHARITABLE SOCIETY
                   Account No. 1411-1


                                                110
      Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 113 of 124




                ISLAMIC CHARITABLE SOCIETY – HEBRON
                 Account No. 1100513-0

                 Yatta Branch
                 Account No. 9243
                 Account No. 2329

                 Dura Branch
                 Account No. 2111-0742

                 Bani Naim Branch
                 Account No. 2068

                 Muslim Youth Association – Hebron
                 Account No. 4316

                JENIN ZAKAT COMMITTEE

                 Account No. 0150023640000

                 Al Razi Hospital
                 Account No. 1505239277
                 Account No. 02505239277

                TULKAREM ZAKAT COMMITTEE
                 Account No. 110740-0
                  
                RAMALLAH ZAKAT COMMITTEE
                 Account No. 111767

                NABLUS ZAKAT COMMITTEE
                 Account No. 0000211101051
                 Account No. 0010000105032111
                  
                AL-TADAMUN CHARITABLE SOCIETY – NABLUS
                 Account No. 321494
                  
                AL ANSAR CHARITABLE SOCIETY
                 Account No. 6157/1
                 Account No. 6912/3

      755.   CAB also maintained accounts and knowingly provided financial services and

thereby aided and abetted HAMAS by receiving, holding and transferring funds for additional


                                           111
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 114 of 124



HAMAS institutions, including the Qalqilya Zakat Committee (Account Nos. 11022-1 and

01500361866/00), Quran and Sunnah Society – Qalqilya (Account No. 366181), and Al-Ihsan

Charitable Society – Hebron (Account No. 449).

       756.    The Quran and Sunnah Society – Qalqilya was founded in 1996 by a prominent

local HAMAS leader, Ibrahim Abd Al-Rahim Muhammad Dawud. During the relevant period,

both its chairman, Khalil Khader Mustafa Abu Khader, and its vice-chairman, Kheir al-Din Awda

Farah Dik, were HAMAS activists.

       757.    The same prominent local HAMAS leader, Ibrahim Abd Al-Rahim Muhammad

Dawud, ran the Qalqilya Zakat Committee during the relevant period.

       758.    Both HAMAS institutions received funding from the same sources, including HLF,

Interpal and the Al Aqsa Foundation.

       759.    The Al-Ihsan Charitable Society – Hebron is closely related to HAMAS’s

preeminent institution in Hebron, the ICSH, and many of Al-Ihsan’s and ICSH’s board members

and employees overlap. For example, Muhammad Eid Misk, one of HAMAS’s founders in

Hebron, sat on the boards of both institutions as did Azam Nu’man Abd al-Rahman Salhab al-

Tamimi (discussed above).

       760.    Al-Ihsan Charitable Society - Hebron was established in 1983 (and pre-dated

HAMAS). It specialized in taking care of the disabled and helped HAMAS develop its reputation

for helping the poor, downtrodden and unfortunate members of Palestinian society. It also received

funding from the same sources, including HLF, Interpal and the Al Aqsa Foundation.

       761.    HAMAS’s social welfare activities reinforce its terrorist activities both directly by

providing economic assistance to the families of killed, wounded, and captured HAMAS fighters

and making it more costly for them to defect (they would lose the material benefits that HAMAS




                                               112
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 115 of 124



provides them), and indirectly by enhancing HAMAS’s popularity among the Palestinian

population and providing funds for indoctrinating schoolchildren.

V.      CAB AIDED AND ABETTED HAMAS BY DIRECTLY MAINTAINING
        ACCOUNTS FOR PROMINENT HAMAS LEADERS

        762.    CAB knowingly maintained accounts for well-known HAMAS leaders including:

        A.      Abbas al-Sayed

        763.    CAB knowingly maintained account number 150027961600 for Abbas Mohamed

al-Sayed, one of HAMAS’s most senior political and military leaders in the West Bank.

        764.    Al-Sayed received at least seven transfers through CAB’s correspondent account at

Citibank in New York between February 2001 and May 2001 totaling $69,000.

        765.    Al-Sayed was one of the planners of the March 27, 2002 Park Hotel Bombing in

Netanya, Israel. More than two dozen people were killed in the attack, including Hannah Rogen,

whose estate is a plaintiff in this action.

        766.    Al-Sayed was ultimately convicted for his central role in this attack as well as other

attacks HAMAS carried out and sentenced to 35 life sentences.

        B.      Mohamad Saleh Taha

        767.    CAB knowingly maintained account number 3723-1 for Mohamed Saleh Taha, one

of the founders of Al-Mujama Al-Islami (The Islamic Center – Gaza) and a prominent HAMAS

leader in the central Gaza Strip.

        768.    Taha was arrested many times, both by Israel and the Palestinian Authority, for his

HAMAS-related activities and was one of more than 350 Palestinian terrorists deported to Marj

al-Zuhur in 1992. He also has served as a lecturer at the Islamic University of Gaza, a core

HAMAS institution.




                                                 113
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 116 of 124



       769.    Taha received five transfers through CAB’s correspondent account at Citibank in

New York between December 2000 and September 2001 totaling $9,870.

       C.      Ghazi Hamad

       770.    CAB also knowingly maintained account number 706785 for Ghazi Ahmad

Hamad, the long-time HAMAS public spokesman, and “Deputy Foreign Minister” in HAMAS’s

government in Gaza in 2012.

       771.    Hamad was a senior editor of HAMAS’s newspaper, Al-Risala, and was arrested

twice by the PA in the 1990s.

       772.    Hamad received at least six transfers through CAB’s correspondent account at

Citibank in New York between October 2000 and April 2001 totaling $50,985.

       D.      Sayed Salem Abu Musameh

       773.    CAB also knowingly maintained account number 6105176 for Sayed Salem Abu

Musameh.

       774.    Musameh is a senior, veteran HAMAS member, and later, a member of the

Palestinian Legislative Council on its behalf.

       775.    In a March 4, 1996 article in the Independent, Musameh was identified as “a

prominent Hamas leader.”

       776.    Musameh received three transfers through CAB’s correspondent account at

Citibank in New York between February 2001 and September 2001 totaling $6,000.

VI.    CAB AIDED AND ABETTED HAMAS BY KNOWINGLY MAINTAINING
       ACCOUNTS AND PROVIDED FINANCIAL SERVICES FOR HAMAS
       ORGANIZATIONS THAT WERE LATER DESIGNATED AS SPECIALLY
       DESIGNATED GLOBAL TERRORISTS

       777.    CAB knowingly provided financial services to HAMAS by maintaining bank

accounts and/or providing financial services for Specially Designated Global Terrorists affiliated



                                                 114
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 117 of 124



with HAMAS, including but not limited to:

                  Holy Land Foundation for Relief and Development (“HLF”); and
                  Welfare Association for Palestinian and Lebanese Families
                   Account No. 002-500-100068-00.

        778.   The services CAB provided to the SDGTs listed above were conducted through

CAB branches located in the West Bank, Gaza Strip and Lebanon.

        779.   CAB also knowingly transferred funds for SDGTs affiliated with HAMAS through

its correspondent accounts located in New York.

        A.     The Palestinian Authority Takes Temporary Measures Against HAMAS in
               2003

        780.   On August 23, 2003, the Palestinian Minister of Security took official steps against

HAMAS when he identified Al-Jam’iya Al-Islamiya and at least ten other organizations as part of

HAMAS. The next day, the Palestinian Monetary Authority placed a temporary freeze on the bank

accounts of Al-Jam’iya Al-Islamiya and other HAMAS organizations.

        781.   In the Order forwarded to the Palestinian Prosecutor General on August 24, 2003,

then-Prime Minister and Minister of the Interior Mahmoud Abbas justified the freeze on the

accounts by saying that it was a matter of “security issues” and “requirements for the public

interest.”

        782.   In a letter written to then-Minister of the Economy Salam Fayyad, then-Palestinian

Minister of Internal Security Mohamed Dahlan openly declared that the steps that had been taken

were directed against “Hamas organizations.” The letter described the demand to freeze the

accounts as stopping support for “Hamas Institutions.”

        783.   Nevertheless, public outcry in the Palestinian Territories led the new Palestinian

Cabinet to officially cancel the freeze order on November 17, 2003.

        784.   These actions not only provided CAB with (further) actual notice that specific


                                               115
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 118 of 124



account holders were part of HAMAS, but also that its own government and nominal regulator

was aware of that fact.

       B.      The IDF Raid in February 2004

       785.    On February 25, 2004, the Israeli Defense Forces and Israeli police forces, guided

by Israel Security Agency (“ISA”) officers, carried out an operation for what the Government of

Israel described as “the confiscation of terror funds” which were deposited in a CAB branch in

Ramallah (West Bank). According to the Israeli government, “[i]nformation regarding these bank

accounts was presented to the legal elements of the ISA, IDF and the Attorney General’s Office -

all of whom authorized the operation.”

       786.    The seizure targeted numerous HAMAS organizations with accounts at CAB and

Arab Bank plc, including:

                  Al-Jam’iya Al-Islamiya (Islamic Society – Gaza)
                  Islamic Charitable Society – Hebron
                  Islamic University Gaza
                  Tulkarem Zakat Committee
                  Al-Ansar Charitable Society
                  Jenin Zakat Committee
                  Nablus Zakat Committee
                  Al-Tadamun Charitable Society (Nablus)
                  Ramallah - Al-Bireh Zakat Committee
                  Muslim Youth Association Hebron.

VII.   CAB KNOWINGLY MAINTAINED ACCOUNTS FOR ORGANIZATIONS
       THAT FACILITATED PAYMENTS TO THE FAMILIES OF PALESTINIAN
       TERRORISTS

       787.    In the competition for notoriety in supporting Palestinian terrorists, Iraq and Iran

both established organizations that, at various times, transferred money in direct support of the

families of “martyrs” and prisoners, aiming at strengthening and encouraging the Palestinians to

continue the violence.




                                               116
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 119 of 124



       788.    Iraq established a Ba’athist surrogate in Ramallah called Arab Liberation Front

(“ALF”) in 1969. Itself responsible for a handful of terrorist attacks, during the Second Intifada it

turned to paying families of “martyrs.”

       789.    Seeking broad Palestinian support for Saddam Hussein, ALF made payments to

families of martyrs affiliated with any terror organization and paid higher amounts than most

martyr funding groups. The payments started at $10,000 for a martyr’s family, but, as shown

below, soon increased significantly.

       790.    Also, unlike other groups, ALF developed a system to incentivize suicide attacks

over other types of attacks (that may be less spectacular or easier to foil), paying a premium upon

evidence that the martyr intended to die during the attack, such as by committing a suicide bombing

or by shooting into a crowded area until gunned down by law enforcement.

       791.    In August 2001, the families of a “martyr” who died as part of a suicide attack

began receiving $15,000—in March 2002, this was increased to $25,000. Those who died for other

reasons, such as so-called “work accidents” (premature detonation of explosives) or in firefights

with Israeli forces, were paid $10,000.15

       792.    Although the Ba’athists did not gain significant traction politically in the

Palestinian Territories, the ALF was among the “loudest” groups advertising its payments to the

families of Palestinian terrorists, particularly to the families of successful suicide bombers.

       793.    ALF Martyr payment “ceremonies” received widespread media coverage,

particularly in the local Palestinian media.




15
       Those only injured were paid $1,000.


                                                 117
        Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 120 of 124



        794.   For example, one of the leading Palestinian daily newspapers, Al Hayat al-Jadida,

reported on August 15, 2001 on the benefit increase to the families of suicide terrorists from

$10,000 to $15,000.

        795.   Another leading Palestinian daily newspaper, Al Quds, reported on August 19,

2001:

               The Gaza representative of the Arab Socialist Ba’ath party, which rules Iraq,
               announced yesterday that president Saddam Hussein decided to allocate the
               sum of $15,000 for each Palestinian martyr’s family….

               Al-Za’anin [the Gaza representative] clarified that the last decision by the
               Iraqi president to increase the grant given to Palestinians who carried out
               martyrdom attacks (“Amaliyat Istishadiya”) to $15,000 comes to emphasize
               the continuation of the national struggle to restore the Palestinian rights.

        796.   Media coverage was not limited to local newspapers, however. According to an

article in the Guardian on March 12, 2003, Defendant CAIRO AMMAN BANK held accounts for

ALF from which “martyr” payments were made:

               With each cheque, drawn on the Cairo Amman Bank, came a large
               certificate decorated with the Iraqi and Palestinian flags. “A gift from
               President Saddam Hussein to the family of a martyr in the al-Aqsa intifada,”
               the inscription read. “To those who irrigate the land with their blood. You
               deserve the honour you will receive from God and you will defeat all who
               bow before your will.”

        797.   The payments were well enough known that, according to an April 4, 2002 CBS

article, ALF officer Mahmoud Safi said: “Some people stop me on the street, saying if you increase

the payment to $50,000, I'll do it immediately.” While he said the comments were made “mostly

... in jest,” he “acknowledged that the support payments for relatives make it easier for some

potential bombers to make up their minds.”

        798.   Saddam Hussein’s regime was not alone in sponsoring and encouraging Palestinian

terrorists to perpetrate further attacks. Iran made payments to “martyrs” through Hezbollah’




                                               118
         Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 121 of 124



Lebanon-based Shahid Foundation (or “Martyrs Foundation”), which sent funds to the Palestinian

Territories in cooperation with the Gaza-based al-Ansar society.16

         799.    The Shahid Foundation in Lebanon was designated an SDGT by the U.S.

Government on July 24, 2007.

         800.    Announcements in Palestinian papers called on families of martyrs seeking

payments from the al-Ansar society to produce documentation proving their claims. For instance,

the documents the martyrs’ families from the West Bank had to provide included the martyr’s

identification card and his picture (if they had it), the beneficiary’s identification card, a copy of

the death certificate, and a copy of the birth certificate of the martyr’s sons if they had them.

         801.    These families would then receive payments from accounts controlled by al-

Ansar.

         802.    On its website, al-Ansar expressed its goals explicitly:

                 Al-Ansar opens its doors to the families of martyrs who seek it in order to
                 register their martyrs, who, with their noble blood, have watered the pure
                 soil of Palestine, drawing thereby the features and portrait of the coming
                 freedom and the coming dawn. Al-Ansar follows their path and shares with
                 their families and their parents the grief, the burden and the hope.

         803.    On its website, the Shahid Foundation was even more direct by publishing lists of

Palestinian “martyrs” who received support from the foundation and included the dates of the

martyr’s birth and death, as well as his organizational affiliation (Fatah, HAMAS, PIJ, and the

PFLP).

         804.    On its website, al-Ansar listed two accounts at Defendant CAIRO-AMMAN

BANK:

                     Cairo– Amman Bank, Islamic Transactions Department, 6912/3 – Gaza;
                      and
                     Cairo– Amman Bank, Islamic Business Department, 6157/1 – Nablus.

16
         Al-Ansar was designated an “illegal association” in Israel on October 24, 2003.


                                                        119
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 122 of 124




        805.    Defendant CAIRO-AMMAN BANK was deeply involved in both providing

financial services to HAMAS (and in particular, providing HAMAS with international funds

transfer services primarily through dollar-clearing) as well as retail customer level services to

terrorists and their families – all in the service of the Second Intifada and HAMAS’s campaign of

terror and murder. 


                                      CLAIM FOR RELIEF

   AIDING AND ABETTING HAMAS, A FOREIGN TERRORIST ORGANIZATION,
                   IN VIOLATION OF 18 U.S.C. § 2333(d)

        806.    Plaintiffs repeat and re-allege the allegations of the foregoing paragraphs as if fully

set forth herein.

        807.    Plaintiffs were all injured by acts of international terrorism as defined by 18 U.S.C.

§ 2331 that were committed, planned and authorized by HAMAS, a designated FTO at the time

each act of terrorism described occurred.

        808.    CAB provided substantial assistance to HAMAS by transferring significant sums

of money to HAMAS and its operatives and maintaining bank accounts for its senior operatives

and key institutions.

        809.    CAB was fully aware of HAMAS’s conduct, including its campaign of suicide

bombings and other terrorist acts.

        810.    CAB’s own actions were a substantial factor in causing plaintiffs’ injuries, and

plaintiffs’ injuries were a foreseeable result of the significant sums of money CAB provided and

made available to HAMAS, its leaders and operatives.

        811.    CAB understood the value and importance to HAMAS of the its own role in

facilitating large transfers of funds, including the cross-border transfer of U.S. dollars, from donors



                                                 120
       Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 123 of 124



and co-conspirators around the world to the Palestinian Territories and making those funds easily

available to HAMAS.

       812.    The nature of the acts encouraged, which were acts of international terrorism,

benefited from illegal access to millions of U.S. dollars provided by Defendant.

       813.    CAB provided this substantial assistance to HAMAS for years.

       814.    Plaintiffs’ injuries were proximately caused by HAMAS’s conduct, which

Defendant substantially assisted.

       815.    Plaintiffs allege that CAB knowingly aided and abetted HAMAS within the

meaning of 18 U.S.C. § 2333(d) and within the legal framework of Halberstam v. Welch, 705 F.2d

472 (D.C. Cir. 1983), which Congress has found to provide “civil litigants with the broadest

possible basis” for relief against those “that have provided material support, directly or indirectly,

to foreign organizations or persons that engage in terrorist activities against the United States.” See

Justice Against Sponsors of Terrorism Act (“JASTA”), §2b.

                                     PRAYER FOR RELIEF

WHEREFORE, plaintiffs prays that this Court:

               (a)     Accept jurisdiction over this action;

               (b)     Enter judgment against CAB and in favor of plaintiffs for compensatory
                       damages in amounts to be determined at trial;

               (c)     Enter judgment against CAB and in favor of plaintiffs for treble damages
                       pursuant to 18 U.S.C. § 2333(a);

               (d)     Enter judgment against CAB and in favor of plaintiffs for any and all costs
                       sustained in connection with the prosecution of this action, including
                       attorneys’ fees, pursuant to 18 U.S.C. § 2333(a); and

               (e)     Grant such other and further relief as justice requires.


PLAINTIFFS DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.



                                                 121
      Case 1:19-cv-00004-GHW Document 1 Filed 01/01/19 Page 124 of 124



January 1, 2019

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                                    122
